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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

                                                 )
 UNITED STATES SECURITIES                        )
 AND EXCHANGE COMMISSION,                        )
                                                 )
                       Plaintiff,                )      Civil Action No. 18-cv-5587
                                                 )
        v.                                       )      Hon. John Z. Lee
                                                 )
 EQUITYBUILD, INC., EQUITYBUILD                  )      Magistrate Judge Young B. Kim
 FINANCE, LLC, JEROME H. COHEN,                  )
 and SHAUN D. COHEN,                             )
                                                 )
                       Defendants.               )
                                                 )

         RECEIVER’S FIFTEENTH INTERIM APPLICATION AND MOTION
         FOR COURT APPROVAL OF PAYMENT OF FEES AND EXPENSES
          OF RECEIVER AND RECEIVER’S RETAINED PROFESSIONALS

       Kevin B. Duff, as the receiver (“Receiver”) for the Estate of Defendants EquityBuild, Inc.,

EquityBuild Finance, LLC, their affiliates, and the affiliate entities of Defendants Jerome Cohen

and Shaun Cohen, as defined in the Order Appointing Receiver entered August 17, 2018 (Dkt. No.

16), as supplemented by Order entered March 14, 2019 (Dkt. No. 290) and Order entered February

21, 2020 (Dkt. No. 634) (collectively, the “Receivership Defendants”), and pursuant to the powers

vested in him by Order of this Court, respectfully submits this Fifteenth Interim Application

(“Application”) for the First Quarter 2022, and moves this Court for an order approving payment

of the fees and expenses of the Receiver, the Receiver’s counsel, Rachlis Duff & Peel, LLC

(“RDP”), the Receiver’s accountants KMA S.C. f/k/a BrookWeiner, LLC (“KMA”) and Miller

Kaplan Arase LLP (“Miller Kaplan”), and the Receiver’s forensic IT consultant, Prometheum. In

support of his Application and Motion, the Receiver states as follows:




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I.     BACKGROUND

       On August 15, 2018, the United States Securities and Exchange Commission (“SEC”) filed

a civil Complaint against Jerome Cohen, Shaun Cohen, EquityBuild Inc., and EquityBuild Finance

LLC (collectively the “Defendants”) alleging violations of federal securities laws, along with a

motion for entry of an asset freeze, permanent injunction, and other ancillary relief. (Dkt. Nos. 1

& 3, respectively)

       In their Complaint against the Defendants, the SEC alleged violations of Section 10(b) of

the Securities Exchange Act of 1934 (the “Exchange Act”), 15 U.S.C. § 78j(b), and Rule 10b-5

promulgated thereunder, 17 C.F.R. § 240.10b-5, Section 20(a) of the Exchange Act, 15 U.S.C.

§78t(a), Sections 5(a) and 5(c) of the Securities Act of 1933 (the “Securities Act”), 15 U.S.C.

§77e(a) and (c), and Section 17(a) of the Securities Act, 15 U.S.C. §§77q(a)q. (Dkt. No. 1)

       The Complaint further alleged that the Defendants operated a Ponzi-scheme that raised at

least $135 million from more than 900 investors by, among other things, making untrue statements

of material fact in connection with the sale of promissory notes allegedly secured by residential

real estate primarily located on the south side of Chicago. (Id. ¶¶ 1-7, 17, 20-51)

       On August 28, 2018, the Court entered a judgment against defendants Jerome Cohen and

Shaun Cohen which, among other things, enjoined future violations of federal securities laws.

(Dkt. No. 40)

       In connection with its civil action, the SEC sought and obtained Court approval for the

appointment of a Receiver, and on August 17, 2018, this Court entered an Order Appointing

Receiver. (Dkt. No. 16)




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         Under the Order Appointing Receiver, the Receiver was authorized to engage and employ

persons and entities in his discretion to assist him in carrying out the duties and responsibilities set

forth in the Order. (Id., Order Appointing Receiver, ¶ 54)

         Accordingly, the Receiver retained RDP as special counsel, and, on August 20, 2018, the

Court entered an Order approving RDP’s rates. (Dkt. No. 19) On August 23, 2018, the Receiver

retained BrookWeiner, which recently became KMA, to provide accounting services and to

perform tax and related work regarding the assets of the Receivership Defendants, and Miller

Kaplan to serve as Tax Administrator of the Settlement Fund. (Dkt. No. 32) On August 28, 2018,

the Court entered an Order approving KMA’s and Miller Kaplan’s rates. (Dkt. Nos. 39 & 45) On

August 31, 2018, the Receiver retained Prometheum to access and preserve data within

EquityBuild’s cloud-based storage systems and provide related IT services, and, on September 6,

2018, the Court entered an order approving Prometheum’s rates. (Dkt. No. 56)

         Pursuant to the Order Appointing Receiver, the Receiver and his retained personnel are

entitled to “reasonable compensation and expense reimbursement” from the Receivership Estate,

as described in the “Billing Instructions for Receivers in Civil Actions Commenced by the U.S.

Securities and Exchange Commission” (the “Billing Instructions”) agreed to by the Receiver.

(Dkt. No. 16, ¶ 69)

II.      FIFTEENTH INTERIM APPLICATION

         Pursuant to the Billing Instructions, the Receiver provides the following information

regarding this Application:

      a. The Application covers the period from January 1, 2022, through March 31, 2022.

      b. The names or job titles and hourly rates of all professionals for RDP, KMA, and Miller

         Kaplan, as well as Prometheum’s hourly rates, are attached as Exhibit A.



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       c. This is the Receiver’s Fifteenth Interim Application. The dates and amounts of the

          Receiver’s prior interim fee applications, the orders and amounts allowed, and the amounts

          paid and unpaid, are attached hereto as Exhibit B.

III.      CASE STATUS

          Pursuant to the Billing Instructions, the Receiver provides the following information

regarding the status of the case, and activities performed specifically for the period covered by this

Application. See also Receiver’s Fifteenth Status Report (First Quarter 2022) for additional

information. (Dkt. No. 1243)

          a.     Cash on Hand and Funds Received and Disbursed During the Quarter

          The Receiver’s Standardized Fund Accounting Report (“SFAR”) for the First Quarter 2022

is attached as Exhibit C. The SFAR sets forth the funds received and disbursed from the

Receivership estate during this reporting period. As reported in the SFAR, the amount of cash on

hand as of March 31, 2022 was $1,125,649.01. The information reflected in the SFAR was based

on records and information currently available to the Receiver. The Receiver and his advisors are

continuing with their evaluation and analysis.

          b.     Receiver’s Administration of the Case

          Upon his appointment, the Receiver began making efforts to determine the nature, location,

and value of all property interests of the Receivership Defendants, including monies, funds,

securities, credits, effects, goods, chattels, lands, premises, leases, claims, choses in action, rights

and other assets, together with all profits, interest, or other income attributable thereto, which the

Receivership Defendants owned, possessed, retained a beneficial interest in, or controlled directly

or indirectly, and to preserve and maintain those assets. In furtherance of such, the Receiver took,

inter alia, the following actions:



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              i.      Identification and Preservation of Assets

       During the First Quarter 2022, the Receiver attended to the preservation, operation,

maintenance, and sale of the last real estate property remaining in the Receivership Estate at the

beginning of the quarter.

       Additionally, the Receiver, with the assistance of counsel, worked to resolve several

notices regarding building code violations involving the properties located at 8209 S Ellis and

4533 S Calumet and a collection notice for an unpaid administrative judgment concerning the

property located at 5001 S Drexel. The Receiver disputed the new cases through the City’s

ownership dispute procedures, and notified collection counsel that the EquityBuild entities had

been dismissed from the matter in 2020, prior to the entry of the judgment at issue.

             ii.    Property Sales

       During First Quarter 2022, the Receiver and his retained professionals closed the sale of

the last remaining property in the estate, 7109-19 S Calumet Avenue. The Receiver filed his

Fifteenth Motion to Confirm the sale of 7109-19 S Calumet on December 30, 2021 (Dkt. No.

1110), the Court entered an order approving the sale on January 24, 2022 (Dkt. No. 1138), and the

sale closed on February 28, 2022.

            iii.      Financial Reporting and Funds Restoration

       During the quarter, the Receiver’s counsel has continued working with third parties to

obtain the complete information needed to allocate insurance expenses and refunds to properties

and provide final accounting reports to the Court and the claimants. Once this process is

completed, the Receiver will seek the Court’s approval to reimburse the Receiver’s Account for

any funds that the Receiver expended on the properties.




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            iv.        Open Litigation

       During the quarter, the Receiver communicated with counsel for plaintiff regarding a stay

of the matter captioned Pennington v. 4533 Calumet, LLC, Case No. 2021 L 010115, Circuit Court

of Cook County, naming EquityBuild affiliate 4533-37 S Calumet, LLC, and property manager

WPD Management, LLC. On January 10, 2022 the insurer notified the Receiver of its

determination that there is no coverage for the Pennington lawsuit under the policies, and on

January 27, 2022, a stay order was entered by the trial court.

       The Receiver also worked with defense counsel retained by EquityBuild's insurer in the

matter captioned Byrd v. EquityBuild, Inc., et al., Case No. 18 L 1993, Circuit Court of Cook

County, to prepare for pretrial motions and a trial that was scheduled to begin on March 21, 2022.

On March 25, 2022, the case settled before a jury was selected, and the estate is responsible only

for the policy’s $10,000 insurance deductible.

             v.        Notice of Appointment of Receiver

       During the First Quarter 2022, the Receiver continued his efforts to notify all necessary

and relevant individuals and entities of the appointment and to protect and preserve the assets of

the Receivership Estate. To that end, as they are identified, the Receiver continues to deliver

notices to individuals or entities which have been identified as potentially having possession of the

property, business, books, records, or accounts of the Receivership Defendants, or who may have

retained, managed, held, insured, or encumbered, or had otherwise been involved with any of the

assets of the Receivership Defendants.

            vi.        Control of Receivership Property and Records

       During the First Quarter 2022, the Receiver continued efforts to locate and preserve all

EquityBuild property and records. The Receiver maintained two platforms of records and data



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during the First Quarter 2022, and worked with vendor CloudNine and counsel for the institutional

lenders with respect to the disposition and preservation of the documents in the database of

EquityBuild internal documents.

           vii.       Factual Investigation

       During the First Quarter 2022, the Receiver and his retained professionals continued to

review and analyze the following: (i) documents and correspondence sent to or received from the

EquityBuild principals, to whose email accounts the Receiver has access; (ii) bank records from

EquityBuild and its affiliate entities; (iii) EquityBuild documents stored in the CloudNine

database; (iv) available underlying transaction documents received to date from former Chicago-

based EquityBuild counsel; and (v) files produced by former EquityBuild counsel, accountants,

and employees.

       During the First Quarter 2022, the Receiver and his retained counsel devoted efforts to

prosecuting claims asserted against former EquityBuild professionals including, inter alia: (1) the

law firm Rock Fusco & Connelly LLC (“Rock Fusco”), (2) Ioana Salajanu, a lawyer formerly at

Rock Fusco, (3) the law firm Bregman, Berbert, Schwartz & Gilday, LLC and (4) lawyer Mark L.

Rosenberg. These claims are for professional malpractice and aiding and abetting the Cohen’s

breaches of their fiduciary duties. During the quarter, the Receiver continued to address written

discovery issues and continued its review and analysis of records produced in discovery. In the

action against Mark L. Rosenberg, which had been removed to federal court, Rosenberg filed a

motion for summary judgment based on the statute of limitations and the Receiver, in turn, filed a

motion for sanctions against Rosenberg due to the lack of merit to his motion for summary

judgment. In that action, the Receiver also participated in an April 4, 2022 settlement conference

with Magistrate Cole and which also included the Bregman, Berbert, Schwartz & Gilday, LLC



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firm and their insurers. No settlement was reached but the parties then engaged in a mediation

with Hon. Stuart Nudelman (Ret) of ADR Systems on May 4, 2022. No settlement was reached

in that mediation and further discovery in the suits is expected.

         During the quarter, the Receiver also engaged in related motion practice related to claimant

Liberty EBCP, LLC’s motion in the SEC action for a determination that this Court’s stay of

litigation was not applicable to its malpractice action captioned Liberty EBCP, LLC v. Rock Fusco

& Connelly, LLC, and Ioana Salajanu, Case No. 20-L-4725, Circuit Court of Cook County. (Dkt.

No. 1119) The Receiver submitted a response (Dkt. No. 1141), and after full briefing, on March

23, 2022, the Court denied Liberty’s motion. (Dkt. No. 1222)

             viii.      Tax Issues

         KMA f/k/a BrookWeiner was retained to perform accounting, tax, and related work in

connection with winding down the business operations of the Receivership Defendants. During

the quarter, KMA worked on property statements and property spreadsheets, assisted with cash

flow analysis matters, and corresponded with the IRS regarding old partnership income tax returns.

         Miller Kaplan was retained to serve as the Tax Administrator to take all necessary steps to

enable the Settlement Fund to obtain and maintain the status of a taxable Qualified Settlement

Fund (“QSF”), including the filing of all required elections and statements contemplated by those

provisions, and to pay taxes in a manner consistent with treatment of the Settlement Fund as a

QSF. During calendar year 2021 and the First Quarter 2022, Miller Kaplan prepared and filed the

2020 Qualified Settlement Fund Income Tax Return, paid quarterly estimated taxes for the year

2021, and is working on the 2021 Qualified Settlement Fund Income Tax return.1




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    The deadline to file the 2021 return was extended to October 18, 2022.
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            ix.          Accounts Established by Receiver for the Benefit of the Receivership Estate

       The Receiver established custodial accounts at a federally insured financial institution to

hold all cash equivalent Receivership property. The interest-bearing checking accounts are used

by the Receiver to collect liquid assets of the estate and to pay the portfolio-related and

administrative expenses. For each property encumbered by secured debt that has sold, the Receiver

also has established a separate interest-bearing account for the purpose of depositing and holding

funds until such time as the Court orders otherwise and for ultimate distribution, following a claims

process and upon Court approval, to the creditors of the Estate, including the defrauded investors.

(Dkt. Nos. 230, 311, 344 & 346)

       c.         Creditors and Claims Against the Receivership Estate

       During the First Quarter 2022, the Receiver and his retained professionals continued to

improve the accuracy and completeness of the “Master Claims Exhibit,” preliminarily identifying

on a property-by-property basis for each of the nearly 2400 claims the following: (i) claimant

name, (ii) total amount claimed, (iii) claimant category, and (iv) the amount loaned or invested in

the particular property (where it could be determined from the face of the claim form). The

Receiver has encouraged claimants to review this exhibit and bring any discrepancies to the

attention of the Receiver, and the Receiver and his retained professionals have updated the exhibit

where appropriate. The most recent version of the Master Claims Exhibit was submitted with the

First Quarter 2022 Status Report filed on April 29, 2022. (Dkt. No. 1243 at Ex. 6) This work was

reasonable, necessary, and beneficial to the Receivership estate, and has allowed the Receiver’s

claims vendors (1) to organize, on a property-by-property basis, the claim forms and supporting

documentation that claimants have submitted to the Receiver, and (2) to provide each claimant

who did not opt out of the Confidentiality Order with digital links for the transfer of the claim



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forms and supporting documentation of other claimants asserting claims against the same property

or properties in the receivership estate, consistent with Court orders. The Receiver also worked to

update and confirm the accuracy of claimants’ email, address, and counsel records, both for the

preparation of framing reports, and for use in the creation of email distribution lists for claimants

to use in discovery and the claims process.

         The First Quarter 2022 was devoted primarily to the disputed claims process for the five

properties in Group 1 (3074 Cheltenham Place; 7625-33 S East End Avenue; 7635-43 S East End

Avenue; 7750-58 S Muskegon Avenue; and 7201 S Constance Avenue), which began on July 6,

2021 (Dkt. Nos. 1004-1006). During the quarter, the Receiver and his counsel and staff: (1)

researched and prepared a disclosure regarding the Receiver’s avoidance claim against institutional

lender BC57, LLC (“BC57”); (2) engaged in additional discovery regarding the Receiver's

avoidance claim; (3) reviewed and analyzed the position statements filed by BC57, the SEC, and

51 investor-lender claimants; (4) studied the proofs of claim, discovery materials, and EquityBuild

documents and correspondence relating to the Group 1 claims; (5) made recommendations as to

the validity and amount of each of the 169 claims submitted with respect to the five Group 1

properties; (6) drafted and submitted the Receiver’s position statement regarding the Group 1

claims; (7) studied the responsive position statements filed by BC57, the SEC and several of the

claimants; (8) prepared and filed a reply memorandum in support of the Receiver’s avoidance

claim.

         The Receiver and his professionals also devoted effort during the quarter to the separate

claims process requested by institutional lenders U.S. Bank National Association and Midland

Loan Services regarding the resolution of their claims relating to properties in which no other

claimants have submitted a claim. The Receiver’s counsel completed review of the nearly 10,000



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pages constituting these institutional lenders’ proofs of claim submissions, and began to review

extensive productions served in response to subpoenas to third-party title companies Primary Title

Services LLC, OS National LLC, Avenue 365 Title Company, and Chicago Title Insurance

Company, and by loan originator CBRE Capital Markets Inc.

         Additionally, during the First Quarter 2022, the Receiver and his professionals (1) worked

with counsel for claimants to file three joint status reports with the Court relating to the claims

process (Dkt. Nos. 1139, 1166, 1229); (2) worked with intervening counsel representing investors

in properties that EquityBuild sold before the commencement of the receivership to negotiate a

Stipulated Order resolving these investors’ motion requesting leave to name EquityBuild in

mortgage foreclosure actions relating to four such properties (Dkt. No. 1176); (3) drafted

communications to all claimants regarding the EquityBuild documents database and responded to

approximately 145 claimant inquiries, in addition to numerous oral and other written

communications with claimants and certain claimants’ counsel regarding the claims process and

the receivership; and (4) engaged in various other activities relating to the claims process as

reflected in the submitted invoices.

         The Receiver is continuously updating all claimants on the developments in this matter,

and responding in a timely manner to the hundreds of emails and voicemails from investors and

others, many if not most of which related to the claims submitted against the Estate and the status

of the Court’s process for resolving those claims and distributing the Estate’s assets. To ease the

burden     and   provide    basic   information,        the   Receiver   established   a   web   page

(http://rdaplaw.net/receivership-for-equitybuild) for claimants and other interested parties to

obtain information and certain court filings related to the Receivership estate, which remains in




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place today and continues to be best and most cost-effective mean of providing information

regarding the status of this action.

       d.       Assets in Receivership Estate

       All known Receivership Property is identified and described in the Master Asset List

attached hereto as Exhibit D. The Master Asset List identifies 56 checking accounts in the names

of the affiliates and affiliate entities included as Receivership Defendants, reflecting a combined

balance in the Receiver’s accounts as of March 31, 2022 of $1,125,649.01. (See also Dkt. No. 258

at 21, and Dkt. No. 348 at 23-24, for additional information relating to these funds.) Additionally,

103 separate interest-bearing accounts established by the Receiver to hold the proceeds from sold

real estate are identified on Exhibit E, which collectively contained $70,387,156.70 as of March

31, 2022.

       The Master Asset List does not include funds received or recovered after March 31, 2022.

Nor does it include potentially recoverable assets for which the Receiver is still evaluating the

value, potential value, and/or ownership interests. The Receiver is in the process of evaluating

certain other types of assets that may be recoverable by the Receivership Estate.

IV.    BILLING ADDRESSED IN THIS APPLICATION

       Pursuant to the Billing Instructions, the Receiver provides the following information

regarding current billing:

       a.       Total Compensation and Expenses Requested.

              i.       In connection with his duties, the Receiver respectfully requests

                       compensation for services rendered, totaling $45,552.00 for the period of

                       this Application. Copies of the Receiver’s invoices for January, February

                       and March, 2022 are attached as Exhibit F.



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           ii.     In connection with the legal services provided to the Receiver by RDP, the

                   Receiver respectfully requests compensation for services rendered, along

                   with reimbursement of expenses, totaling $179,294.74 for the period of this

                   Application. Copies of RDP’s invoices for January, February and March,

                   2022 are attached as Exhibit G. The Receiver’s counsel Andrew Porter

                   received $2,970.40 as agency fees for the title examination work performed

                   in connection with the closing of properties during the First Quarter 2022.

                   The Receiver will reduce the amount due to RDP for the First Quarter 2022

                   by this amount.

          iii.     In connection with the accounting provided to the Receiver by KMA, the

                   Receiver respectfully requests compensation for services rendered, along

                   with reimbursement of expenses, totaling $8,869.90 for the period of this

                   Application. Copies of KMA’s invoices for January, February and March,

                   2022, are attached as Exhibit H.

          iv.      In connection with the accounting provided to the Receiver by Miller

                   Kaplan, the Receiver respectfully requests compensation for services

                   rendered, along with reimbursement of expenses, totaling $9,604.60. These

                   fees relate to services rendered during the period from the Receiver’s

                   Eleventh Fee Application for the first quarter of 2021 (Dkt. 993) through

                   the First Quarter 2022. A copy of Miller Kaplan’s invoice is attached as

                   Exhibit I.

           v.      In connection with the IT services provided to the Receiver by Prometheum,

                   the Receiver respectfully requests compensation for services rendered,



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                       which is an expense in the amount of $825.00 for the period of this

                       Application. A copy of Prometheum’s invoice is attached as Exhibit J.

       b.      Source of Funds for Requested Compensation and Expenses.

       The Receiver requests that the above compensation and expenses be paid from the

Receiver’s operating account to the extent there are sufficient funds now or in the future. To the

extent funds are insufficient, Receiver requests that a subset of the above compensation and

expenses be paid pursuant to the receiver’s lien that the Court established in order that receivership

property may be used to compensate the Receiver and his counsel for their work. (See Court’s

10/26/20 Order granting Receiver’s lien (Dkt. No. 824) and Court’s Order Approving Receiver’s

Lien for Certain Categories of Expenses (Dkt. No. 1030). See also discussion in Section V, infra.)

       c.      Fifteenth Application for Payment of Professional Fees and Expenses.

       This is the Receiver’s Fifteenth Interim Application.

       d.      Summary of Activity.

       A “Summary of Activity,” providing the total hours billed and the amount of billing for

each person who billed time during the Application period (January 1, 2022 through March 31,

2022) can be found at the end of the Receiver’s invoices (Exhibit F) and RDP’s invoices (Exhibit

G) and on the first page of the KMA invoices (Exhibit H).

V.     REQUEST FOR RECEIVER’S LIEN

       The Receiver again requests that the Court authorize the interim payment of certain of the

amounts set forth in this fee petition pursuant to the Receiver’s first-priority lien previously

ordered and affirmed by the Court. (See Dkt. Nos. 824, 1031) Specifically, the Receiver requests

authorization for the interim payment of fees for two categories of activity: (1) the preservation,

management, and liquidation of certain real estate belonging to the Receivership Estate; and (2)



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the implementation and management of an orderly summary claim-priority adjudication process,

as previously ordered with respect to the Receiver’s prior fee applications. (Dkt. No. 1030)

        In its March 14, 2022 Order granting the Receiver’s 12th fee application, the Court directed

that: “To the extent the Receiver requests that the Court authorize payments of his fees and

expenses pursuant to the first-priority receiver’s lien in the future, he should include details in each

fee application concerning which line items he believes should be covered by the first-priority lien,

and the Court will consider them together with the fee applications.” (Dkt. 1213 at 8, n.3)

Accordingly, the Receiver submits as Exhibit K-M2 to this fee application his proposed

allocations of the fees for the Asset Disposition, Business Operations, and Claims billing

categories incurred during the First Quarter 2022 to properties in the Estate, which have been made

in accordance with the methodology approved by the Court, and requests approval of an interim

payment of the approved amount from the accounts established from the sale of the property,

subject to any holdback ordered by the Court.3

        The Receiver’s proposed allocations apply the methodology previously authorized by the

Court to the invoices comprising the Receiver’s and his special counsel’s invoices comprising this

Fifteenth Fee Application. See Dkt. 824 at 5 (finding that “the Receiver’s proposed methodology

to allocate fees and expenses to individual properties is reasonable”).             In summary, this

methodology, which the Receiver first submitted with his 7th fee application provides: (i) first,




2
 Exhibit K contains a summary by property of the specific and general allocations to each property
during the quarter. Exhibit L contains the general allocations which are allocated to the properties
pro rata based on their gross sales prices. Exhibit M contains the specific allocation schedules for
each property. See note 3, infra.
3
  A May 13, 2022 family emergency has prevented the Receiver’s vendor from finalizing and
generating Exhibits K, L and M. The Receiver will file the schedules under separate cover as soon
as they are available.
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allocate by property; (ii) second, do not allocate certain billing categories; (iii) third, do not allocate

third-party claims by the Receiver; and (iv) fourth, allocate all remaining fees and expenses to the

properties as a percentage of their gross sales prices. (Dkt. No. 755 at 23-24) The institutional

lenders have acknowledged that this methodology has been approved by the Court. (Dkt. No. 1188

at 2) (“On October 26, 2020, the Court awarded the Receiver a receiver’s lien and approved the

Receiver’s methodology of allocating that lien among the Properties”).

        In support of this fee application, the Receiver further incorporates by reference the

arguments and legal authority offered in support of his pending Motion for Approval of

Allocations of Fees to Properties for Payment Pursuant to Receiver’s Lien. (Dkt. No. 1107)

VI.     CONCLUSION

        WHEREFORE, the Receiver respectfully requests that the Court approve the Receiver’s

Fifteenth Interim Fee Application and enter an Order as follows:

        a.      finding the fees and expenses of the Receiver and Receiver’s retained professionals,

Rachlis Duff & Peel, LLC, KMA S.C., Miller Kaplan Arase LLP, and Prometheum, as described

in Exhibits F-J, respectively, to be reasonable and necessary to the Receivership;

        b.      granting the Receiver and his retained professional a first priority administrative

lien against each of the real estate properties in the Receivership Estate and their sales proceeds

for payment of fees and costs;

        c.      approve the proposed allocation and payment methodology with respect to a

Receiver’s lien for all fees and expenses of the Receivership Estate as described and recommended

in this fee application;




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       d.      approving the Receiver’s payment of such fees and expenses to the Receiver and to

Receiver’s retained professionals from sales proceeds for each of the properties in the Receivership

Estate as described and recommended in this fee application; and

       e.      granting the Receiver all other relief which this Court deems just and proper.

Dated: May 16, 2022                                  Kevin B. Duff, Receiver

                                              By:    /s/     Michael Rachlis

                                                     Michael Rachlis
                                                     Jodi Rosen Wine
                                                     Rachlis Duff & Peel, LLC
                                                     542 South Dearborn Street, Suite 900
                                                     Chicago, IL 60605
                                                     Phone (312) 733-3950; Fax (312) 733-3952
                                                     mrachlis@rdaplaw.net
                                                     jwine@rdaplaw.net




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                               RECEIVER’S CERTIFICATION
         1.     Pursuant to the Billing Instructions, the Receiver certifies as follows regarding the

Receiver’s Fifteenth Interim Application and Motion for Court Approval of Payment of Fees and

Expenses of Receiver and Receiver’s Retained Professionals:

         a.     The Receiver has read the foregoing Application and Motion;

         b.      To the best of the Receiver’s knowledge, information and belief formed after
 reasonable inquiry, the Application and Motion and all fees and expenses therein are true and
 accurate and comply with the Billing Instructions (with any exceptions specifically noted in this
 Certification, Application, and Motion);

       c.     All fees contained in the Application and Motion are based on the rates listed in the
 Fee Schedule attached hereto as Exhibit A, and such fees are reasonable, necessary, and
 commensurate with the skill and experience required for the activity performed;

        d.      The Application and Motion does not include in the amount for which
 reimbursement is sought, the amortization of the cost of any investment, equipment, or capital
 outlay (except to the extent any such amortization is included within the permitted allowable
 amounts set forth herein); and

         e.     In seeking reimbursement for a service which the Receiver or the Receiver’s
 Retained Professionals justifiably purchased or contracted for from a third party (such as copying,
 imaging, bulk mail, messenger service, overnight courier, computerized research, or title and lien
 searches), reimbursement is requested only for the amount billed to the Receiver or Receiver’s
 Retained Professionals by the third-party vendor and paid by the Receiver or Receiver’s Retained
 Professionals to such vendor. If such services were performed by the Receiver or Receiver’s
 Retained Professionals, the Receiver certifies that no profit has been made on such reimbursable
 service.

         2.     On May 6, 2022, the Receiver provided to Mr. Benjamin Hanauer, of the SEC, a

 complete draft copy of this Application and Motion, together with exhibits A-J, which include the

 relevant billing statements in a format specified by the SEC.

 Dated: May 16, 2022                          /s/ Kevin B. Duff
                                              Kevin B. Duff, Receiver
                                              EquityBuild, Inc., et al.
                                              c/o Rachlis Duff & Peel, LLC
                                              542 S. Dearborn Street, Suite 900
                                              Chicago, IL 60605
                                              (312) 733-3390 - kduff@rdaplaw.net


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                              CERTIFICATE OF SERVICE

       I hereby certify that I provided service of the foregoing Receiver’s Fifteenth Interim

Application and Motion for Court Approval of Payment of Fees and Expenses of Receiver and

Receiver’s Retained Professionals, via the Court’s CM/ECF system, to all counsel of record on

May 16, 2022.


                                                  /s/ Michael Rachlis

                                                  Michael Rachlis
                                                  Rachlis Duff & Peel, LLC
                                                  542 South Dearborn Street, Suite 900
                                                  Chicago, IL 60605
                                                  Phone (312) 733-3950
                                                  Fax (312) 733-3952
                                                  mrachlis@rdaplaw.net




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                Exhibit A
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Rachlis Duff & Peel, LLC Rates

      Professional/        Position              2022           2022
      Paraprofessional                           Standard       Discounted
                                                 Hourly Rates   Hourly Rates
      Michael Rachlis      RDP Member            $650           $390
      Drew G.A. Peel       RDP Member            $650           $390
      Ellen Duff           RDP Of Counsel        $600           $390
      Andrew E. Porter     RDP Of Counsel        $600           $390
      Jodi Rosen Wine      RDP Of Counsel        $600           $260
      Kathleen Pritchard   RDP Paralegal         $225           $140
      Ania Watychowicz     RDP Paralegal         $225           $140
      Justyna Rak          RDP Paralegal         $225           $140
      Stoja Zjalic         RDP Legal Assistant   $190           $110
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 KMA S.C. (f/k/a
                                    20% discount from
 BrookWeiner) Billing Rates
                                    current standard rates

 Staff Accountant                           $110/hour
 Manager                                    $210/hour
 Partner                                   $275/hour
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Prometheum’s Hourly Rate

     Position                        Hourly Rate
     Senior Technical Consultant     $110
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                        Document  #: 32Filed:
                                       Filed:05/16/22
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                          Schedule of Current Fees
                          With SEC Discounted Rates
                                 March 1, 2018


Service provider             Rate, per hour          SEC Discounted rate at
                                                     80% of standard, per hour
Administrative Staff         $35 - $125              $28 - $100
Accounting Staff             $100 - $200             $80 - $160
Senior Accounting Staff      $225 - $275             $180 - $220
Attorney                     $250 - $350             $200 - $280
Partner                      $400 - $550             $320 - $440
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                Exhibit B
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                                                                                                                                            Amount                                     Approved
                              Docket No.                                  Amount of             Docket No.                                  Approved             Amount Paid          Amount Unpaid
Interim Fee Application       Application     Date Filed                  Application           Order           Date of Order               (less holdback)¹     (as of 3/31/22)      (as of 3/31/22)
First (3d Q 2018)             411             June 12, 2019               $ 413,298.44          546             October 15, 2019             $ 413,298.44         $ 413,298.44         $              -
Second (4th Q 2018)           487             August 21, 2019             $ 553,968.43          547             October 15, 2019             $ 553,968.43         $ 553,968.43         $              -
Third (1st Q 2019)            569             November 1, 2019            $ 547,711.44          614             January 7, 2020              $ 547,711.04         $ 547,711.04         $              -
Fourth (2d Q 2019)            576             November 15, 2019           $ 510,056.64          614             January 7, 2020              $ 510,056.64         $     23,006.88      $ 487,049.76
Fifth (3d Q 2019)             608             December 20, 2019           $ 485,094.92          710             June 9, 2020                 $ 485,094.92         $     19,563.50      $ 465,531.42
Sixth (4th Q 2019)            626             February 14, 2020           $ 297,791.41          710             June 9, 2020                 $ 297,791.41         $     22,211.40      $ 275,580.01
Seventh (1st Q 2020)          755             July 28, 2020               $ 362,102.16          824             October 26, 2020             $ 362,102.16         $     11,634.25      $ 350,467.91
Eighth (2d Q 2020)            778             August 28, 2020             $ 451,944.97          824             October 25, 2020             $ 451,944.97         $     12,152.50      $ 439,792.47
Ninth (3d Q 2020)             885             November 30, 2020           $ 403,064.48          1031            August 17, 2021              $ 324,959.92         $       1,017.50     $ 323,942.42
Tenth (4Q2020)                945             February 23, 2021           $ 379,388.01          1031            August 17, 2021              $ 304,579.67         $       6,593.20     $ 297,986.47
Eleventh (1Q2021)             993             May 17, 2021                $ 261,601.20          1031            August 17, 2021              $ 210,660.10         $       2,750.00     $ 207,910.10
Twelfth (2Q2021)              1026            August 16, 2021             $ 185,528.04          1213            March 14, 2022               $ 149,092.26         $              -     $ 149,092.26
Thirteenth (3Q2021)           1087            November 15, 2021           $ 155,709.74          n/a
Fourteenth (4Q2021)           1181            February 14, 2022           $ 151,828.35          n/a
                                                                                                                                                                                       $ 2,997,352.82


¹The approved amounts less the 20% holdback ordered by the Court for the Ninth, Tenth, and Eleventh fee applications (Dkt. 1030) have been adjusted since the Receiver's last fee application to account
for a 20% holdback of the fees charged by accounting professionals KMA (f/k/a BrookWeiner), Miller Kaplan, and Whitley Penn.
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                Exhibit C
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                    STANDARDIZED FUND ACCOUNTING REPORT for EQUITYBUILD, INC., et al. ‐ Cash Basis
                                   Receivership; Civil Court Docket No. 18‐cv‐05587
                                      Reporting Period 1/1/2022 to 3/31/2022

Fund Accounting (See Instructions):
                                                                             Detail        Subtotal       Grand Total
Line 1        Beginning Balance (As of 1/1/2022):                         $1,019,746.01                   $1,019,746.01
              Increases in Fund Balance:
Line 2        Business Income
Line 3        Cash and unliquidated assets
Line 4        Interest/Dividend Income                                         $629.15
Line 5        Business Asset Liquidation
Line 6        Personal Asset Liquidation
Line 7        Net Income from Properties
Line 8        Miscellaneous ‐ Other¹                                       $106,589.85
                Total Funds Available (Line 1‐8):                                                         $1,126,965.01
              Decrease in Fund Balance:
Line 9      Disbursements to Investors
Line 10     Disbursements for receivership operations
   Line 10a Disbursements to receiver or Other Profesionals
   Line 10b Business Asset Expenses²                                         ($1,316.00)
   Line 10c Personal Asset Expenses
   Line 10d Investment Expenses
   Line 10e Third‐Party Litigation Expenses
                1. Attorney Fees
                2. Litigation Expenses
              Total Third‐Party Litigation Expenses                                             $0.00
   Line 10f Tax Administrator Fees and Bonds
  Line 10g Federal and State Tax Payments
              Total Disbursements for Receivership Operations                               ($1,316.00)
Line 11     Disbursements for Distribution Expenses Paid by the Fund:
   Line 11a    Distribution Plan Development Expenses:
                 1. Fees:
                       Fund Administrator……………………………………………………….….
                       Independent Distribution Consultant (IDC)…………………
                       Distribution Agent……………………….……………………………………
                       Consultants………………………………………………….…………………….
                       Legal Advisers…………………………………………………………….……..
                       Tax Advisers……………………………………………………………………….
                  2. Administrative Expenses
                  3. Miscellaneous
               Total Plan Development Expenses                                                  $0.00
  Line 11b       Distribution Plan Implementation Expenses:
                   1. Fees:
                       Fund Administrator…………..…………….…………………………
                       IDC……………………………………………………………………………..
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                 STANDARDIZED FUND ACCOUNTING REPORT for EQUITYBUILD, INC., et al. ‐ Cash Basis
                                Receivership; Civil Court Docket No. 18‐cv‐05587
                                   Reporting Period 1/1/2022 to 3/31/2022

                     Distribution Agent……………………….………………..…..………
                     Consultants………………………………………………….…………….
                     Legal Advisers………………………………………….………………………..
                     Tax Advisers……………………………………………………..………………..
                 2. Administrative Expenses
                 3. Investor identification
                     Notice/Publishing Approved Plan………………………………….
                     Claimant Identification……………………………………………………
                     Claims Processing……………………………………………………………..
                     Web Site Maintenance/Call Center……………………………….
                 4. Fund Adminstrator Bond
                 5. Miscellaneous
                 6. Federal Account for Investor Restitution
                   (FAIR) reporting Expenses
                 Total Plan Implementation Expenses
                 Total Disbursement for Distribution Expenses Paid by the Fund                           $0.00
Line 12     Disbursement to Court/Other:
   Line 12a     Investment Expenses/Court Registry Investment
                System (CRIS) Fees
   Line 12b     Federal Tax Payments
              Total Disbursement to Court/Others:
              Total Funds Disbursed (Lines 1‐12):                                                                       ($1,316.00)
Line 13         Ending Balance (As of 3/31/2022):                                                                  $1,125,649.01
Line 14     Ending Balance of Fund ‐ Net Assets:
   Line 14a    Cash & Cash Equivalents                                                                             $1,125,649.01
   Line 14b    Investments (unliquidated EquityBuild investments)
   Line 14c    Other Assets or uncleared Funds
               Total Ending Balance of Fund ‐ Net Assets                                                           $1,125,649.01

            ¹ Refund of insurance payments for sold properties

            ² Payments to vendors for services related to claims
            document repository ‐ TOTAL $1,316.00.

                                                                 Receiver:
                                                                                               /s/ Kevin B. Duff
                                                                                 (Signature)

                                                                             Kevin B. Duff, Receiver EquityBuild, Inc., et al.
                                                                                 (Printed Name)

                                                                    Date:                      4/26/2022
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                Exhibit D
     Case: 1:18-cv-05587 Document #: 1251 Filed: 05/16/22 Page 31 of 162 PageID #:65626



                                                    Master Asset List
                                        Receiver’s Account (as of 3/31/2022)
Institution                                Account Information               Amount
AXOS Fiduciary Services                    Checking #0181                                                         $936,122.20
AXOS Fiduciary Services                      Checking #0348                                                       $189,526.81
                                                                                                                        Total:
                                                                                                                $1,125,649.01

                                 Receivership Defendants’ Accounts
Institution      Account Information                         Current Value                           Amount Transferred
                                                                                                     to Receiver’s
                                                                                                     Account
Wells Fargo      Checking (53 accounts in the names of the                                                    $190,184.13¹
                 affiliates and affiliate entities included as
                 Receivership Defendants)
Wells Fargo      Checking (account in the names of Shaun                                                           $23,065.43²
                 Cohen and spouse)
Byline Bank      Checking (2 accounts in names of Receivership                      $21,851.01³
                 Defendants)
                                                                                                                        Total:
                                                                                                                  $213,249.56

                                   EquityBuild Real Estate Portfolio
For a list of the properties within the EquityBuild portfolio identified by property address, alternative
address (where appropriate), number of units, and owner, see Exhibit 1 to the Receiver’s First Status
Report, Docket No. 107. See also Exhibit 6 hereto.

                                            Other, Non-Illinois Real Estate
Description                                                     Appraised Market Value
Single family home in Plano, Texas                                                                              ±$450,000.00

                                                                          Approximate mortgage amount: $400,000.00
                                                                         Approximate value less mortgage: $50,000.00


     ¹ This amount reflects the total value of all of the frozen bank accounts held by Wells Fargo that were transferred to
     the Receiver’s account; the final transfer was made on 1/22/20, and included as part of the Receiver’s Account as of
     3/31/20.
     ² This amount was transferred to the Receiver’s Account as of 8/27/18, and is included as part of the total balance of
     the Receiver’s Account as of 3/31/19.
     ³ The Receiver is investigating whether these accounts are properly included within the Receivership Estate.
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                Exhibit E
       Case: 1:18-cv-05587 Document #: 1251 Filed: 05/16/22 Page 33 of 162 PageID #:65628
                                                           SEC v. EquityBuild, Inc., et al.
                                                                  No. 18‐cv‐5587
                                       Balances of Funds in Property Specific Accounts as of March 31, 2022




                                                   Account Balance                                            Reason for Change (if any)
 Account Number         Account Name                                      Date of Settlement
                                                (as of March 31, 2022)                                             1/1/22 ‐ 3/31/22
0025              7301 S Stewart Ave                       $303,619.54               11/4/2019   Interest earned, $187.10
0033              5001‐05 S Drexel                       $2,727,811.25               5/22/2019   Interest earned, $1,681.00
0041              7927‐49 S Essex                          $644,875.36                5/1/2019   Interest earned, $397.41
0058              8100‐14 S Essex                          $929,491.79               4/30/2019   Interest earned, $572.80
0066              6160‐6212 S King                         $430,195.19               4/30/2019   Interest earned, $265.11
0074              1102 Bingham                             $701,577.85               10/6/2021   Interest earned, $462.34
0108              8047 S. Manistee                         $806,459.56                2/5/2020   Interest earned, $496.98
0116              5955 S. Sacramento                       $450,388.38               11/5/2019   Interest earned, $277.55
0124              6001‐05 S. Sacramento                    $329,360.17               11/5/2019   Interest earned, $202.97
0132              7026‐42 S. Cornell                       $868,691.54               11/6/2019   Interest earned, $535.33
0140              7237‐43 S. Bennett                       $683,662.14               6/30/2021   Interest earned, $421.31
0157              7834‐44 S. Ellis                       $1,637,627.80               11/4/2019   Interest earned, $1,009.18
0165              701‐13 S. 5th Avenue                     $616,829.23               3/31/2020   Interest earned, $380.12
0199              7625 S. East End                       $1,242,528.57              12/20/2019   Interest earned, $765.70
0207              7635 S. East End                       $1,049,536.10              12/20/2019   Interest earned, $646.78
0215              7748 S. Essex                          $1,187,301.07              12/18/2019   Interest earned, $731.67
0223              7750 S. Muskegon                         $409,813.69              12/18/2019   Interest earned, $252.55
0231              7749‐59 S. Yates                         $639,489.64               4/22/2020   Interest earned, $394.08
0249              7450 S. Luella                           $198,503.84                5/7/2020   Interest earned, $122.33
0256              4520‐26 S. Drexel                      $6,208,378.96               5/21/2020   Interest earned, $3,825.89
0264              6749‐59 S. Merrill                     $1,410,897.67               4/28/2020   Interest earned, $869.46
0272              7110 S. Cornell                        $1,170,844.54               8/13/2020   Interest earned, $721.52
0280              7109 S. Calumet                        $1,406,341.79               2/28/2022   Proceeds from sale of property, $1,394,792.47; title
                                                                                                 company refund for overpayment of property taxes,
                                                                                                 $11,018.16; interest earned, $307.01

0298              7600 S. Kingston                       $1,408,731.80               12/3/2020   Interest earned, $868.12
0306              7656 S. Kingston                         $235,222.46               12/2/2020   Interest earned, $144.95
0314              8201 S. Kingston                         $275,232.63               5/21/2020   Interest earned, $169.61
0322              8326‐58 S. Ellis                       $1,334,529.92               6/11/2020   Interest earned, $822.40
0330              6949‐59 S. Merrill                     $1,543,725.22               12/1/2020   Interest earned, $951.32
0355              7546 S. Saginaw                          $523,554.97               5/13/2020   Interest earned, $322.63
0363              638 N. Avers                             $628,903.62              10/15/2021   Interest earned, $387.56
0371              5450 S. Indiana                        $1,794,471.70               6/25/2020   Interest earned, $1,105.83
0389              6437 S. Kenwood                        $1,343,939.33               6/25/2020   Interest earned, $828.20
0397              7300 S. St. Lawrence                     $310,565.50               7/27/2020   Interest earned, $191.39
0405              7760 S. Coles                            $123,225.65               6/26/2020   Interest earned, $75.93
0413              8000 S. Justine                          $193,540.11               6/26/2020   Interest earned, $119.27
0421*             8107‐09 S. Ellis                         $111,217.84               6/30/2020   Interest earned, $68.53
0439              8209 S. Ellis                            $264,128.75                7/1/2020   Interest earned, $162.76
0447              8214‐16 S. Ingleside                     $209,510.88               6/30/2020   Interest earned, $129.12
0454              11117 S. Longwood                      $1,694,893.04                7/8/2020   Interest earned, $1,044.47
0462              1700 Juneway                           $2,776,998.52              10/20/2020   Interest earned, $1,711.32
0470              1131‐41 E. 79th                        $1,180,966.54              12/22/2020   Interest earned, $727.76
0488              2736 W. 64th                             $380,686.60               9/29/2020   Interest earned, $234.60
0496              3074 Cheltenham                        $1,015,992.60               9/24/2020   Interest earned, $626.10
0504              5618 S. Martin Luther King               $627,794.68               9/29/2020   Interest earned, $386.87
0512              6250 S. Mozart                           $909,612.02              12/22/2020   Interest earned, $560.55
0520              6355 S. Talman                           $479,776.00               9/29/2020   Interest earned, $295.66
0538              6356 S. California                       $316,002.91               9/29/2020   Interest earned, $194.74
0546              6554‐58 S. Vernon                        $541,892.54              10/15/2020   Interest earned, $333.94
0553              7051 S. Bennett                          $477,428.59               9/23/2020   Interest earned, $294.21
0561              7201 S. Constance                        $963,702.51               9/30/2020   Interest earned, $593.87
0579              7201‐07 S. Dorchester                    $421,928.27              10/20/2020   Interest earned, $260.01
0587              7508 S. Essex                            $749,286.40              10/28/2020   Interest earned, $461.75
0595              7957 S. Marquette                        $285,195.26               9/21/2020   Interest earned, $175.75
0603              4533 S. Calumet                        $2,200,688.66               12/1/2020   Interest earned, $1,356.17
0611              1017 W. 102nd                            $105,863.28               5/26/2021   Interest earned, $65.24
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                                                            SEC v. EquityBuild, Inc., et al.
                                                                   No. 18‐cv‐5587
                                        Balances of Funds in Property Specific Accounts as of March 31, 2022




                                                    Account Balance                                            Reason for Change (if any)
 Account Number         Account Name                                       Date of Settlement
                                                 (as of March 31, 2022)                                             1/1/22 ‐ 3/31/22
0629              1516 E. 85th                              $110,045.63               5/26/2021   Interest earned, $67.82
0637              417 Oglesby                               $101,723.92               5/26/2021   Interest earned, $62.68
0645              7922 S. Luella                            $143,003.49               5/26/2021   Interest earned, $88.12
0652              7925 S. Kingston                           $88,152.81               5/26/2021   Interest earned, $54.32
0660              8030 S. Marquette                          $80,974.60               5/26/2021   Interest earned, $49.90
0678              8104 S. Kingston                          $150,323.52               5/26/2021   Interest earned, $92.63
0686              8403 S. Aberdeen                          $115,636.15               5/26/2021   Interest earned, $71.26
0694              8405 S. Marquette                         $113,278.65               5/26/2021   Interest earned, $69.81
0702              8529 S. Rhodes                            $134,511.82               5/26/2021   Interest earned, $82.90
0710              9212 S. Parnell                            $98,517.21               5/26/2021   Interest earned, $60.72
0728              10012 S. LaSalle                           $87,560.13               5/26/2021   Interest earned, $53.96
0736              11318 S. Church                           $126,557.36               5/26/2021   Interest earned, $77.99
0744              6554 S. Rhodes                             $87,276.04               5/26/2021   Interest earned, $53.78
0751              6825 S. Indiana                           $127,500.54               5/26/2021   Interest earned, $78.57
0769              7210 S. Vernon                             $61,534.76               5/26/2021   Interest earned, $37.92
0777              7712 S. Euclid                            $131,005.28               5/26/2021   Interest earned, $80.73
0785              8107 S. Kingston                           $98,208.15               5/26/2021   Interest earned, $60.52
0793              8346 S. Constance                         $136,215.88               5/26/2021   Interest earned, $83.95
0801              8432 S. Essex                             $134,403.74               5/26/2021   Interest earned, $82.82
0819              8517 S. Vernon                            $133,224.66               5/26/2021   Interest earned, $82.10
0827              2129 W. 71st                               $64,111.90               5/26/2021   Interest earned, $39.51
0835              9610 S. Woodlawn                           $87,793.56               5/26/2021   Interest earned, $54.11
0843              1401 W. 109th                              $56,469.50               5/26/2021   Interest earned, $34.80
0850              1139 E. 79th                                 $3,717.61                    n/a   Interest earned, $2.29
0868              4611 S. Drexel                          $4,936,153.63               5/14/2021   Interest earned, $3,041.88
0876              6217 S. Dorchester                      $2,212,786.63                7/6/2021   Interest earned, $1,363.62
0884              7255 S. Euclid                          $1,070,000.77               6/29/2021   Interest earned, $659.39
0892              7024 S. Paxton                          $1,834,284.66               4/22/2021   Interest earned, $1,130.37
0900*             4317 S. Michigan                          $813,826.39               12/2/2020   Interest earned, $501.52
0918              7701 S. Essex                             $733,290.57              11/16/2020   Interest earned, $451.89
0926              816 E. Marquette                          $823,517.57              11/18/2020   Interest earned, $507.49
0934              1422 E. 68th                              $449,972.30               6/23/2021   Interest earned, $277.30
0942              2800 E. 81st                              $445,331.52               4/30/2021   Interest earned, $274.44
0959              4750 S. Indiana                           $739,935.57               4/21/2021   Interest earned, $455.99
0967              7840 S. Yates                             $364,627.32               4/23/2021   Interest earned, $224.70
0975              7442‐48 S. Calumet                        $541,866.75              11/16/2020   Interest earned, $333.92
0983              431 E. 42nd Place                          $64,987.88               11/5/2020   Interest earned, $40.05
0991              1414 E. 62nd Place                         $35,158.37               5/26/2021   Refund of closing costs, $2.00; interest earned,
                                                                                                  $21.67
1007              2136 W. 83rd Street                       $101,844.45               5/26/2021   Interest earned, $62.76
1015              7933 S. Kingston                           $95,720.68               5/26/2021   Interest earned, $58.99
1023              8800 S. Ada                               $127,147.47               5/26/2021   Interest earned, $78.36
1031              3213 S. Throop                            $137,645.55               5/26/2021   Interest earned, $84.83
1049              3723 W. 68th Place                        $124,285.23               5/26/2021   Interest earned, $76.59
1056              406 E. 87th Place                          $99,792.84               5/26/2021   Interest earned, $61.49
1064              61 E. 92nd Street                         $103,450.71               5/26/2021   Interest earned, $63.75
1072              7953 S. Woodlawn                          $128,692.72               5/26/2021   Interest earned, $79.31
1080              5437 S. Laflin                             $45,807.48               5/26/2021   Interest earned, $28.23
1098              6759 S Indiana                             $90,308.52               5/26/2021   Interest earned, $55.66
1106              310 E 50th Street                         $189,265.67               5/26/2021   Interest earned, $116.64
1114              6807 S. Indiana                           $122,274.07               5/26/2021   Interest earned, $75.35

                  TOTAL FUNDS HELD:                      $70,387,156.70
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                Exhibit F
Case: 1:18-cv-05587 Document #: 1251 Filed: 05/16/22 Page 36 of 162 PageID #:65631
                                Rachlis Duff & Peel, LLC
                                      542 South Dearborn Street
                                                                                        tel (312) 733-3950
                                              Suite 900                                 fax (312) 733-3952
                                       Chicago, Illinois 60605




May 3, 2022

Kevin B. Duff, Receiver
c/o Rachlis Duff & Peel, LLC
542 S. Dearborn Street, Suite 900
Chicago, IL 60605




Re: SEC v. EquityBuild Inc., EquityBuild Finance, LLC, Jerome H.                     Fed. I.D. No. XX-XXXXXXX
    Cohen, and Shaun D. Cohen                                                        Invoice No. 6621142
    No. 18-cv-5587, US Dist. Ct., Northern Dist. of Illinois, Eastern Div.



Legal Fees for January 2022                                              $14,391.00

Expenses Disbursed                                                           $0.00


Due this Invoice                                                         $14,391.00
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    Kevin B. Duff, Receiver                                                                             Page 2




         Date       Indiv Hours Description

Asset Analysis & Recovery

         1/6/2022   KBD       0.10 Confer with K. Pritchard regarding third-party subpoena.

                                   Asset Analysis & Recovery

         1/20/2022 KBD        0.30 Exchange correspondence regarding subpoenas and compliance (.1);
                                   exchange correspondence with A. Watychowicz regarding communication
                                   from former EB vendor (.2).

                                   Asset Analysis & Recovery

         1/21/2022 KBD        0.10 Exchange correspondence with A. Watychowicz regarding preservation of
                                   domain records.

                                   Asset Analysis & Recovery

         1/22/2022 KBD        0.20 Exchange correspondence with J. Wine regarding information requested by
                                   counsel in third party action.

                                   Asset Analysis & Recovery

         1/25/2022 KBD        0.20 Confer with government representative.

                                   Asset Analysis & Recovery


SUBTOTAL:                                                                                 [ 0.90          351.00]

Asset Disposition

         1/3/2022   KBD       0.20 Exchange correspondence with claimant's counsel regarding confirmation
                                   relating to purported letter of credit (7109 Calumet) (.1); exchange
                                   correspondence with A. Watychowicz regarding motion to approve sale
                                   (7109 Calumet) (.1).

                                   Asset Disposition

         1/17/2022 KBD        0.20 Exchange correspondence with J. Rak and J. Wine regarding confirmation of
                                   funds transfer (single family).

                                   Asset Disposition

         1/21/2022 KBD        0.20 Exchange correspondence with J. Wine and A. Porter regarding order
                                   granting motion to confirm sale (7109 Calumet).

                                   Asset Disposition

         1/24/2022 KBD 0.40 Exchange correspondence with J. Rak regarding post-sale reconciliation of
                              expenses (638 Avers) (.3); exchange correspondence with A. Porter and J.
                              Rak regarding closing of sale (7109 Calumet) (.1).

                                   Asset Disposition
   Case: 1:18-cv-05587 Document #: 1251 Filed: 05/16/22 Page 38 of 162 PageID #:65633
    Kevin B. Duff, Receiver                                                                                 Page 3



        Date          Indiv Hours Description


SUBTOTAL:                                                                                    [ 1.00           390.00]

Business Operations

        1/4/2022      KBD     0.30 Exchange correspondence regarding property survey invoice (7635 East End)
                                   (.1); exchange correspondence regarding motion to intervene (defer) (.2).


                                   Business Operations

        1/5/2022      KBD     0.40 Confer with E. Duff regarding insurance premium recovery and allocation
                                   issues (all).

                                   Business Operations

        1/10/2022 KBD         0.10 Exchange correspondence with J. Wine regarding insurance coverage
                                   determination (4533 Calumet).

                                   Business Operations

        1/11/2022 KBD         0.80 Confer with and review correspondence from E. Duff regarding insurance
                                   recovery and allocation issues (all) (.5); draft correspondence to K. Pritchard
                                   regarding insurance renewal, termination, and potential refunds (all) (.1);
                                   exchange correspondence with J. Wine and K. Pritchard regarding
                                   background on and records for expenses for allocation (1414 E 62nd; 6160
                                   MLK; 6554 Rhodes; 6825 Indiana; 7051 Bennett; 7109
                                   Calumet; 7201 Constance; 7210 Vernon; 7749 Yates; 7834 Ellis; 8201
                                   Kingston) (.1); exchange correspondence with J. Wine regarding property
                                   expense and inclusion in expense restoration and approval motion (6217
                                   Dorchester) (.1).

                                   Business Operations

        1/12/2022 KBD         0.80 Telephone conference with J. Wine regarding property expense allocation
                                   and restoration and study related spreadsheet (1102 Bingham; 1401 W
                                   109th; 1414 E 62nd; 1700 Juneway; 2736 W 64th; 4533 Calumet; 4611
                                   Drexel; 5618 MLK; 6160 MLK; 6217 Dorchester; 6554 Rhodes; 6825 Indiana;
                                   7051 Bennett; 7109 Calumet; 7201 Constance; 7210 Vernon; 7635 East
                                   End; 7656 Kingston; 7748 Essex; 7749 Yates; 7834 Ellis; 8201 Kingston;
                                   8326 Ellis) (.7); attention to correspondence regarding trial in state court
                                   proceeding (7748 Essex) (.1).

                                   Business Operations
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Kevin B. Duff, Receiver                                                                               Page 4



    Date        Indiv Hours Description


    1/13/2022 KBD         0.80 Telephone conference with insurance broker regarding urgent need for
                               endorsements and refunds (all) (.3); confer with E. Duff regarding expense
                               accounting and restoration reports (all) (.3); study revised order and exchange
                               related correspondence (defer) (.2).

                               Business Operations

    1/19/2022 KBD         0.20 Exchange correspondence with J. Wine and M. Rachlis regarding state court
                               litigation (4533 Calumet).

                               Business Operations

    1/20/2022 KBD         0.30 Exchange correspondence with J. Wine and M. Rachlis regarding state court
                               action (4533 Calumet).

                               Business Operations

    1/21/2022 KBD         0.20 Exchange correspondence with A. Watychowicz regarding corporate status
                               issue (defer) (.1); attention to issue relating to pending litigation (4533
                               Calumet) (.1).

                               Business Operations

    1/22/2022 KBD         0.20 Draft correspondence to J. Wine regarding issue relating to state court action
                               (4533 Calumet) (.1); draft correspondence regarding property accounting
                               (638 Avers) (.1).

                               Business Operations

    1/24/2022 KBD         0.20 Exchange correspondence with J. Wine and M. Rachlis regarding stay of
                               state court action (4533 Calumet) (.1); confer with K. Pritchard regarding
                               property expenses and accounting (7109 Calumet) (.1).

                               Business Operations

    1/25/2022 KBD         0.20 Confer with M. Rachlis and J. Wine and review related correspondence from
                               J. Wine regarding state court action (4533 Calumet).

                               Business Operations

    1/28/2022 KBD         0.10 Study correspondence from E. Duff regarding efforts to obtain information
                               from property insurance carrier through insurance broker and recover
                               premium refunds (5001 Drexel; 1017 W 102nd; 1516 E 85th; 2136 W 83rd;
                               417 Oglesby; 7922 Luella; 7925 Kingston; 7933 Kingston; 8030 Marquette;
                               8104 Kingston; 8403 Aberdeen; 8405 Marquette; 8529 Rhodes; 8800 Ada;
                               9212 Parnell; 10012 LaSalle; 11318 Church; 3213 Throop; 3723 W 68th; 406
                               E 87th; 61 E 92nd; 6554 Rhodes; 6825 Indiana; 7210 Vernon; 7712 Euclid;
                               7953 Woodlawn; 8107 Kingston; 8346 Constance; 8432 Essex; 8517 Vernon;
                               2129 W 71st; 5437 Laflin; 6759 Indiana; 9610 Woodlawn; 7300 St Lawrence;
                               1401 W 109th; 310 E 50th; 6807 Indiana; 1401 W 109th; 310 E 50th; 6807
                               Indiana; 7327 Bennett; 6217 Dorchester; 7255 Euclid).

                               Business Operations
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    Kevin B. Duff, Receiver                                                                            Page 5



         Date         Indiv Hours Description


         1/31/2022 KBD        0.70 Attention to correspondence with J. Wine and K. Pritchard regarding state
                                   court litigation and insurance issues (7748 Essex; 1700 Juneway) (.3);
                                   confer with and study correspondence from J. Wine regarding
                                   communication with state court counsel regarding case status (7748 Essex)
                                   (.2); study correspondence from property manager regarding CHA
                                   inspection issue and required repairs and exchange correspondence with A.
                                   Porter regarding communication with purchaser of property (7109 Calumet)
                                   (.2).

                                   Business Operations


SUBTOTAL:                                                                                [ 5.30         2067.00]

Case Administration

         1/12/2022 KBD        0.10 Study correspondence from A. Watychowicz regarding schedule and
                                   deadlines.

                                   Case Administration

         1/13/2022 KBD        1.50 Attention to issues regarding EB records, database, and exchange related
                                   correspondence (.3); telephone conference with government representatives
                                   (.7); exchange correspondence and telephone conference regarding EB
                                   email issue related to documents database (.2); conference with A.
                                   Watychowicz regarding EB email issue related to documents database (.3).

                                   Case Administration

         1/14/2022 KBD        0.70 Confer with A. Watychowicz and J. Rak regarding EB records issues (.6);
                                   telephone conference with J. Wine regarding EB records issue and
                                   communications with database vendor about database and production
                                   issues (.1).

                                   Case Administration

         1/15/2022 KBD        1.50 Work on document upload for vendor review and related issues and
                                   various related communications with A. Watychowicz.

                                   Case Administration

         1/17/2022 KBD        0.10 Study correspondence from EB documents database vendor regarding
                                   evaluation of records.

                                   Case Administration

         1/18/2022 KBD        0.40 Exchange correspondence and telephone conferences with J. Wine and A.
                                   Watychowicz regarding EB documents issues (.2); exchange
                                   correspondence with government representatives (.2).

                                   Case Administration
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         Date       Indiv Hours Description

         1/19/2022 KBD        0.60 Exchange correspondence with J. Wine regarding claimants' counsel's
                                   request for records (.1); confer with government representatives (.5).

                                     Case Administration

         1/24/2022 KBD        0.20 Confer with J. Wine and M. Rachlis regarding claimant request for information.


                                     Case Administration

         1/31/2022 KBD        0.20 Confer with J. Wine and M. Rachlis regarding EB records database and
                                   related vendor issues.

                                     Case Administration


SUBTOTAL:                                                                                   [ 5.30          2067.00]


Claims Administration & Objections

         1/3/2022   KBD       1.00 Work on position statement template and accompanying correspondence to
                                   claimants and exchange related correspondence J. Wine and M. Rachlis
                                   (Group 1) (.4); study claimants' motion for clarification of order and exchange
                                   related correspondence with M. Rachlis and J. Wine (sole lien) (.5); exchange
                                   correspondence with A. Watychowicz regarding communication with claimant
                                   relating to claims process activities (all) (.1).

                                   Claims Administration & Objections

         1/4/2022   KBD       0.70 Study and revise communication to claimants about position statement and
                                   exchange various related correspondence (Group 1) (.5); exchange
                                   correspondence regarding claimant inquiry about available funds for
                                   distribution (all) (.1); exchange correspondence with J. Wine and M. Rachlis
                                   regarding communication relating to rebuttal expert (Group 1) (.1).

                                   Claims Administration & Objections

         1/5/2022   KBD       0.30 Exchange correspondence with J. Wine regarding claimant's response to
                                   discovery requests (sole lien) (.1); exchange correspondence with J. Wine
                                   and A. Watychowicz regarding claimant position statements, service
                                   issue, and communication with claimants (Group 1) (.1); exchange
                                   correspondence with J. Wine regarding communication regarding expert
                                   discovery (Group 1) (.1).

                                   Claims Administration & Objections
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    Date        Indiv Hours Description

    1/6/2022    KBD       0.50 Telephone conference with SEC (Group 1) (.1); study draft avoidance
                               disclosure and related correspondence (Group 1) (.3); confer with J. Wine and
                               M. Rachlis regarding avoidance disclosure (Group 1) (.1).

                               Claims Administration & Objections

    1/7/2022    KBD       3.10 Study and revise several drafts of avoidance disclosure and exchange
                               various related correspondence (Group 1).

                               Claims Administration & Objections

    1/10/2022 KBD         0.80 Telephone conference with SEC regarding claims-related issue (Group 1)
                               (.1); exchange correspondence with A. Watychowicz regarding
                               communication with claimants regarding disclosure statement (Group 1) (.1);
                               exchange correspondence with A. Watychowicz regarding communication
                               with claimant regarding claims and potential distribution issues (all) (.2);
                               study draft response to motion for clarification and exchange related
                               correspondence with J. Wine (sole lien) (.3); study discovery responses (1017
                               W 102nd Street; 1516 E 85th Place; 2136 W 83rd Street; 417 Oglesby
                               Avenue; 7922 S Luella Avenue; 8030 S Marquette Avenue; 8104 S Kingston
                               Avenue; 8403 S Aberdeen Street; 8529 S Rhodes Avenue; 11318 S Church
                               Street; 2129 W 71st Street; 7925 S Kingston Avenue; 9212 S Parnell
                               Avenue; 7210 S Vernon Avenue; 6825 S Indiana Avenue; 406 E 87th Place;
                               6554 S Rhodes Avenue; 7712 S Euclid Avenue; 8432 S Essex Avenue; 3213
                               S Throop Street; 8107 S Kingston Avenue; 8346 S Constance Avenue; 10012
                               S LaSalle Avenue; 9610 S Woodlawn Avenue; 6759 S Indiana Avenue; 8517
                               S Vernon Avenue) (.1).

                               Claims Administration & Objections

    1/11/2022 KBD         1.00 Study and revise draft response to claimants' motion for clarification and
                               exchange related correspondence with M. Rachlis and J. Wine (sole lien).

                               Claims Administration & Objections

    1/12/2022 KBD         0.70 Review correspondence from J. Wine and additional related correspondence
                               regarding claims against properties (1131 E 79th; 7024 Paxton) (.2); study
                               revised response to motion for clarification and exchange related
                               correspondence with M. Rachlis, J. Wine, and A. Watychowicz (sole lien) (.4);
                               exchange correspondence with J. Wine and A. Watychowicz regarding
                               communication with claimant regarding position statement (Group 1) (.1).

                               Claims Administration & Objections

    1/14/2022 KBD         0.10 Review claimant's motion to take discovery (Group 1).

                               Claims Administration & Objections

    1/16/2022 KBD         0.20 Draft correspondence to K. Pritchard regarding potential claims (all).


                               Claims Administration & Objections
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    Date        Indiv Hours Description

    1/18/2022 KBD         0.60 Telephone conference with J. Wine regarding EB records database issue
                               and potential additional discovery (Group 1) (.3); exchange correspondence
                               with K. Pritchard regarding confirmation of information relating to claims
                               against properties (3074 Cheltenham; 7625 East End; 7635 East End; 7750
                               Muskegon; 7201 Constance; 1017 W 102nd; 1516 E 85th; 2136 W 83rd; 417
                               Oglesby; 7922 Luella; 8030 Marquette; 8104 Kingston; 8403 Aberdeen; 8529
                               Rhodes; 11318 Church; 2129 W 71st; 6749 Merrill; 7110 Cornell; 7925
                               Kingston; 9212 Parnell; 7210 Vernon; 6825 Indiana; 406 E 87th; 6554
                               Rhodes; 7712 Euclid; 8432 Essex; 3213 Throop; 8107 Kingston; 8346
                               Constance; 10012 LaSalle; 9610 Woodlawn; 6759 Indiana; 8517 Vernon) (.2);
                               exchange correspondence with J. Wine, M. Rachlis, and A. Porter regarding
                               scheduling relating to claimant's discovery motion (Group 1) (.1).

                               Claims Administration & Objections

    1/19/2022 KBD         2.20 Confer with M. Rachlis, J. Wine, and A. Porter regarding discovery issues
                               (Group 1) (1.8); further exchange correspondence with J. Wine and
                               M. Rachlis regarding discovery issues and review transcripts (Group 1) (.4).

                               Claims Administration & Objections

    1/20/2022 KBD         1.90 Prepare for hearing before Judge Lee (Group 1) (.2); appear before Judge
                               Lee on claimant's motion for additional discovery (Group 1) (.3); exchange
                               correspondence with A. Watychowicz regarding communication with
                               claimant regarding claims process (all) (.1); telephone conference and
                               exchange correspondence with M. Rachlis regarding discovery issues
                               (Group 1) (.4); study correspondence from J. Wine regarding recorded
                               documents and operative instruments (Group 1) (.1); study and revise draft
                               order and exchange related correspondence (Group 1) (.3); exchange
                               correspondence regarding transcript (Group 1) (.1); exchange
                               correspondence with J. Wine and M. Rachlis regarding production of bank
                               records to claimant and related proposed order (Group 1) (.4).

                               Claims Administration & Objections

    1/21/2022 KBD         0.30 Exchange correspondence with J. Wine regarding claimant communication,
                               position statement, and deposition (Group 1) (.1); exchange correspondence
                               with A. Porter and J. Wine regarding production of bank statement (Group
                               1) (.1); study claimant's contention interrogatories (Group 1) (.1).

                               Claims Administration & Objections

    1/24/2022 KBD         0.90 Study and revise and exchange related correspondence with J. Wine and M.
                               Rachlis (Group 1) (.4); exchange correspondence with claimants regarding
                               claims process related communications (all) (.3); study J. Wine analysis of
                               claim submissions and subpoena responses (sole lien) (.2).

                               Claims Administration & Objections
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    Date        Indiv Hours Description

    1/25/2022 KBD         2.40 Confer with M. Rachlis and J. Wine regarding discovery issues and analysis
                               of claims (sole lien) (.9); confer with M. Rachlis and J. Wine regarding
                               position statement planning (Group 1) (.3); confer with M. Rachlis and J.
                               Wine regarding EB records database (all) (.2); exchange correspondence
                               with J. Wine regarding claims spreadsheet and related issues (sole lien) (.1);
                               exchange correspondence with A. Watychowicz and J. Wine regarding
                               communication with claimants regarding claims process and timing (all) (.2);
                               study analysis of lien data relating to most single claim properties (1017 W
                               102nd; 1516 E 85th; 2136 W 83rd; 417 Oglesby; 7922 Luella; 8030
                               Marquette; 8104 Kingston; 8403 Aberdeen; 8529 Rhodes; 11318 Church;
                               2129 W 71st; 7925 Kingston; 9212 Parnell; 7210 Vernon; 6825 Indiana; 406
                               E 87th; 6554 Rhodes; 7712 Euclid; 8432 Essex; 3213 Throop; 8107
                               Kingston; 8346 Constance; 10012 LaSalle; 9610 Woodlawn; 6759 Indiana;
                               8517 Vernon) (.2); study claimants' position statement (Group 1) (.5).

                               Claims Administration & Objections

    1/26/2022 KBD         0.80 Review claimant position statement and exchange related correspondence
                               regarding logistics of sharing position statements with claimants (Group 1)
                               (.3); study analysis of claims and exchange related correspondence (1017 W
                               102nd; 1516 E 85th; 2136 W 83rd; 417 Oglesby; 7922 Luella; 8030
                               Marquette; 8104 Kingston; 8403 Aberdeen; 8529 Rhodes; 11318 Church;
                               2129 W 71st; 7925 Kingston; 9212 Parnell; 7210 Vernon; 6825 Indiana; 406
                               E 87th; 6554 Rhodes; 7712 Euclid; 8432 Essex; 3213 Throop; 8107 Kingston;
                               8346 Constance; 10012 LaSalle; 9610 Woodlawn; 6759 Indiana; 8517
                               Vernon) (.2); study analysis of claims (7110 Cornell; 6751 Merrill) (.3).

                               Claims Administration & Objections

    1/27/2022 KBD         2.90 Confer with M. Rachlis and J. Wine regarding sole lien process discovery and
                               analysis of related issues (sole lien) (.9); exchange correspondence with A.
                               Watychowicz regarding communication with claimants regarding hearing
                               information (Group 1) (.1); study participants' position statements (Group 1)
                               (1.7); attention to various correspondence regarding hearing and schedule
                               (sole lien) (.2).

                               Claims Administration & Objections

                KBD       0.10 Exchange correspondence with A. Watychowicz regarding communication
                               with potential claimant regarding timely submission of claim (7500
                               Eggleston; 7549 Essex; 8100 Essex; 6160 MLK; 7927 Essex; 7933 Essex;
                               7937 Essex; 7943 Essex; 7947 Essex; 5001 Drexel; 7301 Stewart; 7834 Ellis;
                               5955 Sacramento; 6001 Sacramento; 7026 Cornell; 3030 E 79th; 2909 E
                               78th; 7748 Essex; 8047 Manistee; 701 S 5th; 7749 Yates; 6749 Merrill; 7450
                               Luella; 7546 Saginaw; 8201 Kingston; 4520 Drexel; 8326 Ellis; 8334 Ellis;
                               8342 Ellis; 8352 Ellis; 5450 Indiana; 6437 Kenwood; 7760 Coles; 8000
                               Justine; 8107 Ellis; 8214 Ingleside; 8209 Ellis; 11117 Longwood; 7300 St
                               Lawrence; 7110 Cornell; 7957 Marquette; 7051 Bennett; 2736 W 64th; 6356
                               California; 6355 Talman; 5618 MLK; 6554 Vernon; 1700 W Juneway; 7201
                               Dorchester; 7508 Essex; 431 E 42nd; 7701 Essex; 7442 Calumet; 816 E
                               Marquette; 6949 Merrill; 4533 Calumet; 4315 Michigan; 7600 Kingston; 7656
                               Kingston; 1131 E 79th; 6250 Mozart; 4750 Indiana; 7024 Paxton; 7840 Yates;
                               2800 E 81st; 4611 Drexel; 1414 E 62nd; 1017 W 102nd; 1516 E 85th; 2136
                               W 83rd; 417 Oglesby; 7922 Luella; 7925 Kingston; 7933 Kingston; 8030
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    Date        Indiv Hours Description

                               Marquette; 8104 Kingston; 8403 Aberdeen; 8405 Marquette; 8529 Rhodes;
                               8800 Ada; 9212 Parnell; 10012 LaSalle; 11318 Church; 3213 Throop; 3723
                               W 68th; 406 E 87th; 61 E 92nd; 6554 Rhodes; 6825 Indiana; 7210 Vernon;
                               7712 Euclid; 7953 Woodlawn; 8107 Kingston; 8346 Constance; 8432 Essex;
                               8517 Vernon; 2129 W 71st; 9610 Woodlawn; 5437 Laflin; 6759 Indiana; 1401
                               W 109th; 310 E 50th; 6807 Indiana; 1422 E 68th; 7255 Euclid; 7237 Bennett;
                               6217 Dorchester; 1102 Bingham; 638 N Avers; 7109 Calumet).

                               Claims Administration & Objections

    1/28/2022 KBD         0.10 Exchange correspondence regarding hearing and schedule (all) (.1);
                               exchange further correspondence with A. Watychowicz regarding
                               communication with potential claimant regarding timely submission of claim
                               (7500 Eggleston; 7549 Essex; 8100 Essex; 6160 MLK; 7927 Essex;
                               7933 Essex; 7937 Essex; 7943 Essex; 7947 Essex; 5001 Drexel; 7301
                               Stewart; 7834 Ellis; 5955 Sacramento; 6001 Sacramento; 7026 Cornell; 3030
                               E 79th; 2909 E 78th; 7748 Essex; 8047 Manistee; 701 S 5th; 7749 Yates;
                               6749 Merrill; 7450 Luella; 7546 Saginaw; 8201 Kingston; 4520 Drexel; 8326
                               Ellis; 8334 Ellis; 8342 Ellis; 8352 Ellis; 5450 Indiana; 6437 Kenwood; 7760
                               Coles; 8000 Justine; 8107 Ellis; 8214 Ingleside; 8209 Ellis; 11117 Longwood;
                               7300 St Lawrence; 7110 Cornell; 7957 Marquette; 7051 Bennett; 2736 W
                               64th; 6356 California; 6355 Talman; 5618 MLK; 6554 Vernon; 1700 W
                               Juneway; 7201 Dorchester; 7508 Essex; 431 E 42nd; 7701 Essex; 7442
                               Calumet; 816 E Marquette; 6949 Merrill; 4533 Calumet; 4315 Michigan; 7600
                               Kingston; 7656 Kingston; 1131 E 79th; 6250 Mozart; 4750 Indiana; 7024
                               Paxton; 7840 Yates; 2800 E 81st; 4611 Drexel; 1414 E 62nd; 1017 W 102nd;
                               1516 E 85th; 2136 W 83rd; 417 Oglesby; 7922 Luella; 7925 Kingston; 7933
                               Kingston; 8030 Marquette; 8104 Kingston; 8403 Aberdeen; 8405 Marquette;
                               8529 Rhodes; 8800 Ada; 9212 Parnell; 10012 LaSalle; 11318 Church; 3213
                               Throop; 3723 W 68th; 406 E 87th; 61 E 92nd; 6554 Rhodes; 6825 Indiana;
                               7210 Vernon; 7712 Euclid; 7953 Woodlawn; 8107 Kingston; 8346 Constance;
                               8432 Essex; 8517 Vernon; 2129 W 71st; 9610 Woodlawn; 5437 Laflin; 6759
                               Indiana; 1401 W 109th; 310 E 50th; 6807 Indiana; 1422 E 68th; 7255 Euclid;
                               7237 Bennett; 6217 Dorchester; 1102 Bingham; 638 N Avers; 7109 Calumet).

                               Claims Administration & Objections

                KBD       1.50 Review correspondence from J. Wine regarding subpoena issue and
                               related correspondence with claimant's counsel (1017 W 102nd; 1516 E
                               85th; 2136 W 83rd; 417 Oglesby; 7922 Luella; 8030 Marquette; 8104
                               Kingston; 8403 Aberdeen; 8529 Rhodes; 11318 Church; 2129 W 71st; 7925
                               Kingston; 9212 Parnell; 7210 Vernon; 6825 Indiana; 406 E 87th; 6554
                               Rhodes; 7712 Euclid; 8432 Essex; 3213 Throop; 8107 Kingston; 8346
                               Constance; 10012 LaSalle; 9610 Woodlawn; 6759 Indiana; 8517 Vernon) (.1);
                               study participants' position statements (Group 1) (.7); exchange
                               correspondence regarding hearing and schedule (all) (.1); exchange
                               correspondence with M. Rachlis and J. Wine regarding Receiver submission
                               on claims (Group 1) (.3); study correspondence from M. Rachlis and J. Wine
                               regarding discovery issues and claims analysis (sole lien) (.2); study
                               correspondence from K. Pritchard regarding potential claims by tax
                               authorities relating to properties (1017 W 102nd; 417 Oglesby; 7925 S
                               Kingston; 8403 S Aberdeen; 9212 S Parnell; 1516 E 85th Pl; 2136 W 83rd;
                               7922 S Luella; 7933 S Kingston; 8030 S Marquette; 8104 S Kingston; 8529 S
                               Rhodes) (.1).

                               Claims Administration & Objections
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    Kevin B. Duff, Receiver                                                                               Page 11



        Date        Indiv Hours Description


        1/31/2022 KBD         0.40 Exchange correspondence with A. Watychowicz regarding communication
                                   with claimant regarding valuation of properties (all) (.1); exchange
                                   correspondence regarding claimants' request for access to electronic records
                                   (all) (.2); exchange correspondence with A. Watychowicz regarding claimants'
                                   communications regarding database access inquiry (all) (.1).

                                   Claims Administration & Objections


SUBTOTAL:                                                                                  [ 22.50            8775.00]

Status Reports

         1/11/2022 KBD        0.10 Draft correspondence to J. Wine regarding state court litigation update.

                                   Status Reports

         1/21/2022 KBD        0.30 Study correspondence and draft status report from J. Wine.

                                   Status Reports

         1/25/2022 KBD        0.60 Study and revised draft status report.

                                   Status Reports

         1/30/2022 KBD        0.10 Exchange correspondence with A. Watychowicz and K. Pritchard regarding
                                   filing status report.

                                   Status Reports

         1/31/2022 KBD        0.40 Study draft status report and exchange related correspondence.

                                   Status Reports


SUBTOTAL:                                                                                  [ 1.50              585.00]

Tax Issues

         1/6/2022   KBD       0.10 Attention to notice from collection agency.

                                   Tax Issues

         1/20/2022 KBD        0.10 Exchange correspondence with K. Pritchard regarding correspondence from
                                   IRS.

                                   Tax Issues

         1/28/2022 KBD        0.20 Study correspondence from K. Pritchard and spreadsheet tracking receipt
                                   and status of tax authority and collection notices.

                                   Tax Issues
   Case: 1:18-cv-05587 Document #: 1251 Filed: 05/16/22 Page 47 of 162 PageID #:65642
    Kevin B. Duff, Receiver                                                             Page 12



         Date       Indiv Hours Description



SUBTOTAL:                                                                   [ 0.40        156.00]




                                                                            36.90      $14,391.00



                                              Summary of Activity
                                                                    Hours       Rate
Kevin B. Duff                                                       36.90     390.00   $14,391.00
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Kevin B. Duff, Receiver                                                      Page 13




                                   SUMMARY


              Legal Services                                  $14,391.00
              Other Charges                                        $0.00

                 TOTAL DUE                                    $14,391.00
Case: 1:18-cv-05587 Document #: 1251 Filed: 05/16/22 Page 49 of 162 PageID #:65644
                                Rachlis Duff & Peel, LLC
                                      542 South Dearborn Street
                                                                                         tel (312) 733-3950
                                              Suite 900                                  fax (312) 733-3952
                                       Chicago, Illinois 60605




May 3, 2022

Kevin B. Duff, Receiver
c/o Rachlis Duff & Peel, LLC
542 S. Dearborn Street, Suite 900
Chicago, IL 60605




Re: SEC v. EquityBuild Inc., EquityBuild Finance, LLC, Jerome H.                      Fed. I.D. No. XX-XXXXXXX
    Cohen, and Shaun D. Cohen                                                         Invoice No. 6621143
    No. 18-cv-5587, US Dist. Ct., Northern Dist. of Illinois, Eastern Div.



Legal Fees for February 2022                                             $22,191.00

Expenses Disbursed                                                            $0.00


Due this Invoice                                                         $22,191.00
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    Kevin B. Duff, Receiver                                                                              Page     2




         Date       Indiv Hours Description

Asset Analysis & Recovery

         2/3/2022   KBD       0.10 Attention to communication with claimant regarding potential
                                   information that may assist recovery efforts.

                                   Asset Analysis & Recovery

         2/10/2022 KBD        0.40 Telephone conference with government representative (.2); draft
                                   correspondence to and telephone conference with A. Watychowicz
                                   regarding records for potential recovery (.2).

                                   Asset Analysis & Recovery

         2/11/2022 KBD        0.20 Study trial subpoena for documents and exchange related
                                   correspondence with A. Watychowicz.

                                   Asset Analysis & Recovery

         2/15/2022 KBD        0.20 Exchange correspondence with government representative.

                                   Asset Analysis & Recovery

         2/18/2022 KBD        0.10 Attention to response to subpoena and exchange related
                                   correspondence.

                                   Asset Analysis & Recovery

         2/21/2022 KBD        1.60 Study records for production in response to subpoena and various related
                                   communications with A. Watychowicz.

                                   Asset Analysis & Recovery

         2/22/2022 KBD        0.60 Work on response to subpoena and exchange various related
                                   correspondence.

                                   Asset Analysis & Recovery


SUBTOTAL:                                                                                 [ 3.20          1248.00]

Asset Disposition

         2/1/2022   KBD       0.30 Exchange correspondence with A. Porter regarding communication from
                                   property manager relating to CHA inspection and property repair issue and
                                   exchange related correspondence with property manager (7109 Calumet).

                                   Asset Disposition

         2/2/2022   KBD       0.10 Draft correspondence to J. Wine regarding information relating to resolution
                                   of letter of credit issue to aid communication with lender's counsel (7109
                                   Calumet).
   Case: 1:18-cv-05587 Document #: 1251 Filed: 05/16/22 Page 51 of 162 PageID #:65646
    Kevin B. Duff, Receiver                                                                              Page      3



        Date          Indiv Hours Description


                                   Asset Disposition

        2/3/2022      KBD     0.10 Exchange correspondence with A. Porter and property manager regarding
                                   property improvement issue and communication with purchaser (7109
                                   Calumet).

                                   Asset Disposition

        2/6/2022      KBD     0.10 Work on amendment to purchase and sale agreement and exchange related
                                   correspondence with A. Porter (7109 Calumet).

                                   Asset Disposition

        2/7/2022      KBD     0.10 Attention to new communication from lender's counsel regarding letter of
                                   credit issue and exchange related correspondence with M. Rachlis (7109
                                   Calumet).

                                   Asset Disposition

        2/9/2022      KBD     0.10 Review and exchange correspondence with lender's counsel and real estate
                                   broker regarding sale of property and payment of taxes (7109 Calumet).


                                   Asset Disposition

        2/11/2022 KBD         0.20 Attention to further communication from lender's counsel regarding letter of
                                   credit issue and exchange correspondence with M. Rachlis regarding
                                   background and resolution of same (7109 Calumet) (.1); exchange
                                   correspondence with M. Rachlis regarding lender communication relating to
                                   letter of credit issue (7109 Calumet) (.1).

                                   Asset Disposition

        2/15/2022 KBD         0.20 Confer with M. Rachlis and A. Porter regarding claimant's request for
                                   termination of purported letter of credit and exchange related correspondence
                                   (7109 Calumet).

                                   Asset Disposition

        2/28/2022 KBD         0.90 Work on closing for sale of property, including review of closing documents
                                   and communications with A. Porter, J. Rak, and title company representative
                                   (7109 Calumet).

                                   Asset Disposition


SUBTOTAL:                                                                                 [ 2.10           819.00]

Business Operations

        2/2/2022      KBD     0.50 Exchange correspondence with J. Wine regarding state court action and
                                   insurance issue (1700 Juneway) (.1); exchange correspondence with J. Rak
                                   and A. Porter regarding potential property improvement to retain CHA tenant
                                   and communication with property manager regarding same (7109 Calumet)
                                   (.4).

                                   Business Operations
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    Kevin B. Duff, Receiver                                                                               Page     4



         Date       Indiv Hours Description


         2/4/2022   KBD       0.10 Review correspondence regarding stay of state court action (4533 Calumet).

                                     Business Operations

         2/9/2022   KBD       0.10 Attention to stipulation resolving motion to intervene (defer).

                                     Business Operations

         2/25/2022 KBD        0.20 Study various correspondence from insurance broker representative
                                   regarding insurance premium endorsements for purposes of determining
                                   premium refunds (8326 Ellis; 5450 Indiana; 6437 Kenwood; 7760 Coles; 8000
                                   Justine; 8107 Ellis; 8214 Ingleside; 8209 Ellis; 11117 Longwood; 7957
                                   Marquette; 3074 Cheltenham; 6558 Vernon).

                                     Business Operations


SUBTOTAL:                                                                                     [ 0.90        351.00]

Claims Administration & Objections

         2/1/2022   KBD       1.10 Telephone conferences and exchange correspondence with J. Wine
                                   regarding issues with vendor production of records to claimant's counsel and
                                   claimants' database access issues (all) (.8); follow up regarding electronic
                                   records issue (all) (.2); attention to communication from claimant regarding
                                   update on claim (all) (.1).

                                   Claims Administration & Objections

         2/2/2022   KBD       0.40 Exchange correspondence with A. Watychowicz and J. Wine regarding
                                   communication with claimant regarding position statements (Group 1) (.2);
                                   exchange correspondence regarding response to claimant regarding
                                   custodian issue relating to claim (all) (.1); exchange correspondence with J.
                                   Wine regarding proposed joint status report on discovery (Group 1) (.1).

                                   Claims Administration & Objections

         2/3/2022   KBD       0.60 Attention to claimant inquiry relating to change of custodian (all) (.1);
                                   attention to claimant communication regarding claims process and timing for
                                   submission of claim (all) (.1); study and revise notice of filing of position
                                   statements (Group 1) (.2); exchange correspondence regarding
                                   communication with claimants regarding position statements (Group 1) (.1);
                                   exchange correspondence with J. Wine regarding efforts to resolve issue
                                   regarding EB documents (all) (.1).

                                   Claims Administration & Objections
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Kevin B. Duff, Receiver                                                                            Page     5



    Date        Indiv Hours Description

    2/4/2022    KBD       0.10 Exchange correspondence with A. Watychowicz and J. Wine regarding
                               response to claimant relating to position statement (Group 1).

                               Claims Administration & Objections

    2/7/2022    KBD       1.40 Exchange correspondence with M. Rachlis and J. Wine regarding preparation
                               for hearing before Judge Lee (3074 Cheltenham; 7625 East End; 7635 East
                               End; 7750 Muskegon; 7201 Constance; 1017 W 102nd; 1516 E 85th; 2136 W
                               83rd; 417 Oglesby; 7922 Luella; 8030 Marquette; 8104 Kingston; 8403
                               Aberdeen; 8529 Rhodes; 11318 Church; 2129 W 71st; 6749 Merrill; 7110
                               Cornell; 7925 Kingston; 9212 Parnell; 7210 Vernon; 6825 Indiana; 406 E
                               87th; 6554 Rhodes; 7712 Euclid; 8432 Essex; 3213 Throop; 8107 Kingston;
                               8346 Constance; 10012 LaSalle; 9610 Woodlawn; 6759 Indiana; 8517
                               Vernon) (.2); confer with M. Rachlis and J. Wine regarding Group 1 position
                               statement and related analysis and issues (Group 1) (.8); confer with and
                               study related correspondence from M. Rachlis and J. Wine regarding sole lien
                               discovery issues (sole lien) (.3); work with A. Watychowicz on
                               communications with claimant regarding claim and position statement
                               opportunity (Group 1) (.1).

                               Claims Administration & Objections

    2/8/2022    KBD       1.50 Prepare for hearing before Judge Lee regarding claims discovery and
                               exchange correspondence with M. Rachlis and J. Wine regarding third party
                               discovery status (sole lien) (.4); appear before Judge Lee regarding claims
                               process and discovery (3074 Cheltenham; 7625 East End; 7635 East End;
                               7750 Muskegon; 7201 Constance; 1017 W 102nd; 1516 E 85th; 2136 W
                               83rd; 417 Oglesby; 7922 Luella; 8030 Marquette; 8104 Kingston; 8403
                               Aberdeen; 8529 Rhodes; 11318 Church; 2129 W 71st; 6749 Merrill; 7110
                               Cornell; 7925 Kingston; 9212 Parnell; 7210 Vernon; 6825 Indiana; 406 E
                               87th; 6554 Rhodes; 7712 Euclid; 8432 Essex; 3213 Throop; 8107 Kingston;
                               8346 Constance; 10012 LaSalle; 9610 Woodlawn; 6759 Indiana; 8517
                               Vernon) (.4); work on communication with claimant regarding potential change
                               of custodian and standard response to similar inquiries (all) (.3); exchange
                               correspondence with J. Wine regarding claimant claim and failure to provide
                               supporting records (Group 1) (.1); review correspondence from J. Wine
                               regarding notes relating to claims submission (Group 1) (.3).

                               Claims Administration & Objections

    2/9/2022    KBD       0.70 Study draft discovery responses and related correspondence (Group 1) (.6);
                               further attention to communication with claimant regarding change of
                               custodian (all) (.1).

                               Claims Administration & Objections

    2/10/2022 KBD         3.70 Study and revise discovery responses and exchange various related
                               correspondence (Group 1) (2.5); study correspondence from M. Rachlis and J.
                               Wine regarding receiver submission (Group 1) (.2); study Group 1 investor
                               charts and related correspondence from J. Wine and M. Rachlis (Group 1)
                               (1.0).

                               Claims Administration & Objections
Case: 1:18-cv-05587 Document #: 1251 Filed: 05/16/22 Page 54 of 162 PageID #:65649
Kevin B. Duff, Receiver                                                                                 Page      6



    Date        Indiv Hours Description

    2/11/2022 KBD         5.50 Study claims analysis spreadsheet (Group 1) (.5); confer with M. Rachlis, J.
                               Wine, and A. Porter regarding analysis of Group 1 claims and various
                               related issues and development of related spreadsheet for submission
                               (Group 1) (1.7); confer with M. Rachlis, J. Wine, and A. Porter regarding
                               analysis of claims and distribution issues (all) (.3); attention to filing of
                               claimant position statement received after original filing (Group 1) (.1); study
                               records for production (Group 1) (.5); study correspondence and records
                               from J. Wine regarding rollover issue (Group 1) (.2); study revisions to and
                               revise responses to interrogatories and exchange various related
                               correspondence M. Rachlis and J. Wine (Group 1) (2.2).

                               Claims Administration & Objections

    2/15/2022 KBD         0.40 Exchange correspondence with M. Rachlis and J. Wine regarding deposition
                               request and prior court rulings (Group 1).

                               Claims Administration & Objections

    2/17/2022 KBD         1.10 Study and revise Group 1 position statement analysis and study related
                               correspondence from M. Rachlis (Group 1).

                               Claims Administration & Objections

    2/20/2022 KBD         0.10 Exchange correspondence with J. Wine regarding review of claims and
                               position statements analysis (Group 1).

                               Claims Administration & Objections

    2/21/2022 KBD         4.70 Study and revise analysis of claims (Group 1) (1.8); confer with M. Rachlis
                               and J. Wine regarding analysis of claims (Group 1) (1.0); confer with M.
                               Rachlis and J. Wine regarding claimant's request for deposition (Group 1)
                               (.2); further confer with M. Rachlis and J. Wine regarding claimant's position
                               on need for deposition (Group 1) (.2); telephone conference with M. Rachlis
                               regarding summary proceeding and evidentiary considerations relating to
                               claimant (Group 1) (.4); legal research regarding claims potential recovery
                               issues and draft related correspondence (all) (.8); study deposition testimony
                               regarding claimant and claim (Group 1) (.2); study motion to compel
                               deposition (Group 1) (.1).

                               Claims Administration & Objections

    2/22/2022 KBD         3.50 Study, revise, and comment on claims and position statement analysis
                               (Group 1) (1.3); confer with M. Rachlis and J. Wine regarding analysis of
                               claims (Group 1) (2.0); exchange correspondence with M. Rachlis regarding
                               response to motion to compel (Group 1) (.2).

                               Claims Administration & Objections

    2/23/2022 KBD         4.40 Legal research regarding potential claims issue (all) (.5); confer with M.
                               Rachlis, J. Wine, and A. Porter regarding various claims analysis issues and
                               submission to the Court (Group 1) (.6); study, revise, and comment on
                               changes to analysis of claims and various related issues and exchange
                               related correspondence (Group 1) (1.5); study and revise submission on
                               claims (Group 1) (1.8).

                               Claims Administration & Objections
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    Kevin B. Duff, Receiver                                                                              Page     7



         Date       Indiv Hours Description

         2/24/2022 KBD        9.90 Study and revise multiple drafts of submission on claims analysis and
                                   exchange various related correspondence with M. Rachlis, J. Wine, and A.
                                   Watychowicz (Group 1) (5.1); revise draft response to motion to compel
                                   deposition and exchange related correspondence with M. Rachlis and K.
                                   Pritchard (Group 1) (4.5); confer with M. Rachlis and J. Wine regarding
                                   claims analysis, submission preparation, and review of claimants' discovery
                                   responses (Group 1) (.3).

                                   Claims Administration & Objections

         2/25/2022 KBD        8.40 Work on claims submission narrative and study revisions and study exhibits
                                   (Group 1) (3.5); study and revise draft response to motion to compel and
                                   exchange various related correspondence with M. Rachlis and K. Pritchard
                                   (Group 1) (4.8); exchange correspondence with J. Wine regarding disposition
                                   of EB documents and database and communication with claimants' counsel
                                   (all) (.1).

                                   Claims Administration & Objections

         2/27/2022 KBD        1.50 Study and revised narrative for submission on claims analysis, study
                                   accompanying exhibits, and exchange related correspondence with M.
                                   Rachlis and J. Wine (Group 1) (1.4); exchange correspondence with A. Porter
                                   regarding claimant lien issue (Group 1) (.1).

                                   Claims Administration & Objections

         2/28/2022 KBD        1.70 Review various drafts of claims submission and exhibits and exchange
                                   various related correspondence with J. Wine, M. Rachlis, and A.
                                   Watychowicz (Group 1) (1.1); telephone conference with J. Wine regarding
                                   EB records database and related correspondence with claimants' counsel
                                   (all) (.2); exchange correspondence with A. Watychowicz regarding
                                   claimants and liens (Group 1) (.1); study correspondence regarding
                                   production of records from third party (sole lien) (.2); study order denying
                                   motion to compel (Group 1) (.1).

                                   Claims Administration & Objections


SUBTOTAL:                                                                                   [ 50.70      19773.00]




                                                                                             56.90      $22,191.00



                                                Summary of Activity
                                                                                    Hours       Rate
Kevin B. Duff                                                                       56.90     390.00    $22,191.00
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Kevin B. Duff, Receiver                                                      Page    8




                                   SUMMARY


              Legal Services                                  $22,191.00
              Other Charges                                        $0.00

                 TOTAL DUE                                    $22,191.00
Case: 1:18-cv-05587 Document #: 1251 Filed: 05/16/22 Page 57 of 162 PageID #:65652
                                Rachlis Duff & Peel, LLC
                                      542 South Dearborn Street
                                                                                            tel (312) 733-3950
                                              Suite 900                                     fax (312) 733-3952
                                       Chicago, Illinois 60605




May 6, 2022

Kevin B. Duff, Receiver
c/o Rachlis Duff & Peel, LLC
542 S. Dearborn Street, Suite 900
Chicago, IL 60605




Re: SEC v. EquityBuild Inc., EquityBuild Finance, LLC, Jerome H.                         Fed. I.D. No. XX-XXXXXXX
    Cohen, and Shaun D. Cohen                                                            Invoice No. 6621144
    No. 18-cv-5587, US Dist. Ct., Northern Dist. of Illinois, Eastern Div.


Legal Fees for March 2022                                                    $8,970.00

Expenses Disbursed                                                              $0.00


Due this Invoice                                                             $8,970.00
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    Kevin B. Duff, Receiver                                                                                   Page       2




         Date         Indiv Hours Description

Asset Analysis & Recovery

         3/8/2022     KBD     0.10 Exchange correspondence with A. Watychowicz regarding EquityBuild
                                   domains.

                                   Asset Analysis & Recovery

         3/10/2022 KBD        0.10 Telephone conference with SEC.


                                   Asset Analysis & Recovery

         3/11/2022 KBD        0.10 Telephone conference with SEC.


                                   Asset Analysis & Recovery


SUBTOTAL:                                                                                     [ 0.30            117.00]

Asset Disposition

         3/7/2022     KBD     0.30 Attention to deposit of funds from title company into separate property
                                   account (7109 Calumet).

                                   Asset Disposition


SUBTOTAL:                                                                                     [ 0.30            117.00]

Business Operations

         3/3/2022     KBD     0.10 Study correspondence from insurance carrier regarding coverage
                                   determination and exchange related correspondence with J. Wine (4533
                                   Calumet).

                                   Business Operations

         3/4/2022     KBD     0.20 Exchange correspondence with insurance broker and E. Duff regarding
                                   termination of property, umbrella, and general liability policies following sale of
                                   property (7109 Calumet).

                                   Business Operations

         3/7/2022     KBD     0.20 Exchange further correspondence with E. Duff regarding termination of
                                   property, umbrella, and general liability policies following sale of property
                                   (7109 Calumet) (.1); exchange correspondence with J. Wine regarding state
                                   court trial planning (7748 Essex) (.1).

                                   Business Operations

         3/8/2022     KBD     0.10 Confer with M. Rachlis and J. Wine regarding potential participation at trial of
                                   personal injury action (7748 Essex).
   Case: 1:18-cv-05587 Document #: 1251 Filed: 05/16/22 Page 59 of 162 PageID #:65654
    Kevin B. Duff, Receiver                                                                                 Page    3



         Date         Indiv Hours Description


                                   Business Operations

         3/16/2022 KBD        0.10 Attention to communications with insurance broker regarding recovery of
                                   insurance premium refunds (all).

                                   Business Operations

         3/17/2022 KBD        1.40 Exchange correspondence with J. Wine regarding notice to collection firm
                                   regarding claim related to property (5001 Drexel) (.1); telephone conferences
                                   with J. Wine regarding state court motion (7748 Essex) (.2); telephone
                                   conference with J. Wine and state court counsel regarding motion, response,
                                   and communication with plaintiff's counsel (7748 Essex) (.4); study and revise
                                   letter to plaintiff's counsel regarding motion for rule to show cause and
                                   exchange related correspondence with J. Wine and M. Rachlis (7748 Essex)
                                   (.5); exchange correspondence with A. Porter, M. Rachlis, and J. Wine
                                   regarding state court action involving former property (defer) (.2).

                                   Business Operations

         3/18/2022 KBD        0.50 Exchange correspondence with J. Wine regarding plaintiff's motion for rule to
                                   show cause, hearing on same, and exchange related correspondence with J.
                                   Wine (7748 Essex).

                                   Business Operations

         3/21/2022 KBD        0.20 Telephone conference with K. Pritchard regarding expense accounting,
                                   reimbursement, and allocation (defer) (.1); exchange correspondence with
                                   state court counsel regarding trial representative (7748 Essex) (.1).

                                   Business Operations

         3/25/2022 KBD        0.20 Exchange correspondence with state court counsel regarding assignment of
                                   trial judge and settlement of case (4533 Calumet).

                                   Business Operations

         3/31/2022 KBD        0.10 Attention to state court action involving former property (defer).

                                   Business Operations


SUBTOTAL:                                                                                     [ 3.10        1209.00]

Case Administration

         3/3/2022     KBD     0.30 Study list of pleadings for receivership website and related telephone
                                   conference with A. Watychowicz.

                                   Case Administration
   Case: 1:18-cv-05587 Document #: 1251 Filed: 05/16/22 Page 60 of 162 PageID #:65655
    Kevin B. Duff, Receiver                                                                               Page    4



         Date       Indiv Hours Description

         3/9/2022   KBD       0.20 Exchange correspondence with J. Wine regarding vendor invoice.

                                   Case Administration

         3/24/2022 KBD        0.20 Attention to deposits and exchange related correspondence with K. Pritchard.

                                   Case Administration


SUBTOTAL:                                                                                  [ 0.70           273.00]

Claims Administration & Objections

         3/1/2022   KBD       0.40 Attention to and revision of communication with claimants regarding position
                                   statement opportunity (Group 1) (.3); review correspondence from claimant
                                   regarding claims and timing (all) (.1).

                                     Claims Administration & Objections

         3/3/2022   KBD       0.50 Attention to correspondence with and voice message from claimant regarding
                                   claims process (all) (.1); attention to service of and compliance with subpoena
                                   and exchange related correspondence with J. Wine (1017 W 102nd; 1516 E
                                   85th; 2136 W 83rd; 417 Oglesby; 7922 Luella; 8030 Marquette; 8104
                                   Kingston; 8403 Aberdeen; 8529 Rhodes; 11318 Church; 2129 W 71st; 7925
                                   Kingston; 9212 Parnell; 7210 Vernon; 6825 Indiana; 406 E 87th; 6554
                                   Rhodes; 7712 Euclid; 8432 Essex; 3213 Throop; 8107 Kingston; 8346
                                   Constance; 10012 LaSalle; 9610 Woodlawn; 6759 Indiana; 8517 Vernon)
                                   (.1); exchange correspondence with J. Wine and M. Rachlis regarding
                                   analysis of claim (Group 1) (.2); study claimants' opposition to motion to
                                   compel (Group 1) (.1).


                                     Claims Administration & Objections

         3/7/2022   KBD       0.50 Work on communication to claimants regarding responsive statements and
                                   schedule (Group 1) (.3); exchange correspondence with J. Wine regarding
                                   prior hearing before Judge Lee and status of discovery (sole lien) (.1);
                                   attention to communication with claimant regarding Group 1 timing and
                                   potential disbursement (Group 1) (.1).

                                     Claims Administration & Objections

         3/8/2022   KBD       0.10 Exchange correspondence with A. Watychowicz regarding correspondence
                                   from putative claimant and absence of record of claim (all).

                                     Claims Administration & Objections

         3/9/2022   KBD       0.30 Exchange correspondence with A. Watychowicz and J. Wine regarding
                                   communication with claimant regarding submitted and unsubmitted claims
                                   (all).

                                     Claims Administration & Objections

         3/10/2022 KBD        0.40 Telephone conference with SEC (Group 1) (.2); exchange correspondence
                                   with A. Watychowicz regarding communication with claimant regarding claim
                                   submission issues (all) (.2).

                                     Claims Administration & Objections
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Kevin B. Duff, Receiver                                                                               Page     5



    Date        Indiv Hours Description


    3/11/2022 KBD         0.60 Confer with M. Rachlis and J. Wine regarding EB records database and
                               claimants' request for database records (all) (.3); telephone conference with
                               SEC (all) (.1); exchange correspondence with A. Porter, M. Rachlis, and J.
                               Wine regarding additional information relating to submission (Group 1) (.2).

                               Claims Administration & Objections

    3/14/2022 KBD         2.50 Study claimants' and SEC responsive statements and exchange related
                               correspondence with J. Wine (Group 1).

                               Claims Administration & Objections

    3/15/2022 KBD         0.30 Study correspondence from M. Rachlis and J. Wine regarding claimant
                               response brief (Group 1).

                               Claims Administration & Objections

    3/21/2022 KBD         2.30 Attention to potential claims setoff issue and exchange related
                               correspondence with J. Wine and A. Watychowicz (1700 Juneway; 4533
                               Calumet; 5001 Drexel; 5450 Indiana; 7749 Yates; 6437 Kenwood; 7109
                               Calumet; 1414 E 62nd; 8100 Essex; 7301 Stewart; 7500 Eggleston; 3030 E
                               79th; 2909 E 78th; 7549 Essex; 8047 Manistee; 7933 Kingston; 8405
                               Marquette; 8800 Ada; 3723 W 68th; 61 E 92nd; 7953 Woodlawn; 5437 Laflin;
                               7300 St Lawrence; 7760 Coles; 1401 W 109th; 310 E 50th; 6807 Indiana;
                               8000 Justine; 8107 Ellis; 8209 Ellis; 8214 Ingleside; 5955 Sacramento; 6001
                               Sacramento; 7026 Cornell; 7237 Bennett; 7834 Ellis; 4520 Drexel; 4611
                               Drexel; 1131 E 79th; 6217 Dorchester; 6250 Mozart; 638 Avers; 701 S 5th;
                               7024 Paxton; 7255 Euclid; 3074 Cheltenham; 7625 East End; 7635 East End;
                               7750 Muskegon; 7201 Constance; 6160 MLK; 2736 W 64th; 4315 Michigan;
                               6355 Talman; 6356 California; 7051 Bennett; 7201 Dorchester; 7442 Calumet;
                               7508 Essex; 7546 Saginaw; 7600 Kingston; 7656 Kingston; 7701 Essex; 7748
                               Essex; 7957 Marquette; 816 Marquette; 8201 Kingston; 8326 Ellis; 11117
                               Longwood; 6949 Merrill; 7927 Essex; 1422 E 68th; 2800 E 81st; 4750 Indiana;
                               5618 MLK; 6554 Vernon; 7450 Luella; 7840 Yates; 431 E 42nd; 1102
                               Bingham) (.3); study and revise draft reply to claimant submission on
                               avoidance and study various related filings and correspondence (Group 1)
                               (2.0).


                               Claims Administration & Objections

    3/22/2022 KBD         0.80 Study draft claims status report and exchange related correspondence with
                               M. Rachlis and J. Wine (Group 1) (.4); study revised draft reply to claimant
                               submission on avoidance (Group 1) (.4).

                               Claims Administration & Objections

    3/23/2022 KBD         0.90 Telephone conference with SEC regarding draft joint status report (Group 1)
                               (.2); exchange correspondence with M. Rachlis and J. Wine regarding joint
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    Kevin B. Duff, Receiver                                                                               Page     6



         Date       Indiv Hours Description

                                   joint status report and communications with claimants (Group 1) (.2);
                                   telephone conference with M. Rachlis regarding draft joint status report,
                                   claimant's request for extension, and various issues relating to potential
                                   evidentiary hearing (Group 1) (.4); exchange correspondence with A.
                                   Watychowicz regarding claimant communication and claim information (all)
                                   (.1).

                                   Claims Administration & Objections

         3/24/2022 KBD        1.90 Study and revise avoidance claim reply brief (Group 1) (1.8); review
                                   correspondence regarding joint status report (Group 1) (.1).

                                   Claims Administration & Objections

         3/25/2022 KBD        0.90 Telephone conference with SEC regarding draft joint status report (all)
                                   (.2); exchange correspondence with M. Rachlis and J. Wine regarding
                                   draft joint status report and revise same (all) (.3); study revised
                                   avoidance claim reply brief (Group 1) (.4).

                                   Claims Administration & Objections

         3/27/2022 KBD        1.50 Study and revise avoidance reply brief (Group 1).

                                   Claims Administration & Objections

         3/28/2022 KBD        2.80 Study and revise multiple drafts of reply on avoidance issues and exchange
                                   various related correspondence with M. Rachlis, J. Wine, and A.
                                   Watychowicz (Group 1).

                                   Claims Administration & Objections

         3/29/2022 KBD        1.90 Study various revisions to and correspondence relating to joint status report
                                   and potential evidentiary hearing (Group 1).

                                   Claims Administration & Objections


SUBTOTAL:                                                                                   [ 18.60          7254.00]




                                                                                             23.00        $8,970.00



                                                Summary of Activity
                                                                                    Hours       Rate
Kevin B. Duff                                                                       23.00     390.00      $8,970.00
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Kevin B. Duff, Receiver                                                      Page    7




                                   SUMMARY


              Legal Services                                   $8,970.00
              Other Charges                                        $0.00

                 TOTAL DUE                                     $8,970.00
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                Exhibit G
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                                Rachlis Duff & Peel, LLC
                                      542 South Dearborn Street
                                                                                          tel (312) 733-3950
                                              Suite 900                                   fax (312) 733-3952
                                       Chicago, Illinois 60605




May 3, 2022

Kevin B. Duff, Receiver
c/o Rachlis Duff & Peel, LLC
542 S. Dearborn Street, Suite 900
Chicago, IL 60605




Re: SEC v. EquityBuild Inc., EquityBuild Finance, LLC, Jerome H.                       Fed. I.D. No. XX-XXXXXXX
    Cohen, and Shaun D. Cohen                                                          Invoice No. 6622142
    No. 18-cv-5587, US Dist. Ct., Northern Dist. of Illinois, Eastern Div.



Legal Fees for January 2022                                              $61,786.00

Expenses Disbursed                                                           $852.49


Due this Invoice                                                         $62,638.49
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    Kevin B. Duff, Receiver                                                                             Page 2




        Date        Indiv Hours Description

Asset Analysis & Recovery

        1/6/2022    KMP       0.20 Communicate with K. Duff and J. Wine regarding third-party request for
                                   certificate of compliance in connection with subpoena.


                                   Asset Analysis & Recovery

        1/7/2022    JRW       0.10 Exchange correspondence regarding request from subpoenaed party
                                   regarding compliance with Right to Financial Privacy Act.

                                   Asset Analysis & Recovery

        1/10/2022 JRW         0.10 Telephone conference with third party regarding response to subpoena.


                                   Asset Analysis & Recovery

        1/11/2022 JRW         0.10 Exchange correspondence with K. Pritchard regarding response to subpoena.


                                   Asset Analysis & Recovery

                    KMP       0.20 Communicate with J. Wine regarding correspondence received from third
                                   party requesting certificate of compliance.

                                   Asset Analysis & Recovery

        1/13/2022 AW          0.50 Correspond with IT vendor and follow up communications with K. Duff and J.
                                   Wine regarding EB email account.

                                   Asset Analysis & Recovery

                    JRW       0.10 Confer with K. Pritchard regarding response to subpoena and review
                                   document production.

                                   Asset Analysis & Recovery

                    KMP       0.40 Upload third-party document production to network file and briefly review
                                   production (.3); communicate with J. Wine regarding contents of third-party
                                   document production (.1).

                                   Asset Analysis & Recovery

        1/18/2022 AEP         0.10 Review subpoenas prepared for service upon accounting firms seeking tax
                                   information pertaining to the receivership defendants.

                                   Asset Analysis & Recovery

                    JRW       1.10 Attention to revising and finalizing subpoenas and related communications
                                   with A. Porter and K. Pritchard.

                                   Asset Analysis & Recovery
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Kevin B. Duff, Receiver                                                                                Page 3



    Date        Indiv Hours Description

    1/18/2022 KMP         0.20 Communicate with J. Wine regarding issuance of subpoena to third party.


                               Asset Analysis & Recovery

    1/19/2022 AW          0.50 Conference call with government representatives.


                               Asset Analysis & Recovery

                JRW       0.50 Telephone conference with government.


                               Asset Analysis & Recovery

                KMP       1.80 Revise, finalize, and prepare transmittals of subpoenas, riders, and notice
                               letters to third parties and related communications with J. Wine.


                               Asset Analysis & Recovery

    1/20/2022 AW          0.40 Attention to email from domain host, research regarding prior communications
                               and related email to K. Duff.

                               Asset Analysis & Recovery

                JRW       0.20 Confer with K. Pritchard regarding tracking of responses to subpoenas and
                               related review of records.

                               Asset Analysis & Recovery

                KMP       1.90 Prepare and serve notice of third-party subpoenas and related
                               communications with J. Wine (.4); work on preparation of spreadsheet
                               detailing information relating to and tracking status of third-party subpoenas
                               issued to date, and related communications with J. Wine and A.
                               Watychowicz (1.5).

                               Asset Analysis & Recovery

    1/21/2022 AW          0.50 Update chain of custody document and related email exchange with K. Duff
                               and J. Wine (.1); prepare materials for production (.2); continue research
                               regarding domain host and related email to K. Duff (.2).


                               Asset Analysis & Recovery

                KMP       0.80 Revise and update spreadsheet detailing information relating to and tracking
                               status of third-party subpoenas issued to date, and related communications
                               with J. Wine.

                               Asset Analysis & Recovery

    1/24/2022 JRW         0.10 Update spreadsheet and confer with K. Pritchard regarding tracking of
                               subpoena responses.

                               Asset Analysis & Recovery
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    Kevin B. Duff, Receiver                                                                                Page 4



         Date       Indiv Hours Description


         1/25/2022 AW         0.10 Communicate with K. Duff regarding transfer of files.


                                   Asset Analysis & Recovery

                    KMP       0.60 Revise spreadsheet tracking responses to third-party discovery and related
                                   communications with J. Wine.

                                   Asset Analysis & Recovery

         1/28/2022 JRW        0.10 Telephone conference with third party regarding subpoena.


                                   Asset Analysis & Recovery


SUBTOTAL:                                                                                   [ 10.60         1797.00]

Asset Disposition

         1/3/2022   AW        0.40 Correspond with K. Duff, M. Rachlis, and J. Wine regarding fifteenth motion
                                   to approve sale, prepare transmittal email, and serve as per motion's service
                                   list (7109 Calumet).

                                   Asset Disposition

                    MR        0.10 Attention to issues regarding 15th motion to approve sales (7109 Calumet).

                                   Asset Disposition

         1/10/2022 AW         0.20 Attention to entered order regarding sale motion and related email to counsel
                                   (7109 Calumet) (.1); attention to reply in support of motion to designate order
                                   as final and related email to counsel (6949 Merrill; 7600 Kingston; 7656
                                   Kingston) (.1).

                                   Asset Disposition

                    JRW       0.10 Review reply memorandum in support of motion to designate order as final
                                   judgment (6949 Merrill; 7600 Kingston; 7656 Kingston).

                                   Asset Disposition

                    MR        0.30 Attention to reply from intervenor regarding motion to designate interlocutory
                                   order as final judgment (6949 Merrill; 7600 Kingston; 7656 Kingston).


                                   Asset Disposition

         1/14/2022 KMP        0.20 Review bank records for property relating to post-sale distribution by property
                                   manager and related communication with J. Rak (638 Avers).

                                   Asset Disposition
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Kevin B. Duff, Receiver                                                                                Page 5



    Date        Indiv Hours Description


    1/17/2022 JR          0.80 Review email from K. Duff related to single family home allocations, review
                               previous communication with bank, A. Porter and J. Wine and confirm
                               amounts of net wires to K. Duff (single family).

                               Asset Disposition

                KMP       0.20 Communicate with K. Duff, J. Wine, and J. Rak regarding confirmation of
                               accuracy of deposits of proceeds for individual single family property
                               accounts (single family).

                               Asset Disposition

    1/19/2022 JR          0.30 Exchange correspondence with A. Porter relating to a title indemnity holdback
                               and discuss next steps (7748 Essex).

                               Asset Disposition

    1/21/2022 AEP         0.40 Read, edit, and revise proposed order confirming 15th motion to confirm
                               sale of receivership property (7109 Calumet).

                               Asset Disposition

                JRW       0.10 Correspondence with A. Porter and K. Duff regarding proposed order granting
                               15th sales motion (7109 Calumet).

                               Asset Disposition

    1/24/2022 AEP         0.20 Teleconference with J. Rak regarding preparation for closing of receivership
                               property (7109 S Calumet) (.1); teleconference with receivership broker
                               regarding preparation for closing of receivership property (7109 S. Calumet)
                               (.1).

                               Asset Disposition

                AW        0.10 Attention to order granting 15th motion to confirm sale and related email to
                               counsel (7109 Calumet).

                               Asset Disposition

                JR        1.80 Communicate with A. Porter requesting status of closing of property and
                               status of Order being granted for approval of property (7109 Calumet) (.1);
                               update closing checklist with pertinent buyer information in preparation for
                               closing (7109 Calumet) (.6); exchange communication with the purchaser
                               and purchaser's counsel requesting pertinent information required for closing
                               and update closing checklist (7109 Calumet) (.6); communication with
                               property management requesting property management information in
                               preparation for submitting the final water application (7109 Calumet) (.1);
                               submit final water certificate application to the title company for processing
                               (7109 Calumet) (.4).

                               Asset Disposition
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    Kevin B. Duff, Receiver                                                                                Page 6



        Date          Indiv Hours Description

        1/24/2022 JRW         0.40 Review revisions to proposed order and correspondence with Judge Lee's
                                   courtroom deputy regarding entry of same (7109 Calumet).

                                   Asset Disposition

                      KMP     0.90 Review property manager's post-sale accounting for property, compile and
                                   analyze related invoices and reports, and related communications with K. Duff
                                   and J. Rak (638 Avers).

                                   Asset Disposition

        1/25/2022 JR          0.20 Update closing checklist with additional buyer information related to lender for
                                   property (7109 Calumet).

                                   Asset Disposition

        1/26/2022 JR          4.30 Prepare closing documents in anticipation for closing (7109 Calumet) (3.8);
                                   exchange correspondence with real estate broker requesting commission
                                   statement for property (7109 Calumet) (.1); follow up communication with
                                   buyer's counsel requesting loan amount and lender information (7109
                                   Calumet) (.1); further communication with the property manager requesting
                                   all the financial statements for 2021 for property in an effort to reconcile
                                   financials (7109 Calumet) (.3).

                                   Asset Disposition


SUBTOTAL:                                                                                   [ 11.00          1862.00]

Business Operations

        1/3/2022      JRW     0.50 Confer with K. Pritchard and telephone conference with E. Duff regarding
                                   property reports and insurance allocations for third restoration motion (1102
                                   Bingham; 1401 W 109th; 1414 E 62nd; 1700 Juneway; 2736 W 64th; 4533
                                   Calumet; 4611 Drexel; 5618 MLK; 6160 MLK; 6217 Dorchester; 6554 Rhodes;
                                   6825 Indiana; 7051 Bennett; 7109 Calumet; 7201 Constance; 7210 Vernon;
                                   7635 East End; 7656 Kingston; 7748 Essex; 7749 Yates; 7834 Ellis; 8201
                                   Kingston; 8326 Ellis).


                                   Business Operations

                      JRW     4.00 Review prior restoration motions, prepare list of outstanding invoices, and
                                   begin drafting third restoration motion (1102 Bingham; 1401 W 109th; 1414 E
                                   62nd; 1700 Juneway; 2736 W 64th; 4533 Calumet; 4611 Drexel; 5618 MLK;
                                   6160 MLK; 6217 Dorchester; 6554 Rhodes; 6825 Indiana; 7051 Bennett;
                                   7109 Calumet; 7201 Constance; 7210 Vernon; 7635 East End; 7656
                                   Kingston; 7748 Essex; 7749 Yates; 7834 Ellis; 8201 Kingston; 8326 Ellis).


                                   Business Operations
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    Date        Indiv Hours Description

    1/3/2022    KMP       0.20 Telephone conference with J. Wine regarding issues relating to third
                               restoration motion (1102 Bingham; 1401 W 109th; 1414 E 62nd; 1700
                               Juneway; 2736 W 64th; 4533 Calumet; 4611 Drexel; 5618 MLK; 6160 MLK;
                               6217 Dorchester; 6554 Rhodes; 6825 Indiana; 7051 Bennett; 7109 Calumet;
                               7201 Constance; 7210 Vernon; 7635 East End; 7656 Kingston; 7748 Essex;
                               7749 Yates; 7834 Ellis; 8201 Kingston; 8326 Ellis).

                               Business Operations

    1/4/2022    JR        0.10 Follow up communication with insurance broker account analyst requesting
                               property endorsement (4611 Drexel).

                               Business Operations

                JRW       0.10 Exchange correspondence with A. Porter and K. Duff regarding unpaid
                               invoice for vendor services (7635 East End).

                               Business Operations

                MR        0.10 Attention to issues regarding motion regarding former properties (defer).


                               Business Operations

    1/5/2022    ED        2.90 Review and analysis of insurance policy endorsements relating to prepaid
                               premium refunds (8047 Manistee; 701 S 5th; 7749 Yates; 1050 8th N
                               (Naples, FL); 6749 Merrill; 7450 Luella; 7546 Saginaw; 8201 Kingston; 4520
                               Drexel; 8326 Ellis; 8334 Ellis; 8342 Ellis; 8352 Ellis; 5450 Indiana; 6437
                               Kenwood; 7760 Coles; 8000 Justine; 8107 Ellis; 82116 Ingleside; 8209 Ellis;
                               11117 Longwood; 7300 St Lawrence; 7110 Cornell; 7957 Marquette; 7051
                               Bennett; 3074 Cheltenham; 2736 W 64th; 6356 California; 6355 Talman;
                               5618 MLK; 7201 Constance; 6554 Vernon; 1700 Juneway; 7201 Dorchester;
                               7508 Essex; 431 E 42nd; 7701 Essex; 7442 Calumet; 816 Marquette; 6949
                               Merrill; 4533 Calumet; 4315 Michigan; 7600 Kingston; 7656 Kingston; 1131 E
                               79th; 6250 S Mozart) (2.3); review and analysis of insurance reimbursement
                               and refunds relating to five properties (3074 Cheltenham; 7201 Constance;
                               7625 East End; 7635 East End; 7750 Muskegon) (.3); confer with K. Duff
                               regarding allocation of expenses and refunds relating to insurance policies to
                               properties based on date of sale (all) (.3).
                               Business Operations
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Kevin B. Duff, Receiver                                                                                Page 8



    Date        Indiv Hours Description

    1/6/2022    ED        1.30 Develop spreadsheet to assist in analysis and tracking of property and liability
                               insurance refunds regarding sold properties (all).

                               Business Operations

                JR        0.80 Follow up correspondence with insurance broker account analyst requesting an
                               update on property endorsement (4611 Drexel) (.1); further communication
                               with E. Duff regarding status of communication with insurance broker (all) (.1);
                               review emails from insurance broker account analyst and update spreadsheet
                               related to property endorsements (all) (.6).


                               Business Operations

    1/7/2022    ED        0.60 Call with J. Rak to discuss organization and review of remaining insurance
                               premium refund information (all).

                               Business Operations

                JR        0.70 Communication with E. Duff regarding status of property insurance
                               endorsements for all properties, a plan of action related to missing
                               information related to property endorsement refunds and updating closing
                               dates for properties, update spreadsheet regarding property endorsements
                               related to same (all).

                               Business Operations

    1/10/2022 JR          4.00 Update property insurance endorsement spreadsheet with E. Duff notes for
                               all properties, update closing dates (all) (3.9); communication with E. Duff
                               providing updated and completed spreadsheet, inquire about next steps (all)
                               (.1).

                               Business Operations

                JRW       2.10 Attention to drafting third restoration motion (1102 Bingham; 1401 W 109th;
                               1414 E 62nd; 1700 Juneway; 2736 W 64th; 4533 Calumet; 4611 Drexel; 5618
                               MLK; 6160 MLK; 6217 Dorchester; 6554 Rhodes; 6825 Indiana; 7051 Bennett;
                               7109 Calumet; 7201 Constance; 7210 Vernon; 7635 East End; 7656 Kingston;
                               7748 Essex; 7749 Yates; 7834 Ellis; 8201 Kingston; 8326 Ellis) (1.2);
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    Date        Indiv Hours Description

                               review records and exchange correspondence with K. Pritchard regarding
                               invoices (1414 East 62nd; 6160 MLK; 6554 Rhodes; 6825 Indiana; 7051
                               Bennett; 7109 Calumet; 7201 Constance; 7210 Vernon; 7749 Yates; 7834
                               Ellis; 8201 Kingston) (.7); correspondence from insurer regarding coverage
                               decision and related exchange with K. Duff and M. Rachlis (4533 Calumet)
                               (.2).

                               Business Operations

    1/10/2022 KMP         0.80 Communications with J. Wine regarding various issues relating to motion for
                               restoration of expenses and related review of emails to revise and update list
                               of issues (1414 East 62nd; 6160 MLK; 6554 Rhodes; 6825 Indiana; 7051
                               Bennett; 7109 Calumet; 7201 Constance; 7210 Vernon; 7749 Yates; 7834
                               Ellis; 8201 Kingston).

                               Business Operations

                MR        0.30 Exchanges and follow up regarding coverage issues relating to state court
                               action (4533 Calumet) (.2); follow up on stipulation regarding foreclosure
                               suits (defer) (.1).

                               Business Operations

    1/11/2022 ED          2.40 Further refine insurance cost spreadsheet relating to allocation of premium
                               for sold properties (all) (.9); confer with K. Duff regarding collection and
                               presentation of insurance cost allocation information (all) (.4); prepare
                               summary of insurance cost information relating to sold properties for request
                               to insurance agent (1017 W 102nd; 1516 E 85th; 2136 W 83rd; 417 Oglesby;
                               7922 Luella; 7925 Kingston; 7933 Kingston; 8030 Marquette; 8104 Kingston;
                               8403 Aberdeen; 8405 Marquette; 8529 Rhodes; 8800 Ada; 9212 Parnell;
                               10012 LaSalle; 11318 Church; 3213 Throop; 3723 W 68th; 406 E 87th; 61 E
                               92nd; 6554 Rhodes; 6825 Indiana; 7210 Vernon; 7712 Euclid; 7953
                               Woodlawn; 8107 Kingston; 8346 Constance; 8432 Essex; 8517 Vernon; 2129
                               W 71st; 5437 Laflin; 6759 Indiana; 9610 Woodlawn; 7300 St Lawrence; 1401
                               W 109th; 310 E 50th; 6807 Indiana; 1401 W 109th; 310 E 50th; 6807 Indiana;
                               7327 Bennett; 6217 Dorchester; 7255 Euclid) (.4); email correspondence with
                               insurance agent regarding production of missing endorsements and cost
                               information (1017 W 102nd; 1516 E 85th; 2136 W 83rd; 417 Oglesby; 7922
                               Luella; 7925 Kingston; 7933 Kingston; 8030 Marquette; 8104 Kingston; 8403
                               Aberdeen; 8405 Marquette; 8529 Rhodes; 8800 Ada; 9212 Parnell; 10012
                               LaSalle; 11318 Church; 3213 Throop; 3723 W 68th; 406 E 87th; 61 E 92nd;
                               6554 Rhodes; 6825 Indiana; 7210 Vernon; 7712 Euclid; 7953 Woodlawn;
                               8107 Kingston; 8346 Constance; 8432 Essex; 8517 Vernon; 2129 W 71st;
                               5437 Laflin; 6759 Indiana; 9610 Woodlawn; 7300 St Lawrence; 1401 W
                               109th; 310 E 50th; 6807 Indiana; 1401 W 109th; 310 E 50th; 6807 Indiana;
                               7327 Bennett; 6217 Dorchester; 7255 Euclid) (.7).

                               Business Operations
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    Date        Indiv Hours Description


    1/11/2022 JR          1.70 Exchange communication with E. Duff related to updated property insurance
                               endorsements and refunds (all) (.2); review emails from insurance broker
                               account analyst and further update master insurance refunds analysis
                               spreadsheet (all) (1.3); exchange communication with K. Pritchard regarding
                               reimbursement for water to A. Porter from sale of property related to the
                               restoration motion (417 Oglesby) (.2).

                               Business Operations

                JRW       2.50 Attention to drafting third restoration motion and related analysis of materials,
                               preparation of spreadsheet, and communications with K. Pritchard and E.
                               Duff (1102 Bingham; 1401 W 109th; 1414 E 62nd; 1700 Juneway; 2736 W
                               64th; 4533 Calumet; 4611 Drexel; 5618 MLK; 6160 MLK; 6217 Dorchester;
                               6554 Rhodes; 6825 Indiana; 7051 Bennett; 7109 Calumet; 7201 Constance;
                               7210 Vernon; 7635 East End; 7656 Kingston; 7748 Essex; 7749 Yates;
                               7834 Ellis; 8201 Kingston; 8326 Ellis) (2.4); correspondence to plaintiff's
                               counsel regarding stay of litigation matter relating to property (4533
                               Calumet) (.1).

                               Business Operations

                KMP       3.50 Further review of emails and financial documents to revise and update list of
                               issues relating to motion for restoration of expenses and several related
                               communications with K. Duff and J. Wine (1102 Bingham; 1401 W 109th;
                               1414 E 62nd; 1700 Juneway; 2736 W 64th; 4533 Calumet; 4611 Drexel;
                               5618 MLK; 6160 MLK; 6217 Dorchester; 6554 Rhodes; 6825 Indiana; 7051
                               Bennett; 7109 Calumet; 7201 Constance; 7210 Vernon; 7635 East End;
                               7656 Kingston; 7748 Essex; 7749 Yates; 7834 Ellis; 8201 Kingston; 8326
                               Ellis) (3.2); review email correspondence regarding insurance provisions
                               and related communication with K. Duff (all) (.3).

                               Business Operations
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Kevin B. Duff, Receiver                                                                               Page 11



    Date        Indiv Hours Description


    1/12/2022 ED          0.30 Call with J. Wine to discuss process for allocation of insurance refunds to
                               sold properties and calculation of amounts reimbursable to Receivership (all).

                               Business Operations

                JR        1.90 Review emails from insurance broker account and further update master
                               insurance refunds analysis spreadsheet (all) (1.7); review email from
                               property management related to certificate of insurance, further
                               communication with E. Duff and insurance firm inquiring about certificate of
                               insurance for property (7109 Calumet) (.2).

                               Business Operations

                JRW       1.60 Confer with K. Duff and work with K. Pritchard regarding expenses and
                               payments subject to expense restoration motion (1102 Bingham; 1401 W
                               109th; 1414 E 62nd; 1700 Juneway; 2736 W 64th; 4533 Calumet; 4611
                               Drexel; 5618 MLK; 6160 MLK; 6217 Dorchester; 6554 Rhodes; 6825
                               Indiana; 7051 Bennett; 7109 Calumet; 7201 Constance; 7210 Vernon;
                               7635 East End; 7656 Kingston; 7748 Essex; 7749 Yates; 7834 Ellis; 8201
                               Kingston; 8326 Ellis) (1.2); correspondence to property manager regarding
                               invoice (8326 Ellis) (.2); correspondence with defense counsel in state court
                               litigation regarding property inspection and related exchange with J. Rak
                               (7748 Essex) (.2).

                               Business Operations

                JRW       1.20 Telephone conference with E. Duff regarding accountant work related to
                               property expenses, and continue drafting expense restoration motion (1102
                               Bingham; 1401 W 109th; 1414 E 62nd; 1700 Juneway; 2736 W 64th; 4533
                               Calumet; 4611 Drexel; 5618 MLK; 6160 MLK; 6217 Dorchester; 6554
                               Rhodes; 6825 Indiana; 7051 Bennett; 7109 Calumet; 7201 Constance; 7210
                               Vernon; 7635 East End; 7656 Kingston; 7748 Essex; 7749 Yates; 7834 Ellis;
                               8201 Kingston; 8326 Ellis).

                               Business Operations
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    1/12/2022 KMP         0.20 Further communications with J. Wine regarding additional issues relating to
                               motion for expense restoration (1102 Bingham; 1401 W 109th; 1414 E
                               62nd; 1700 Juneway; 2736 W 64th; 4533 Calumet; 4611 Drexel; 5618 MLK;
                               6160 MLK; 6217 Dorchester; 6554 Rhodes; 6825 Indiana; 7051 Bennett;
                               7109 Calumet; 7201 Constance; 7210 Vernon; 7635 East End; 7656
                               Kingston; 7748 Essex; 7749 Yates; 7834 Ellis; 8201 Kingston; 8326 Ellis).

                                Business Operations

    1/13/2022 ED          2.90 Call with K. Duff and insurance agent regarding process for obtaining and
                               verifying final information regarding property insurance refunds for prepaid
                               premium with respect to sold properties (all) (.3); conference with K. Duff
                               regarding finalizing allocation of insurance and other receivership
                               expenditures by property (all) (.3); further analysis of premium refund
                               information relating to sold properties (all) (1.1); email correspondence to
                               accountant regarding process and timing for finalizing Receiver's property
                               reports for all properties (all) (.3); calls with J. Rak to discuss review of
                               financial reporting for periods beginning 10/1/2020 for purposes of
                               preparation of Receiver's property reports (all) (.4); conference call with
                               accountants to discuss preparation of additional Receiver's property reports
                               (all) (.4); review of property manager reporting for use in generating 2021
                               Receiver's Property Reports (9610 Woodlawn; 1401 W 109th; 310 E 50th;
                               6807 Indiana; 7255 Euclid; 7237 Bennett; 638 Avers; 7109 Calumet) (.1).

                               Business Operations

                ED        0.80 Review of property manager reporting for use in generating 2021 Receiver's
                               property reports (4750 Indiana; 7024 Paxton; 7840 Yates; 2800 E 81st; 4611
                               Drexel; 1414 E 62nd; 1017 W 102nd; 1516 E 85th; 2136 W 83rd; 417
                               Oglesby; 7922 Luella; 7925 Kingston; 7933 Kingston; 8030 Marquette; 8104
                               Kingston; 8403 Aberdeen; 8405 Marquette; 8529 Rhodes; 8800 Ada; 9212
                               Parnell; 10012 LaSalle; 11318 Church; 3213 Throop; 3723 W 68th; 406 E
                               87th; 61 E 92nd; 6554 Rhodes; 6825 Indiana; 7210 Vernon; 7712 Euclid;
                               7953 Woodlawn; 8107 Kingston; 8346 Constance; 8432 Essex; 8517 Vernon;
                               2129 W 71st; 5437 Laflin; 6759 Indiana; 1422 E 68th; 6217 Dorchester) (.5);
                               send financial reporting documents to accountant to use in generating 2021
                               Receiver's property reports (4750 Indiana; 7024 Paxton; 7840 Yates; 2800 E 81st;
                               4611 Drexel; 1414 E 62nd; 1017 W 102nd; 1516 E 85th; 2136 W 83rd; 417
                               Oglesby; 7922 Luella; 7925 Kingston; 7933 Kingston; 8030 Marquette; 8104
                               Kingston; 8403 Aberdeen; 8405 Marquette; 8529 Rhodes; 8800 Ada; 9212
                               Parnell; 10012 LaSalle; 11318 Church; 3213 Throop; 3723 W 68th; 406 E
                               87th; 61 E 92nd; 6554 Rhodes; 6825 Indiana; 7210 Vernon; 7712 Euclid;
                               7953 Woodlawn; 8107 Kingston; 8346 Constance; 8432 Essex; 8517 Vernon;
                               2129 W 71st; 5437 Laflin; 6759 Indiana; 1422 E 68th; 6217 Dorchester) (.3).

                                Business Operations
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    Date        Indiv Hours Description



    1/13/2022 ED          0.20 Email correspondence with K. Pritchard and accountants regarding
                               Receivership receipts and expenditures during 2021 relating to properties
                               (4750 Indiana; 7024 Paxton; 7840 Yates; 2800 E 81st; 4611 Drexel; 1414 E
                               62nd; 1017 W 102nd; 1516 E 85th; 2136 W 83rd; 417 Oglesby; 7922 Luella;
                               7925 Kingston; 7933 Kingston; 8030 Marquette; 8104 Kingston; 8403
                               Aberdeen; 8405 Marquette; 8529 Rhodes; 8800 Ada; 9212 Parnell; 10012
                               LaSalle; 11318 Church; 3213 Throop; 3723 W 68th; 406 E 87th; 61 E 92nd;
                               6554 Rhodes; 6825 Indiana; 7210 Vernon; 7712 Euclid; 7953 Woodlawn;
                               8107 Kingston; 8346 Constance; 8432 Essex; 8517 Vernon; 2129 W 71st;
                               9610 Woodlawn; 5437 Laflin; 6759 Indiana; 1401 W 109th; 310 E 50th; 6807
                               Indiana; 1422 E 68th; 7255 Euclid; 7237 Bennett; 6217 Dorchester; 1102
                               Bingham; 638 Avers; 7109 Calumet).

                               Business Operations

                JR        4.70 Review emails from insurance broker account analyst, review property
                               insurance endorsements and further update master insurance refunds
                               analysis spreadsheet (all) (2.1); telephone communication with E. Duff
                               related to status of financial property reporting for 2020 through 2021 (all)
                               (.2); review emails and related information to financial statements for all
                               properties in preparation for review (all) (.5); further communication with E.
                               Duff regarding status of financial reports review and property insurance
                               refunds (all) (.3); review and consolidate property account statements for
                               December (all) (1.6).

                               Business Operations

                JRW       0.60 Correspondence with counsel in state court litigation and property manager
                               regarding inspection of property (7748 Essex) (.1); correspondence with
                               claimants' counsel, review revised stipulation and order, and confer with M.
                               Rachlis regarding execution of same (defer) (.4); exchange correspondence
                               with Judge's courtroom deputy regarding entry of proposed order (defer) (.1).

                               Business Operations

                KMP       0.50 Review and revise stipulation relating to motion to intervene, and related
                               communications with J. Wine (defer) (.3); communications with E. Duff
                               regarding her request for account ledgers identifying property expenses in
                               connection with motion for restoration (4750 Indiana; 7024 Paxton; 7840
                               Yates; 2800 E 81st; 4611 Drexel; 1414 E 62nd; 1017 W 102nd; 1516 E
                               85th; 2136 W 83rd; 417 Oglesby; 7922 Luella; 7925 Kingston; 7933
                               Kingston; 8030 Marquette; 8104 Kingston; 8403 Aberdeen; 8405 Marquette;
                               8529 Rhodes; 8800 Ada; 9212 Parnell; 10012 LaSalle; 11318 Church; 3213
                               Throop; 3723 W 68th; 406 E 87th; 61 E 92nd; 6554 Rhodes; 6825 Indiana;
                               7210 Vernon; 7712 Euclid; 7953 Woodlawn; 8107 Kingston; 8346
                               Constance; 8432 Essex; 8517 Vernon; 2129 W 71st; 9610 Woodlawn; 5437
                               Laflin; 6759 Indiana; 1401 W 109th; 310 E 50th; 6807 Indiana; 1422 E 68th;
                               7255 Euclid; 7237 Bennett; 6217 Dorchester; 1102 Bingham; 638 Avers;
                               7109 Calumet).

                               Business Operations
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    Date        Indiv Hours Description

    1/13/2022 MR          0.20 Attention to petition to intervene and stipulation and follow up with J. Wine
                               regarding same (defer).

                               Business Operations

    1/14/2022 JR          4.10 Review emails from E. Duff containing all financial property reports from
                               property management and generate and organize all financial reports for
                               January through December of 2021 in preparation for review (7448 S
                               Calumet; 7701 S Essex; 816 Marquette; 1131 E 79th; 1414 E 62nd; 4533
                               Calumet; 4611 Drexel; 6217 Dorchester; 6951 Merrill; 7024 Paxton; 7749
                               Yates; 8047 Manistee; 8201 Kingston; 1017 W 102nd; 1516 E 85th; 2136 W
                               83rd; 417 Oglesby; 7922 Luella; 7925 S Kingston; 7933 Kingston; 8030
                               Marquette; 8104 Kingston; 8403 Aberdeen; 8405 Marquette; 8529 Rhodes;
                               8800 Ada; 9212 Parnell; 10012 LaSalle; 11318 Church; 3213 Throop; 3723
                               W 68th; 406 E 87th; 61 E 92nd; 6554 Rhodes; 6825 Indiana; 7210 Vernon;
                               7712 Euclid; 7953 Woodlawn; 8107 Kingston; 8346 Constance; 8432 Essex;
                               8517 Vernon; 2129 W 71st; 5437 S Laflin; 6759 S Indiana) (3.9); review
                               certificate of insurance for property and file in electronic files (7109 S
                               Calumet) (.1); communication with K. Pritchard requesting update relating to
                               post-closing reconciliation balance regarding sold property (638 Avers) (.1).

                               Business Operations

                MR        0.20 Attention to stipulation issues relating to petition to intervene and follow up on
                               same (defer).

                               Business Operations

    1/17/2022 JR          0.40 Review email from K. Pritchard related to monthly schedule of accounts for
                               January through December of 2021, produce all statements and organize in
                               files in preparation for review (7448 S Calumet; 7701 S Essex; 816
                               Marquette; 1131 E 79th; 1414 E 62nd; 4533 Calumet; 4611 Drexel; 6217
                               Dorchester; 6951 Merrill; 7024 Paxton; 7749 Yates; 8047 Manistee; 8201
                               Kingston; 1017 W 102nd; 1516 E 85th; 2136 W 83rd; 417 Oglesby; 7922
                               Luella; 7925 S Kingston; 7933 Kingston; 8030 Marquette; 8104 Kingston;
                               8403 Aberdeen; 8405 Marquette; 8529 Rhodes; 8800 Ada; 9212 Parnell;
                               10012 LaSalle; 11318 Church; 3213 Throop; 3723 W 68th; 406 E 87th; 61 E
                               92nd; 6554 Rhodes; 6825 Indiana; 7210 Vernon; 7712 Euclid; 7953
                               Woodlawn; 8107 Kingston; 8346 Constance; 8432 Essex; 8517 Vernon; 2129
                               W 71st; 5437 S Laflin; 6759 S Indiana).

                               Business Operations
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    Date        Indiv Hours Description


    1/18/2022 AW          0.20 Correspond with E. Duff regarding reporting from management company
                               (7109 Calumet).

                               Business Operations

                JRW       0.10 Correspondence with K. Pritchard regarding funds paid to property managers
                               (1401 W 109th; 1414 E 62nd; 2736 W 64th; 416 E 66th; 4533 Calumet;
                               4611 Drexel; 5618 MLK; 6160 MLK; 6250 Mozart; 6356 California; 6357
                               Talman; 638 Avers; 6751 Merrill; 7051 Bennett; 7201 Constance; 7201
                               Dorchester; 7237 Bennett; 7600 Kingston; 7760 Coles; 7957 Marquette;
                               8000 Justine; 8209 Ellis; 8214 Ingleside; 8326 Ellis; 8334 Ellis; 8352 Ellis;
                               single family). .

                               Business Operations

                KMP       1.30 Communicate with J. Wine regarding preparation of spreadsheet for
                               restoration motion detailing expenses paid to property managers from
                               receivership accounts and begin work on spreadsheet (1401 W 109th; 1414
                               E 62nd; 2736 W 64th; 416 E 66th; 4533 Calumet; 4611 Drexel; 5618 MLK;
                               6160 MLK; 6250 Mozart; 6356 California; 6357 Talman; 638 Avers; 6751
                               Merrill; 7051 Bennett; 7201 Constance; 7201 Dorchester; 7237 Bennett;
                               7600 Kingston; 7760 Coles; 7957 Marquette; 8000 Justine; 8209 Ellis; 8214
                               Ingleside; 8326 Ellis; 8334 Ellis; 8352 Ellis; single family).


                               Business Operations

    1/19/2022 JR          0.10 Review email from E. Duff regarding financial reports for September and
                               October 2021 in preparation for review, save in electronic files and forward to
                               accounting firm (all).

                               Business Operations
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    Date        Indiv Hours Description


    1/19/2022 JRW         0.20 Confer with M. Rachlis regarding coverage decision (4533 Calumet).


                               Business Operations

                KMP       4.40 Continue work on spreadsheet for third restoration motion detailing expenses
                               paid to property managers from receivership accounts and related
                               communication with J. Wine (1401 W 109th; 1414 E 62nd; 2736 W 64th;
                               416 E 66th; 4533 Calumet; 4611 Drexel; 5618 MLK; 6160 MLK; 6250
                               Mozart; 6356 California; 6357 Talman; 638 Avers; 6751 Merrill; 7051
                               Bennett; 7201 Constance; 7201 Dorchester; 7237 Bennett; 7600 Kingston;
                               7760 Coles; 7957 Marquette; 8000 Justine; 8209 Ellis; 8214 Ingleside; 8326
                               Ellis; 8334 Ellis; 8352 Ellis; single family).


                               Business Operations

                MR        0.10 Follow up with J. Wine regarding coverage issues relating to state court
                               action (4533 Calumet).

                               Business Operations

    1/20/2022 AW          0.10 Attention to order regarding scheduled case management conference and
                               related docket entry (4533 Calumet).

                               Business Operations

                JRW       1.20 Telephone conference with plaintiff's counsel regarding stay of proceedings
                               (4533 Calumet) (.2); telephone conference with clerk for Judge O'Malley
                               regarding covid procedures (4533 Calumet) (.1); correspondence with M.
                               Rachlis and K. Duff regarding state court action and related review of Order
                               Appointing Receiver (4533 Calumet) (.7); correspondence to property
                               manager and insurance adjuster regarding coverage determination (4533
                               Calumet) (.2).

                               Business Operations

                KMP       1.90 Continue work on spreadsheet for third restoration motion detailing expenses
                               paid to property managers from receivership accounts and related
                               communication with J. Wine (1401 W 109th; 1414 E 62nd; 2736 W 64th;
                               416 E 66th; 4533 Calumet; 4611 Drexel; 5618 MLK; 6160 MLK; 6250
                               Mozart; 6356 California; 6357 Talman; 638 Avers; 6751 Merrill; 7051
                               Bennett; 7201 Constance; 7201 Dorchester; 7237 Bennett; 7600 Kingston;
                               7760 Coles; 7957 Marquette; 8000 Justine; 8209 Ellis; 8214 Ingleside; 8326
                               Ellis; 8334 Ellis; 8352 Ellis; single family).

                               Business Operations
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    Date        Indiv Hours Description

    1/20/2022 MR          0.50 Attention to issues regarding insurance relating to state court action, and
                               related review of emails and agreement (4533 Calumet).

                               Business Operations

    1/21/2022 AEP         0.20 Search e-mails of EquityBuild principals for records relating to litigation issue
                               and transmit copy to K. Duff (4533 S Calumet).

                               Business Operations

                AW        0.10 Attention to correspondence regarding entity franchise tax and related
                               correspondence with K. Duff (defer).

                               Business Operations

                ED        0.90 Telephone call with J. Rak regarding summary of insurance endorsements
                               received to date relating to sold properties (all) (.1); review and revise
                               spreadsheet prepared by J. Rak to identify properties with respect to which
                               policy endorsements have not yet been received (all) (.6); mail
                               correspondence to insurance agent transmitting spreadsheet relating to
                               endorsements for termination of policies and requesting missing
                               endorsements and other information (all) (.2).

                               Business Operations

                JR        1.10 Communication with E. Duff regarding status of property insurance
                               endorsements and refunds, update and forward insurance analysis worksheet
                               (all).

                               Business Operations

                JRW       0.10 Correspondence with property manager regarding outstanding invoice (8326
                               Ellis).

                               Business Operations
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    Date        Indiv Hours Description

    1/22/2022 JR          0.10 Review email from K. Duff requesting to send update property insurance firm
                               upon closing of property (7109 Calumet).

                               Business Operations

    1/24/2022 JR          0.70 Review email from K. Duff requesting status of closing statements
                               reconciliation report from the sale of properties, review, update and provide
                               same (1700 Juneway; 4533 Calumet; 5001 Drexel; 5450 Indiana; 7749 Yates;
                               6437 Kenwood; 1414 E 62nd; 8100 Essex; 7301 Stewart; 7500 Eggleston;
                               3030 E 79th; 2909 E 78th; 7549 Essex; 8047 Manistee; 1017 W 102nd; 1516
                               E 85th; 2136 W 83rd; 417 Oglesby; 7922 Luella; 7925 Kingston; 7933
                               Kingston; 8030 Marquette; 8104 Kingston; 8403 Aberdeen; 8405 Marquette;
                               8529 Rhodes; 8800 Ada; 9212 Parnell; 10012 LaSalle; 11318 Church; 3213
                               Throop; 3723 W 68th; 406 E 87th; 61 E 92nd; 6554 S Rhodes Avenue; 6825
                               Indiana; 7210 Vernon; 7712 Euclid; 7953 Woodlawn; 8107 Kingston; 8346
                               Constance; 8432 Essex; 8517 Vernon; 2129 W 71st; 9610 Woodlawn; 5437
                               Laflin; 6759 Indiana; 7300 St Lawrence; 7760 Coles; 1401 W 109th; 310 E
                               50th; 6807 Indiana; 8000 Justine; 8107 Ellis; 8209 Ellis; 8214 Ingleside; 5955
                               Sacramento; 6001 Sacramento; 7026 Cornell; 7237 Bennett; 7834 Ellis; 4520
                               Drexel; 4611 Drexel; 6749 Merrill; 7110 Cornell; 1131 E 79th; 6217
                               Dorchester; 6250 Mozart; 638 Avers; 701 S 5th; 7024 Paxton; 7255 Euclid;
                               3074 Cheltenham; 7625 East End; 7635 East End; 7750 Muskegon; 7201
                               Constance; 6160 S MLK; 2736 W 64th; 4315 Michigan; 6355 Talman; 6356
                               California; 7051 Bennett; 7201 Dorchester; 7442 Calumet; 7508 Essex; 7546
                               Saginaw; 7600 Kingston; 7656 Kingston; 7701 Essex; 7748 Essex; 7957
                               Marquette; 816 Marquette; 8201 Kingston; 8326-58 Ellis; 11117 Longwood;
                               6949 Merrill; 7927-49 Essex; 1422 E 68th; 2800 E 81st; 4750 Indiana; 5618
                               MLK; 6554 Vernon; 7450 Luella; 7840 Yates; 431 E 42nd; 1102 Bingham)
                               (.2); follow up communication with property management requesting status
                               of post-closing reconciliation for closed property and request status of
                               property financials including water bill refund, further related communication
                               with K. Duff and K. Pritchard regarding status (638 Avers) (.5).

                               Business Operations

                JR        0.90 Review communication from E. Duff and insurance broker account analyst
                               regarding missing property endorsements and review additional information
                               in an attempt to find missing endorsements (all).

                               Business Operations

                JRW       0.50 Review EB records for litigation issue and related summary to K. Duff and M.
                               Rachlis (4533 Calumet) (.2); review analysis of state court action from M.
                               Rachlis (4533 Calumet) (.1); confer with K. Duff regarding upcoming hearing
                               and exchange correspondence with plaintiff's counsel (4533 Calumet) (.2).

                               Business Operations

                KMP       0.50 Review various financial reports and communications with K. Duff and J. Rak
                               regarding issues relating to property manager's accounting for remaining
                               unsold property (7109 Calumet).

                               Business Operations
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    1/24/2022 MR          0.30 Attention to insurance coverage issues relating to state court action (4533
                               Calumet).

                               Business Operations

    1/25/2022 JR          4.00 Review email from K. Duff requesting a review of financial reports related to
                               management audit fees (7109 Calumet) (1.8); forward property financial
                               reports to E. Duff for further review (7109 Calumet) (.1); request property
                               management to provide financial property reports at the time of the property
                               management transfer (7109 Calumet) (.2); communication with K. Duff and
                               K. Pritchard related to property financial reports (7109 Calumet) (.2); analyze
                               email communication with insurance broker, reconcile missing and duplicate
                               insurance endorsements (all) (1.7).

                               Business Operations

                JRW       1.00 Attend state court hearing regarding status of litigation matter and related
                               update to team (4533 Calumet) (.8); conference with K. Duff and
                               M. Rachlis regarding state court hearing (4533 Calumet) (.2).

                               Business Operations

                KMP       0.10 Further communications with J. Rak regarding issues relating to property
                               manager's accounting for remaining unsold property (7109 Calumet).

                               Business Operations

                MR        0.20 Confer with K. Duff and J. Wine regarding state court action (4533
                               Calumet).

                               Business Operations

    1/26/2022 JR          2.30 Update insurance analysis spreadsheet, update, rename electronic files and
                               communicate with E. Duff regarding same (all).

                               Business Operations

    1/27/2022 ED          2.60 Review questions from accountant relating to property manager reporting
                               (310 E 50th; 1401 W 109th; 6807 Indiana) (.3); review questions from
                               accountant relating to property manager reporting (6250 Mozart) (.3); review
                               questions from accountant relating to property manager reporting (7051
                               Bennett) (.3); review questions from accountant relating to property manager
                               reporting (7508 Essex) (.3); review questions from accountant relating to
                               property manager reporting (7109 Calumet) (.1); email correspondence to
                               property manager to follow up on final reporting for two sold properties (7051
                               Bennett; 7508 Essex) (.2); review and analysis of documents and email
                               correspondence received from insurance agent relating to cancellation of
                               policies with respect to sold properties and calculation of related refunds (all)
                               (.7); email correspondence and telephone conference with J. Rak regarding
                               necessary further review of insurance policy termination and refund
                               documentation (all) (.4).

                               Business Operations
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    1/27/2022 ED          0.90 Draft list of follow-up items needed from insurance agent and carrier
                               regarding policy cancellations and refunds (1017 W 102nd; 1516 E 85th;
                               2136 W 83rd; 417 Oglesby; 7922 Luella; 7925 Kingston; 7933 Kingston;
                               8030 Marquette; 8104 Kingston; 8403 Aberdeen; 8405 Marquette; 8529
                               Rhodes; 8800 Ada; 9212 Parnell; 10012 LaSalle; 11318 Church; 3213
                               Throop; 3723 W 68th; 406 E 87th; 61 E 92nd; 6554 Rhodes; 6825 Indiana;
                               7210 Vernon; 7712 Euclid; 7953 Woodlawn; 8107 Kingston; 8346 Constance;
                               8432 Essex; 8517 Vernon; 2129 W 71st; 5437 Laflin; 6759 Indiana; 9610
                               Woodlawn; 7300 St Lawrence; 1401 W 109th; 310 E 50th; 6807 Indiana) (.4);
                               review and analysis of loan history documents submitted in connection with
                               claims (1017 W 102nd; 1516 E 85th; 2136 W 83rd; 417 Oglesby; 7922 Luella;
                               7925 Kingston; 7933 Kingston; 8030 Marquette; 8104 Kingston; 8403
                               Aberdeen; 8405 Marquette; 8529 Rhodes; 8800 Ada; 9212 Parnell; 10012
                               LaSalle; 11318 Church; 3213 Throop; 3723 W 68th; 406 E 87th; 61 E 92nd;
                               6554 Rhodes; 6825 Indiana; 7210 Vernon; 7712 Euclid; 7953 Woodlawn;
                               8107 Kingston; 8346 Constance; 8432 Essex; 8517 Vernon; 2129 W 71st;
                               5437 Laflin; 6759 Indiana; 9610 Woodlawn; 7300 St Lawrence; 7760 Coles;
                               1401 W 109th; 310 E 50th; 6807 Indiana; 8000 Justine; 8107 Ellis; 8209 Ellis;
                               8214 Ingleside) (.5).

                               Business Operations

                JR        0.30 Exchange correspondence with E. Duff regarding further consolidation of
                               property insurance endorsements (defer).

                               Business Operations

                JRW       0.20 Exchange correspondence with S. Zjalic regarding municipal code violation
                               notice and review same (8209 S Ellis).

                               Business Operations

    1/28/2022 ED          0.30 Email correspondence to insurance agent requesting additional
                               documentation relating to insurance refunds for sold properties (5001
                               Drexel; 1017 W 102nd; 1516 E 85th; 2136 W 83rd; 417 Oglesby; 7922
                               Luella; 7925 Kingston; 7933 Kingston; 8030 Marquette; 8104 Kingston; 8403
                               Aberdeen; 8405 Marquette; 8529 Rhodes; 8800 Ada; 9212 Parnell; 10012
                               LaSalle; 11318 Church; 3213 Throop; 3723 W 68th; 406 E 87th; 61 E 92nd;
                               6554 Rhodes; 6825 Indiana; 7210 Vernon; 7712 Euclid; 7953 Woodlawn;
                               8107 Kingston; 8346 Constance; 8432 Essex; 8517 Vernon; 2129 W 71st;
                               5437 Laflin; 6759 Indiana; 9610 Woodlawn; 7300 St Lawrence; 1401 W
                               109th; 310 E 50th; 6807 Indiana; 1401 W 109th; 310 E 50th; 6807 Indiana;
                               7327 Bennett; 6217 Dorchester; 7255 Euclid).

                               Business Operations

                JR        1.90 Review emails from E. Duff and produce financial property reports related to
                               review of all sold properties in 2021 (4750 Indiana; 7024 Paxton; 7840 Yates;
                               2800E 81st; 4611 Drexel; 1422 East 68th; 7255 Euclid; 7237 Bennett; 6217
                               Dorchester; 1102 Bingham; 638 Avers; single family) (.5); review electronic
                               files and property endorsements related to property insurance refunds (all)
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                               (.8); review email from accounting firm requesting property financial
                               statements and produce same in anticipation for monthly review for 2021
                               (7109 Calumet) (.2); review property statements for year 2021 and further
                               communicate with property management requesting missing property and
                               income financial statements (7109 Calumet) (.4).

                               Business Operations

    1/28/2022 KMP         0.20 Attention to communications with property manager regarding reconciliation of
                               monthly owners' statements and details of turnover of management duties from
                               other property manager (7109 Calumet).

                               Business Operations

    1/30/2022 JR          0.50 Review property insurance endorsement and refunds in anticipation for final
                               production to E. Duff (all).

                               Business Operations

    1/31/2022 AW          0.20 Research regarding insurance claim and related email exchange (1700
                               Juneway).

                               Business Operations

                ED        0.70 Email correspondence with J. Rak and insurance agent regarding additional
                               information required for calculation of refunds of prepaid premium amounts
                               (5001 Drexel; 7051 Bennett; 701 S 5th; 2800 E 81st; 4611 Drexel; 1017 W
                               102nd; 1516 E 85th; 2136 W 83rd; 417 Oglesby; 7922 Luella; 7925 Kingston;
                               7933 Kingston; 8030 Marquette; 8529 Rhodes; 8800 Ada; 9212 Parnell; 10012
                               LaSalle; 11318 Church; 3213 Throop; 3723 W 86th; 406 E 87th; 61 E 92nd;
                               6554 Rhodes; 6825 Indiana; 7210 Vernon; 7712 Euclid; 7953 Woodlawn; 8107
                               Kingston; 8346 Constance; 8342 Essex; 8517 Vernon; 2129 W 71st; 9610
                               Woodlawn; 5437 Laflin; 6759 Indiana; 1401 W 109th; 310 E 50th; 6807
                               Indiana).

                               Business Operations

                JR        3.30 Extensive review and update of property insurance endorsements and
                               refunds of properties (all) (2.9); exchange correspondence with E. Duff
                               regarding property insurance endorsements and provide requested
                               information (4533 Calumet) (.4).

                               Business Operations

                JRW       0.80 Review correspondence from insurance company regarding deductibles and
                               related review of documents and communications with K. Duff and K.
                               Pritchard (7748 Essex; 1700 Juneway) (.4); telephone conference with
                               insurance defense counsel and related update to K. Duff (7748 Essex) (.4).

                               Business Operations

                KMP       0.70 Briefly review and forward notices to K. Duff and J. Wine from insurer
                               regarding deductibles for insurance claims against EB properties (7748
                               Essex; 1700 Juneway) (.2); review court docket regarding insurance
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         Date         Indiv Hours Description

                                   claim against EB property, download case-related documents, and related
                                   communications with J. Wine and A. Watychowicz (1700 Juneway) (.5).

                                   Business Operations


SUBTOTAL:                                                                                  [ 84.10       18503.00]

Case Administration

         1/10/2022 AW         1.10 Prepare pleadings for upload to website and related email exchange with IT
                                   vendor.

                                   Case Administration

                      JR      0.80 Download account statements related to properties from online banking portal
                                   and save in electronic files.

                                   Case Administration

         1/11/2022 AW         0.10 Attention to information regarding EB email accounts and related email to J.
                                   Wine.

                                   Case Administration

                      JR      1.90 Download property statements from bank portal for December and save in
                                   property folders.

                                   Case Administration

         1/12/2022 JR         0.20 Exchange communication with A. Watychowicz related to e-filing the
                                   opposition to motion for clarification of November 18, 2021 minute order and
                                   file opposition.

                                   Case Administration

         1/13/2022 JRW        0.40 Correspondence with A. Watychowicz, K. Duff, and M. Rachlis regarding
                                   document management and related telephone conference with vendor.


                                   Case Administration

                      MR      0.20 Attention to production issues and follow up from J. Wine.

                                   Case Administration

         1/14/2022 AW         0.90 Email exchanges with K. Duff and calls with J. Rak and K. Duff regarding EB
                                   email account.

                                   Case Administration

                      JR      1.20 Communication with A. Watychowicz relating to EB records saved on various
                                   storage devices (.5); confer with K. Duff and A. Watychowicz regarding EB
                                   records issues (.6); exchange communication with J. Wine requesting to set
                                   up conference call regarding potential issue relating to records (.1).

                                   Case Administration
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    Date        Indiv Hours Description

    1/14/2022 JRW         0.20 Review correspondence, telephone conference with K. Duff, and email to
                               vendor regarding document database.

                               Case Administration

    1/15/2022 AW          0.50 Work with K. Duff on upload of documents to vendor FTP site.

                               Case Administration

    1/17/2022 AW          0.20 Communicate with K. Duff and J. Wine regarding issue with EB email file.


                               Case Administration

                JR        1.20 Create a spreadsheet containing all the contents of external hard drives
                               related to Equitybuild.

                               Case Administration

    1/18/2022 JRW         0.60 Correspondence with vendor regarding database content, review
                               accumulated correspondence and related telephone conferences with K. Duff
                               and vendors.

                               Case Administration

    1/19/2022 AW          0.10 Attention to order with call-in information, related email to counsel, and
                               update docket (Group 1).

                               Case Administration

                JRW       0.50 Telephone conference with claimants' counsel regarding class action and
                               related review of claimant contact records and correspondence with K. Duff
                               and telephone conference with A. Watychowicz.


                               Case Administration

    1/20/2022 AW          0.20 Attention to orders with hearing time change and regarding discovery, related
                               email to counsel, and update docket (Group 1).

                               Case Administration

    1/24/2022 AW          0.10 Attention to entered order regarding discovery and update docket (Group 1).

                               Case Administration
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    Kevin B. Duff, Receiver                                                                                 Page 24



         Date       Indiv Hours Description

         1/24/2022 JRW        0.20 Confer with K. Duff and M. Rachlis regarding request for claimant information
                                   for class action and related correspondence with plaintiff's counsel.


                                     Case Administration

         1/25/2022 AW         0.10 Attention to joint status report, related email to counsel, and update docket
                                   (Group 1).

                                     Case Administration

         1/27/2022 AW         0.40 Attention to entered orders providing dial-in info for public and order striking
                                   same hearing and joint status report, related correspondence with counsel,
                                   and docket update (Group 1) (.2); compile pleadings requested by M. Rachlis
                                   and related email exchange (.1); request upload of order striking hearing to
                                   website (Group 1) (.1).

                                     Case Administration

         1/28/2022 AW         0.10 Attention to order scheduling hearing and update docket.

                                     Case Administration

         1/31/2022 JRW        0.20 Confer with K. Duff, M. Rachlis and database vendor regarding claimants'
                                   access to database.

                                     Case Administration


SUBTOTAL:                                                                                    [ 11.40         1898.00]

Claims Administration & Objections

         1/3/2022   AW        1.70 Attention to emails from claimants in response to update regarding database
                                   and related email to K. Duff and J. Wine (all) (.1); research claims and
                                   respond to emails responding to update regarding database (all) (.4); email
                                   exchanges regarding revisions to position statement template, approval of
                                   counsel, and serve on claimants (Group 1) (.6); email exchanges regarding
                                   productions of documents by title companies, review and organize
                                   productions and related email to J. Wine (sole lien) (.5); attention to motion
                                   for clarification and related email with counsel (sole lien) (.1).

                                   Claims Administration & Objections

                    JRW       1.70 Confer with A. Watychowicz regarding avoidance disclosure (Group 1) (.1);
                                   correspondence with claimants' counsel regarding deposition exhibits
                                   (Group 1) (.1); review productions pursuant to subpoena and related
                                   correspondence and correspondence to claimants counsel regarding same
                                   (sole lien) (.4); revise position statement template and related
                                   correspondence to Group 1 claimants and related correspondence with K.
                                   Duff, M. Rachlis and SEC (Group 1) (.8); review motion for clarification and
                                   related correspondence regarding response to same (sole lien) (.3).

                                   Claims Administration & Objections
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    Date        Indiv Hours Description


    1/3/2022    MR        0.30 Attention to template for claimants' position statements and related issues
                               (Group 1).

                               Claims Administration & Objections

    1/4/2022    AW        1.30 Attention to numerous emails regarding position statement, revisions to follow
                               up email to claimants regarding position statement and related email (Group
                               1) (.6); email exchange regarding claimant's inquiry, attention to draft
                               response, and related email to claimant (all) (.2); prepare link containing
                               documents produced pursuant to issued subpoenas and related email to
                               counsel (sole lien) (.3); attention to order regarding rebuttal experts and
                               related email to K. Duff and M. Rachlis (Group 1) (.1); attention to motion to
                               clarify and related email to counsel (sole lien) (.1).


                               Claims Administration & Objections

                JRW       4.30 Attention to claimant inquiries regarding position statement and related
                               correspondence with team and telephone conference with SEC (Group 1)
                               (.3); draft correspondence to Group 1 claimants regarding position statement
                               and related correspondence regarding revisions to same (Group 1) (.4);
                               correspondence with claimants' counsel, SEC, and K. Duff regarding Judge
                               Kim's order regarding rebuttal expert (Group 1) (.1); attention to claimant
                               inquiry (all) (.1); confer with team regarding correspondence to courtroom
                               deputy regarding motion to intervene, research claims records, draft
                               response to courtroom deputy, and related telephone conference with
                               counsel for investor-lenders (defer) (.6); draft response to motion for
                               clarification of order and related review of transcript and prior briefing (sole
                               lien) (2.8).


                               Claims Administration & Objections

                MR        0.40 Attention to communications regarding position statement and other orders
                               (Group 1).

                               Claims Administration & Objections

    1/5/2022    AW        0.30 Attention to emails from claimants forwarding position statements and related
                               email exchange with K. Duff and J. Wine (Group 1) (.2); communicate with J.
                               Wine regarding receiver's disclosure (Group 1) (.1).

                               Claims Administration & Objections

                JRW       1.90 Review claimants' position statement (Group 1) (.1); correspondence with
                               claimants' counsel regarding claimant's discovery responses and review same
                               (1017 W 102nd; 1516 E 85th; 2136 W 83rd; 417 Oglesby; 7922 Luella; 8030
                               Marquette; 8104 Kingston; 8403 Aberdeen; 8529 Rhodes; 11318 Church;
                               2129 W 71st; 7925 Kingston; 9212 Parnell; 7210 Vernon; 6825 Indiana; 406 E
                               87th; 6554 Rhodes; 7712 Euclid; 8432 Essex; 3213 Throop; 8107 Kingston;
                               8346 Constance; 10012 LaSalle; 9610 Woodlawn; 6759 Indiana; 8517
                               Vernon) (.2); correspondence with team regarding procedure for responding
                               to, serving and filing claimant position statements (Group 1) (.1); review
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    Date        Indiv Hours Description

                               court's order regarding rebuttal expert and related communications with K.
                               Duff (Group 1) (.1); correspondence with claimants' counsel, SEC and Judge
                               Kim's clerk regarding court's order regarding expert discovery (Group 1) (.3);
                               review expert deposition transcript and prepare notes regarding same
                               (Group 1) (1.1).

                               Claims Administration & Objections

    1/5/2022    MR        0.10 Attention to status on expert issues and attention to order and emails
                               regarding same (Group 1).

                               Claims Administration & Objections

    1/6/2022    JRW       4.40 Confer with K. Duff and M. Rachlis regarding avoidance disclosure (Group 1)
                               (.1); continued review of expert deposition and expert report (Group 1) (2.4);
                               additional legal research and review and revise draft disclosure (Group 1)
                               (1.6); exchange correspondence with K. Pritchard regarding revisions to
                               disclosure and preparation for filing same (Group 1) (.2); attention to claimant
                               inquiry (all) (.1).

                               Claims Administration & Objections

                KMP       0.40 Review draft avoidance disclosure and related communications with
                               J. Wine (Group 1).

                               Claims Administration & Objections

                MR        2.50 Attention to draft disclosure and review related deposition excerpts and
                               materials (Group 1).

                               Claims Administration & Objections

    1/7/2022    JRW       3.90 Review redlines, review and update citations, and further revise disclosure
                               statement (Group 1) (3.3); confer with K. Pritchard regarding certificate of
                               service (Group 1) (.2); continued review of expert reports and notes from
                               expert deposition (Group 1) (.4).

                               Claims Administration & Objections

                KMP       1.10 Revise, finalize, and file avoidance disclosure and related
                               communications with J. Wine (Group 1).

                               Claims Administration & Objections

                MR        2.00 Review and comment on disclosures and follow up on same (Group 1).

                               Claims Administration & Objections

    1/10/2022 AW          2.30 Attention to claimant email request for position statement and related email
                               response (Group 1) (.1); attention to emails from claimants regarding claims
                               process, properties sale, and requests for claims documentation (all) (1.3);
                               email exchanges regarding communication with claimants and email
                               claimants hearing information and Receiver's disclosure (all) (.6); attention to
                               email with request to update mailing address and related email (all) (.2);
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    Date        Indiv Hours Description

                               attention to joint status report regarding rebuttal expert and related email to
                               counsel (Group 1) (.1).

                               Claims Administration & Objections

    1/10/2022 JRW         0.50 Exchange correspondence with claimants' counsel regarding status report
                               on expert discovery and review and comment on draft of same (Group 1) (.1);
                               exchange correspondence with counsel for claimants and M. Rachlis
                               regarding stipulation on motion for leave to file state court action (defer) (.2);
                               correspondence from counsel for government agency and A. Porter
                               regarding lien against properties (1131 E 79th; 7024 Paxton) (.1); review
                               discovery responses and related correspondence to K. Duff and M. Rachlis
                               (1017 W 102nd; 1516 E 85th; 2136 W 83rd; 417 Oglesby; 7922 Luella; 8030
                               Marquette; 8104 Kingston; 8403 Aberdeen; 8529 Rhodes; 11318 Church;
                               2129 W 71st; 7925 Kingston; 9212 Parnell; 7210 Vernon; 6825 Indiana; 406
                               E 87th; 6554 Rhodes; 7712 Euclid; 8432 Essex; 3213 Throop; 8107 Kingston;
                               8346 Constance; 10012 LaSalle; 9610 Woodlawn; 6759 Indiana; 8517
                               Vernon) (.1).

                               Claims Administration & Objections

                MR        0.90 Review and work on draft response to motion to clarify (sole lien).

                               Claims Administration & Objections

    1/11/2022 AW          2.30 Attention to emails regarding scheduled hearing, requests for claims
                               documentation, and claims process questions (all) (.8); attention to
                               received position statements and related communication with J. Wine
                               (Group 1) (.7); attention to marked deposition exhibits and update records
                               (Group 1) (.3); attention to response to motion to clarify and email counsel
                               proposed revisions (sole lien) (.5).

                               Claims Administration & Objections

                JRW       1.10 Review revisions, comment and further revise response to motion for
                               clarification (sole lien) (1.0); review claimants' position statements and related
                               correspondence with A. Watychowicz (Group 1) (.1).

                               Claims Administration & Objections

                MR        0.30 Further attention to draft response on motion to clarify (sole lien).

                               Claims Administration & Objections

    1/12/2022 AW          0.30 Communicate with J. Wine regarding response to motion for clarification (sole
                               lien) (.1); finalize response to motion for clarification and related email to K.
                               Duff (sole lien) (.2).

                               Claims Administration & Objections

                JRW       1.00 Review position statements (Group 1) (.2); review claims against property
                               and related analysis to K. Duff (7024 S Paxton) (.3); attention to finalizing and
                               filing response to motion for clarification (sole lien) (.3); telephone conference
                               and correspondence with claimants' counsel regarding proposed order
                               (defer) (.2).

                               Claims Administration & Objections
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    Date        Indiv Hours Description


    1/12/2022 MR          0.40 Further review and follow up on response to motion to clarify and emails
                               regarding same (sole lien).

                               Claims Administration & Objections

    1/13/2022 AW          0.10 Respond to claimant regarding submission (Group 1).

                               Claims Administration & Objections

    1/14/2022 AW          0.20 Communicate with claimant regarding update to contact information
                               (Group 1) (.1); attention to claimant's motion regarding additional
                               discovery and update docket (Group 1) (.1).

                               Claims Administration & Objections

                MR        0.40 Attention to motion for additional discovery on Group 1 (Group 1) (.3);
                               attention to issues on EB documents database (all) (.1).

                               Claims Administration & Objections

    1/15/2022 AEP         0.30 Prepare e-mail to claimants' counsel regarding expert discovery issue and
                               potential discovery (Group 1).

                               Claims Administration & Objections

    1/17/2022 AW          2.00 Attention to numerous position statements from claimants (Group 1) (1.2);
                               review contact sheet and update emailing information per claimant's request
                               (all) (.2); communicate with claimant's counsel regarding access to claims
                               files (all) (.1); response to claimant's inquiry regarding sold property (8100
                               Essex) (.1); email exchange with claimant regarding position statement
                               template (Group 1) (.1); attention to inquiry regarding claims process and
                               timing and related email response (all) (.1); call and email exchange with K.
                               Pritchard regarding possible claim (all) (.2).

                               Claims Administration & Objections

                MR        0.20 Attention to emails and discovery related issues (Group 1).

                               Claims Administration & Objections

    1/18/2022 AEP         0.40 Read motion for leave to take additional discovery filed by claimant in
                               connection with Claims Group 1 and prepare for related discussion (Group
                               1).

                               Claims Administration & Objections
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    Date        Indiv Hours Description

    1/18/2022 AW          1.30 Research regarding counsel involved in closings (7500 Eggleston; 7549
                               Essex; 8100 Essex; 6160 MLK; 7927 Essex; 7933 Essex; 7937 Essex; 7943
                               Essex; 7947 Essex; 5001 Drexel; 7301 Stewart; 7834 Ellis; 5955
                               Sacramento; 6001 Sacramento; 7026 Cornell; 3030 E 79th; 2909 E 78th;
                               7748 Essex; 8047 Manistee; 701 S 5th; 7749 Yates; 6749 Merrill; 7450
                               Luella; 7546 Saginaw; 8201 Kingston; 4520 Drexel; 8326 Ellis; 8334 Ellis;
                               8342 Ellis; 8352 Ellis; 5450 Indiana; 6437 Kenwood; 7760 Coles; 8000
                               Justine; 8107 Ellis; 8214 Ingleside; 8209 Ellis; 11117 Longwood; 7300 St
                               Lawrence; 7110 Cornell; 7957 Marquette; 7051 Bennett; 2736 W 64th; 6356
                               California; 6355 Talman; 5618 MLK; 6554 Vernon; 1700 W Juneway; 7201
                               Dorchester; 7508 Essex; 431 E 42nd; 7701 Essex; 7442 Calumet; 816 E
                               Marquette; 6949 Merrill; 4533 Calumet; 4315 Michigan; 7600 Kingston; 7656
                               Kingston; 1131 E 79th; 6250 Mozart; 4750 Indiana; 7024 Paxton; 7840 Yates;
                               2800 E 81st; 4611 Drexel; 1414 E 62nd; 1017 W 102nd; 1516 E 85th; 2136
                               W 83rd; 417 Oglesby; 7922 Luella; 7925 Kingston; 7933 Kingston; 8030
                               Marquette; 8104 Kingston; 8403 Aberdeen; 8405 Marquette; 8529 Rhodes;
                               8800 Ada; 9212 Parnell; 10012 LaSalle; 11318 Church; 3213 Throop; 3723
                               W 68th; 406 E 87th; 61 E92nd; 6554 Rhodes; 6825 Indiana; 7210 Vernon;
                               7712 Euclid; 7953 Woodlawn; 8107 Kingston; 8346 Constance; 8432 Essex;
                               8517 Vernon; 2129 W 71st; 9610 Woodlawn; 5437 Laflin; 6759 Indiana; 1401
                               W 109th; 310 E 50th; 6807 Indiana; 1422 E 68th; 7255 Euclid; 7237 Bennett;
                               6217 Dorchester; 1102 Bingham; 638 N Avers; 7109 Calumet) (.9); attention
                               to email from vendor regarding EB emails, research files from vendor, and
                               related email to K. Duff and J. Wine (all) (.4).

                               Claims Administration & Objections

                JRW       1.30 Confer with K. Duff regarding motion for discovery (Group 1) (.1); study
                               motion for discovery and prepare notes regarding same (Group 1) (.8);
                               review production documents regarding account statements (Group 1)
                               (.4).

                               Claims Administration & Objections

                MR        0.40 Review and attention to motion for discovery (Group 1).

                               Claims Administration & Objections

    1/19/2022 AEP         1.80 Teleconference with K. Duff, M. Rachlis, and J. Wine regarding discovery
                               issues, use of proceeds of refinance, and related matters (Group 1).

                               Claims Administration & Objections

                AW        3.70 Call with J. Wine regarding position statements, redactions, and upcoming
                               filing (Group 1) (.2); call with J. Wine regarding claimants' full contact list (all)
                               (.3); complete research regarding counsel involved in closings (all except
                               Group 1) (.7); attention to email from claimants and related email to K. Duff
                               and J. Wine (Group 1) (.1); work on redactions to position statements court
                               filing (Group 1) (2.4).

                               Claims Administration & Objections

                JRW       2.80 Correspondence with SEC and claimants' counsel regarding discovery
                               sought by claimant (Group 1) (.1); extended conference with K. Duff, A.
                               Porter and M. Rachlis regarding response to discovery motion,
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    Date        Indiv Hours Description

                               preparation for hearing, and evidence supporting claim (Group 1) (1.8);
                               telephone conference with A. Watychowicz regarding position statements,
                               redactions, and upcoming filing (Group 1) (.2); review hearing transcripts in
                               preparation for hearing on discovery motion and related correspondence with
                               M. Rachlis (Group 1) (.5); correspondence to A. Porter regarding documents
                               produced pursuant to subpoena (all) (.2).

                               Claims Administration & Objections

    1/19/2022 MR          2.50 Review motion and attention to various issues on motion for discovery and to
                               prepare for hearing (Group 1) (1.5); conferences regarding motion for
                               discovery with J. Wine, K. Duff and A. Porter (Group 1) (1.0).

                               Claims Administration & Objections

    1/20/2022 AW          0.80 Complete redactions of received position statements for court filings and
                               related email to J. Wine (Group 1) (.6); draft response to claimants (Group
                               1) (.2).

                               Claims Administration & Objections

                JRW       1.20 Analysis of evidence relating to avoidance claim and related
                               correspondence with M. Rachlis and K. Duff (Group 1) (.4); appear
                               telephonically in court on claimant's motion for discovery (Group 1) (.4);
                               telephone conference with claimants' counsel regarding document
                               production (Group 1) (.1); review and revise proposed order and related
                               correspondence with K. Duff, M. Rachlis and claimants' counsel (Group 1)
                               (.3).

                               Claims Administration & Objections

                MR        2.40 Prepare for and participate in hearing on discovery (Group 1) (1.7);
                               conference with K. Duff (Group 1) (.4); attention to various issues on draft
                               order (Group 1) (.3).

                               Claims Administration & Objections

    1/21/2022 AW          0.40 Correspond with J. Wine regarding claimants' position statements (Group 1)
                               (.1); communicate with J. Wine regarding bank statement, research regarding
                               same, and related email to J. Wine (Group 1) (.3).

                               Claims Administration & Objections

                JRW       0.80 Confer with M. Rachlis regarding claimant inquiry and position statements
                               (Group 1) (.2); confer with A. Watychowicz regarding position statements
                               (.2); confer with A. Watychowicz and A. Porter regarding bank statements
                               and related searches for same (Group 1) (.2); correspondence to claimants'
                               counsel regarding document production (Group 1) (.1); review contention
                               discovery requests (Group 1) (.1).

                               Claims Administration & Objections

                MR        0.60 Attention to various issues on position statements and discovery issues
                               (Group 1) (.4); conferences regarding various issues on position
                               statements and discovery issues with J. Wine (Group 1) (.2).

                               Claims Administration & Objections
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    Date        Indiv Hours Description


    1/24/2022 AW          0.80 Email exchanges with claimant regarding service of position statements,
                               email service, and status on sold properties (Group 1) (.3); draft response to
                               claimants regarding representation by counsel and position statement and
                               related email to claimant (Group 1) (.2); attention to document production
                               from a third party and related communications with J. Wine and K. Pritchard
                               (sole lien) (.3).

                               Claims Administration & Objections

                JRW       5.20 Confer with A. Watychowicz regarding document production (sole lien) (.1);
                               attention to claimant inquiries (all) (.3); correspondence with SEC, claimants'
                               counsel and EB team regarding status report and related review of hearing
                               transcript (Group 1) (.3); review and revise draft status report (Group 1) (.2);
                               confer with A. Watychowicz regarding plan for filing of claimants' position
                               statements (Group 1) (.1); attention to review of claim submissions and
                               subpoena responses and related analysis to K. Duff and M. Rachlis (sole lien)
                               (4.2).


                               Claims Administration & Objections

                MR        1.00 Attention to claims status report related issues (Group 1) (.2); attention to
                               discovery issues and review of claims (sole lien) (.3); attention to request for
                               claim information and related conference (defer) (.5).

                               Claims Administration & Objections

    1/25/2022 AW          0.20 Exchange correspondence with claimant regarding his duplicative submission
                               (Group 1) (.1); draft response to claimant inquiring about claims process
                               length and proceeds from sales and related email response (8100 Essex)
                               (.1).

                               Claims Administration & Objections

                JR        1.40 Communication with J. Wine requesting an update on claims spreadsheet
                               related to sole claims for various properties and update same (2136 W 83rd;
                               7922 Luella; 7925 Kingston; 7933 Kingston; 8104 Kingston; 8030 Marquette;
                               8403 Aberdeen; 8529 Rhodes; 8800 Ada; 9212 Parnell; 1516 E 85th; 1017 W
                               102nd; 417 Oglesby; 8405 Marquette; 8517 Vernon; 8432 Essex; 8346
                               Constance; 7953 Woodlawn; 7712 Euclid; 61 E. 92nd; 406 E. 87th; 3723 W.
                               68th; 3213 Throop; 11318 Church; 10012 LaSalle; 6554 Rhodes; 6825
                               Indiana; 7210 Vernon; 8107 Kingston; 2129 W. 71st; 6759 Indiana; 5437
                               Laflin; 9610 Woodlawn; 7304 St. Lawrence; 7760 Coles; 310 E. 50th; 1401
                               W. 109th; 6807 Indiana; 8000 Justine; 8107 Ellis; 8209 Ellis; 8214 Ingleside).

                               Claims Administration & Objections

                JRW       3.10 Continued review and analysis of proof of claims submissions (sole lien) (.8);
                               conference call with K. Duff and M. Rachlis regarding analysis of claims and
                               status of discovery (sole lien) (.9); conference call with K. Duff and M. Rachlis
                               regarding Receiver's position statement (Group 1) (.3); confer with K. Duff
                               and M. Rachlis regarding EB document database (all) (.2); compile materials
                               and related conference with J. Rak regarding claim allocation tracking
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                               spreadsheet (sole lien) (.2); confer with A. Watychowicz and K. Duff regarding
                               claimant inquiry and property groupings (all) (.2); confer with A. Watychowicz
                               regarding claimant distribution list and claimant inquiry (Group 1) (.1); review
                               updated claims spreadsheet related to sole claims for various properties
                               from J. Rak, further revise, and related telephone conference with J. Rak and
                               exchange of correspondence with K. Duff and M. Rachlis (sole lien) (.4).

                               Claims Administration & Objections

    1/25/2022 MR          2.00 Prepare for meeting on sole lien claims (sole lien) (.5); conference with K.
                               Duff and J. Wine regarding discovery issues and analysis of claims (sole lien)
                               (1.0); confer with K. Duff and J. Wine regarding position statement planning
                               (Group 1) (.3); confer with K. Duff and J. Wine regarding EB records
                               database (all) (.2).

                               Claims Administration & Objections

    1/26/2022 AW          3.90 Attention to email from counsel for institutional lender regarding reports on
                               specific properties, research supporting documents and Receiver's filings,
                               and related email to M. Rachlis (7508 Essex; 4315 Michigan) (.7); call with J.
                               Wine regarding communication issues for claimant, work on resolution of
                               problem, and related emails to claimants (Group 1) (.8); respond to claimant
                               regarding filing of position statements (Group 1) (.1); work on review of
                               claimants' position statements and redactions (Group 1) (2.3).

                               Claims Administration & Objections

                JRW       5.90 Exchange correspondence with M. Rachlis and A. Watychowicz regarding
                               inquiry from claimant 's counsel regarding property address and related
                               research (4317 Michigan) (.2); exchange correspondence with K. Duff
                               regarding claimants' position statements (Group 1) (.1); confer with K. Duff
                               and M. Rachlis regarding proof of claim and related correspondence to E.
                               Duff and A. Porter (1017 W 102nd; 1516 E 85th; 2136 W 83rd; 417 Oglesby;
                               7922 Luella; 7925 Kingston; 7933 Kingston; 8030 Marquette; 8104 Kingston;
                               8403 Aberdeen; 8405 Marquette; 8529 Rhodes; 8800 Ada; 9212 Parnell;
                               10012 LaSalle; 11318 Church; 3213 Throop; 3723 W 68th; 406 E 87th; 61 E
                               92nd; 6554 Rhodes; 6825 Indiana; 7210 Vernon; 7712 Euclid; 7953
                               Woodlawn; 8107 Kingston; 8346 Constance; 8432 Essex; 8517 Vernon; 2129
                               W 71st; 5437 Laflin; 6759 Indiana; 9610 Woodlawn; 7300 St Lawrence; 7760
                               Coles; 1401 W 109th; 310 E 50th; 6807 Indiana; 8000 Justine; 8107 Ellis;
                               8209 Ellis; 8214 Ingleside) (.3); continued review and analysis of claims and
                               related database searches (sole lien) (4.3); telephone conferences with A.
                               Watychowicz regarding claimants' position statements and Group 1
                               distribution list and review and revise draft correspondence to claimant
                               (Group 1) (.3); exchange correspondence with claimants' counsel regarding
                               lack of response to subpoena (sole lien) (.1); prepare analysis of claim and
                               related correspondence with K. Duff and M. Rachlis (sole lien) (.4); confer
                               with A. Watychowicz and correspondence with vendor regarding document
                               database searches (all) (.2).

                               Claims Administration & Objections
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Kevin B. Duff, Receiver                                                                                 Page 33



    Date        Indiv Hours Description

    1/26/2022 MR          0.40 Exchange regarding issue of timing for distribution of position statements
                               (Group 1) (.1); attention to emails regarding issues on review of sole lien
                               claims and proof of claims (sole lien) (.3).

                               Claims Administration & Objections

    1/27/2022 AW          3.90 Call with J. Wine and database vendor regarding search issues and possible
                               access extension (all) (.5); call with J. Wine regarding claimants' position
                               statements (Group 1) (.2); work on follow up response to claimant with email
                               issues (Group 1) (.2); correspond with J. Wine regarding received claimants'
                               position statements (Group 1) (.1); attention to received claimants' position
                               statements, forward filed statements to counsel, review received statements,
                               and redactions (Group 1) (2.7); draft email to claimants regarding stricken
                               hearing and send same (Group 1) (.2).

                               Claims Administration & Objections

                JRW       3.20 Exchange correspondence and telephone conference with database vendor
                               and A. Watychowicz regarding search and export strategies (all) (.6); confer
                               with A. Watychowicz regarding message to claimants regarding upcoming
                               hearing (all) (.1); review court order and related email to counsel regarding
                               videoconferencing (sole lien) (.1); confer with A. Watychowicz regarding
                               claimant position statements and service of same (Group 1) (.3); review
                               documents produced pursuant to subpoena and additional database
                               searches (sole lien) (1.1); conference with M. Rachlis and K. Duff regarding
                               analysis of claims and to prepare for upcoming hearing (sole lien) (.9);
                               review court order terminating hearing and related correspondence with
                               claimants' counsel (sole lien) (.1).

                               Claims Administration & Objections

                MR        2.00 Preparation for upcoming meeting and hearing regarding claims review and
                               disclosures for Group 1 and start review of same (Group 1) (.8); conferences
                               and issues regarding sole lien issues with J. Wine and K. Duff (sole lien) (.9);
                               attention to and follow up on sole lien (sole lien) (.3).

                               Claims Administration & Objections

    1/28/2022 AW          3.10 Call with J. Wine regarding position statements (Group 1) (.3); attention to
                               received position statements, forward filed statements to counsel, review
                               received statements, and redactions (Group 1) (1.8); call with J. Rak
                               regarding further review of position statements (Group 1) (.4); draft response
                               to claimants regarding position statements submitted after deadline and
                               related email exchange with J. Wine (Group 1) (.2); forward position
                               statements to claimant (Group 1) (.2); research and communicate with
                               claimant regarding access to claims files (5001 Drexel; 6437 Kenwood;
                               6217 Dorchester; 11117 Longwood) (.2).

                               Claims Administration & Objections

                ED        0.50 Telephone conference with J. Wine to discuss analysis of loan history
                               documents (1017 W 102nd; 1516 E 85th; 2136 W 83rd; 417 Oglesby; 7922
                               Luella; 7925 Kingston; 7933 Kingston; 8030 Marquette; 8104 Kingston; 8403
                               Aberdeen; 8405 Marquette; 8529 Rhodes; 8800 Ada; 9212 Parnell; 10012
                               LaSalle; 11318 Church; 3213 Throop; 3723 W 68th; 406 E 87th; 61 E 92nd;
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    Date        Indiv Hours Description

                               6554 Rhodes; 6825 Indiana; 7210 Vernon; 7712 Euclid; 7953 Woodlawn; 8107
                               Kingston; 8346 Constance; 8432 Essex; 8517 Vernon; 2129 W 71st; 5437 Laflin;
                               6759 Indiana; 9610 Woodlawn; 7300 St Lawrence; 7760 Coles; 1401 W 109th;
                               310 E 50th; 6807 Indiana; 8000 Justine; 8107 Ellis; 8209 Ellis; 8214 Ingleside).

                               Claims Administration & Objections

    1/28/2022 JR          0.40 Exchange communication with A. Watychowicz requesting a review of
                               redacted position statements related to claimants (3074 Cheltenham; 7625
                               East End; 7635 East End; 7750 Muskegon; 7201 Constance) (.3);
                               communication with J. Wine requesting status on future steps on claimant
                               position statement in anticipation of the upcoming filing (3074 Cheltenham;
                               7625 East End; 7635 East End; 7750 Muskegon; 7201 Constance) (.1).

                               Claims Administration & Objections

                JRW       3.00 Attention to claimant inquiry regarding position statement (Group 1) (.1);
                               exchange correspondence regarding court hearing and notice to claimants
                               (all) (.1); exchange correspondence with M. Rachlis regarding Receiver's
                               position statement and related review of spreadsheets (Group 1) (.6); confer
                               with J. Rak regarding claim analysis for position statement (Group 1) (.1);
                               review draft joint status report and related correspondence with claimants'
                               counsel (Group 1) (.1); confer with M. Rachlis regarding status and planning
                               for single claim process (sole lien) (.1); telephone conference with E. Duff
                               regarding claim analysis (1017 W 102nd; 1516 E 85th; 2136 W 83rd; 417
                               Oglesby; 7922 Luella; 7925 Kingston; 7933 Kingston; 8030 Marquette; 8104
                               Kingston; 8403 Aberdeen; 8405 Marquette; 8529 Rhodes; 8800 Ada; 9212
                               Parnell; 10012 LaSalle; 11318 Church; 3213 Throop; 3723 W 68th; 406 E
                               87th; 61 E 92nd; 6554 Rhodes; 6825 Indiana; 7210 Vernon; 7712 Euclid; 7953
                               Woodlawn; 8107 Kingston; 8346 Constance; 8432 Essex; 8517 Vernon; 2129
                               W 71st; 5437 Laflin; 6759 Indiana; 9610 Woodlawn; 7300 St Lawrence; 7760
                               Coles; 1401 W 109th; 310 E 50th; 6807 Indiana; 8000 Justine; 8107 Ellis;
                               8209 Ellis; 8214 Ingleside) (.5); exchange correspondence with vendor
                               regarding claimant inquiry (all) (.1); legal research for position statements
                               (all) (.6); review position statements (Group 1) (.7).

                               Claims Administration & Objections

                JRW       0.20 Correspondence with claimants' counsel regarding subpoena, related
                               USPS tracking and correspondence to K. Duff (1017 W 102nd; 1516 E
                               85th; 2136 W 83rd; 417 Oglesby; 7922 Luella; 8030 Marquette; 8104
                               Kingston; 8403 Aberdeen; 8529 Rhodes; 11318 Church; 2129 W 71st;
                               7925 Kingston; 9212 Parnell; 7210 Vernon; 6825 Indiana; 406 E 87th; 6554
                               Rhodes; 7712 Euclid; 8432 Essex; 3213 Throop; 8107 Kingston; 8346
                               Constance; 10012 LaSalle; 9610 Woodlawn; 6759 Indiana; 8517 Vernon).

                               Claims Administration & Objections

                MR        3.40 Attention to various issues on position statements and form and substance
                               for response to same (Group 1) (.8); continue review of position statements
                               and related exchanges with J. Wine (Group 1) (2.2); attention to various
                               issues regarding discovery and items to follow up and related exchanges with
                               J. Wine (sole lien) (.2).

                               Claims Administration & Objections
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    Kevin B. Duff, Receiver                                                                                  Page 35



        Date        Indiv Hours Description


        1/31/2022 AW          1.40 Attention to and response to claimant regarding sold properties (638 Avers;
                                   7844 Ellis) (.1); prepare files for claimant and related email (5001 Drexel;
                                   6437 Kenwood; 6217 Dorchester; 11117 Longwood) (.2); update position
                                   statements and an index and related email to J. Wine (Group 1) (.4);
                                   attention to emails regarding access to database and related email
                                   exchanges with J. Wine (all) (.2); review further redactions to position
                                   statements and related email to J. Rak (Group 1) (.3); research claim and
                                   related email to J. Wine (all) (.2).

                                   Claims Administration & Objections

                    JR        6.10 Review position statements for personal information (3074 Cheltenham; 7625
                                   East End; 7635 East End; 7750 Muskegon; 7201 Constance) (1.8); exchange
                                   correspondence with A. Watychowicz regarding additional items on claimant
                                   positions statements that need to be redacted (3074 Cheltenham; 7625 East
                                   End; 7635 East End; 7750 Muskegon; 7201 Constance) (.1); exchange
                                   correspondence with J. Wine regarding review of all claims against property
                                   (7625 S East End) (.8); review and update spreadsheet containing claimant's
                                   claim information for property (7635 S East End) (3.4).

                                   Claims Administration & Objections

                    JRW       5.70 Exchange correspondence with claimants' counsel regarding service of
                                   subpoena (sole lien) (.1); conference with J. Rak regarding claims analysis
                                   for Receiver's submission (Group 1) (.8); analyze position statements filed by
                                   claimants (Group 1) (4.3); attention to correspondence from claimants and
                                   counsel regarding EquityBuild documents database (Group 1) (.4);
                                   exchange correspondence regarding claimants' request for passwords for
                                   recovered records (all) (.1).

                                   Claims Administration & Objections

                    MR        0.20 Attention to various issues on claims library and other related issues (Group
                                   1) (.1); attention to status on discovery on sole lien matters (sole lien) (.1).

                                   Claims Administration & Objections


SUBTOTAL:                                                                                    1[16.00         28734.00]

Status Reports

        1/3/2022    ED        0.30 Call with J. Wine to discuss process for allocation of insurance refunds to
                                   sold properties.

                                   Status Reports

        1/11/2022 AW          0.40 Research regarding traffic in Receiver's and claims' email accounts and
                                   related email to J. Wine.

                                   Status Reports
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     Date        Indiv Hours Description


     1/11/2022 ED          0.10 Email correspondence with J. Wine regarding status of property financial
                                reporting.

                                Status Reports

                 JRW       2.30 Begin drafting fourth quarter 2021 status report and related correspondence
                                to team regarding items needed.

                                Status Reports

     1/12/2022 AW          0.10 Follow up communication with J. Wine regarding email traffic in Receiver's
                                and claims' accounts.

                                Status Reports

                 KMP       3.10 Begin preparation of financial exhibits for 4Q2021 status report.

                                Status Reports

     1/13/2022 KMP         1.40 Work on preparation of financial exhibits for 4Q2021 status report.

                                Status Reports

     1/14/2022 KMP         3.20 Continue work on preparation of financial exhibits for 4Q2021 status report.


                                Status Reports

     1/17/2022 KMP         2.70 Continue work on preparation of financial exhibits for 4Q2021 status report.


                                Status Reports

     1/18/2022 JRW         0.20 Review financial schedules for fourth quarter 2021 status report.

                                Status Reports

                 KMP       0.80 Continue work on preparation of financial exhibits for 4Q2021 status report
                                and related communication with J. Wine.

                                Status Reports

     1/20/2022 JRW         4.20 Continued preparation of fourth quarter status report and related
                                communications with K. Pritchard regarding revision of financial exhibits.

                                Status Reports

                 KMP       0.50 Update spreadsheet detailing current property account balances to include
                                additional property, revise master asset list for 4Q2021 status report, and
                                related communications with J. Wine.

                                Status Reports
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     Date        Indiv Hours Description

     1/21/2022 JR          0.20 Review email from J. Wine, review property tax balances and respond
                                regarding same for property (7109 Calumet).

                                Status Reports

                 JRW       1.80 Revise exhibits and revise and circulate draft status report.

                                Status Reports

                 KMP       1.10 Communications with J. Wine regarding certain issues relating to
                                spreadsheets for 4Q2021 status report and update and revise spreadsheets.


                                Status Reports

     1/22/2022 AEP         0.60 Read, edit, and revise proposed insert to 4th Qtr status report regarding state
                                court litigation.

                                Status Reports

     1/24/2022 AW          0.60 Communicate with J. Wine regarding master claims list and prepare exhibit to
                                status report.

                                Status Reports

                 JRW       1.00 Revisions to fourth quarter status report and confer with K. Pritchard and A.
                                Watychowicz regarding exhibits to same.

                                Status Reports

                 KMP       0.60 Prepare electronic files for exhibits to 4Q2021 status report and related
                                communications with J. Wine and A. Watychowicz.

                                Status Reports

     1/25/2022 JRW         2.40 Review revisions, further revise and finalize draft fourth quarter 2021 status
                                report, and related correspondence to SEC (.7); study spreadsheets
                                regarding net sales proceeds and account balances and related
                                correspondence with K. Duff and J. Rak and revision of exhibit to status
                                report (1.7).

                                Status Reports

                 KMP       0.30 Revise certain exhibits for 4Q2021 status report and related communications
                                with J. Wine.

                                Status Reports

                 MR        0.50 Attention to draft status report and follow up regarding same.

                                Status Reports

     1/31/2022 AW          0.10 Attention to status report and email counsel regarding transmittal email to
                                claimants.

                                Status Reports
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    Kevin B. Duff, Receiver                                                                                 Page 38



        Date        Indiv Hours Description




        1/31/2022 JRW         0.40 Revise and finalize fourth quarter status report for filing.

                                   Status Reports

                    KMP       0.40 Revise, finalize and file Receiver's 14th status report and exhibits, and related
                                   communications with EB team.

                                   Status Reports

                    MR        0.30 Review draft status report and revisions and related communications.

                                   Status Reports


SUBTOTAL:                                                                                         [ 29.60    6070.00]

Tax Issues

        1/17/2022 KMP         1.60 Review spreadsheets and other materials to compile list of ownership entities
                                   for various properties, review tax documents and notices to identify tax
                                   authority claims against ownership entities, and prepare spreadsheet relating
                                   to tax claims (Group 1; sole lien) (1.4); confer with A. Watychowicz to request
                                   information relating to tax authority claims submitted against ownership
                                   entities through receivership claims process (.2).

                                   Tax Issues

        1/18/2022 JRW         0.20 Review correspondence and lists regarding tax authority claims against
                                   property owners (Group 1; sole lien).

                                   Tax Issues

                    KMP       1.90 Communicate with K. Duff and J. Wine regarding analysis of EB ownership
                                   entities for various properties (Group 1; sole lien) (.2); work on revising
                                   spreadsheet detailing communications from tax authorities to include
                                   implicated properties and claims relating to withholding and other employment
                                   related taxes (1.7).

                                   Tax Issues

        1/20/2022 KMP         3.90 Continue work on spreadsheet tracking status of notices received from tax
                                   authorities (2.4); prepare and compile spreadsheets tracking receipts and
                                   disbursements for all receivership accounts for 2021 and transmit to tax
                                   administrator pursuant to her request (1.3); forward notice from tax
                                   authority relating to EB entity to accountant for review and advice as to
                                   response (.2).

                                   Tax Issues

        1/21/2022 KMP         3.60 Continue work on spreadsheet tracking status of notices received from tax
                                   authorities.

                                   Tax Issues
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   Kevin B. Duff, Receiver                                                                                 Page 39



       Date        Indiv Hours Description


       1/24/2022 KMP         2.70 Continue work on spreadsheet tracking status of notices received from tax
                                  authorities.

                                  Tax Issues

       1/25/2022 KMP         2.80 Communicate with J. Wine and tax administrator regarding information for
                                  forms 1099 (.2); review property account bank records in connection with
                                  year-end accounting and related communications with tax administrator (1.5);
                                  continue preparation of spreadsheet tracking information relating to notices
                                  from tax authorities (1.1).

                                  Tax Issues

       1/26/2022 KMP         1.30 Communicate with vendors and tax administrator regarding requests for
                                  forms W9 in connection with preparation of Receivership tax filings,
                                  compile received forms, and forward forms to tax administrator (.6):
                                  continue work on spreadsheet tracking receipt and status of tax authority
                                  and collection notices (.7).

                                  Tax Issues

       1/27/2022 KMP         0.50 Continue work on spreadsheet tracking receipt and status of tax authority and
                                  collection notices (.2); finalize and transmit notice letter to tax authority and
                                  collection agency regarding tax collection notice for EB entity (6949 Merrill)
                                  (.3).

                                  Tax Issues

       1/28/2022 KMP         2.20 Continue work on spreadsheet tracking receipt and status of tax authority and
                                  collection notices, and related email communication with K. Duff (1.8);
                                  communication with tax administrator regarding her request for additional
                                  forms W9 from service providers for preparation of Receivership 2021 tax
                                  returns, and related communications with service providers to request forms
                                  W9 (.4).

                                  Tax Issues


SUBTOTAL:                                                                                   [ 20.70         2922.00]




                                                                                            279.50       $61,240.00
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    Kevin B. Duff, Receiver                                                                  Page 40




Other Charges

                                       Description

Asset Analysis & Recovery

                                       Photocopies for January 2022                            146.40


SUBTOTAL:                                                                               [       146.40]

Business Operations

                                       Software license fees for January 2022 (Summit          458.82
                                       Hosting, $362.82 (Summit Hosting (December
                                       & January, $181.41/month)); Google Suite,
                                       $96)

SUBTOTAL:                                                                               [       458.82]

Claims Administration & Objections

                                       Online research for January 2022                        247.27


SUBTOTAL:                                                                               [       247.27]


Total Other Charges                                                                           $852.49




                                     Summary of Activity
                                                                          Hours     Rate
Jodi Wine                                                                 85.50   260.00    $22,230.00
Ania Watychowicz                                                          38.30   140.00     $5,362.00
Justyna Rak                                                               54.40   140.00     $7,616.00
Kathleen M. Pritchard                                                     57.80   140.00     $8,092.00
Andrew E. Porter                                                           4.00   390.00     $1,560.00
Ellen Duff                                                                17.70   390.00     $6,903.00
Michael Rachlis                                                           25.70   390.00    $10,023.00
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                                   SUMMARY


               Legal Services                                  $61,786.00
               Other Charges                                      $852.49

                  TOTAL DUE                                    $62,638.49
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                                 Rachlis Duff & Peel, LLC
                                       542 South Dearborn Street
                                                                                             tel (312) 733-3950
                                               Suite 900                                     fax (312) 733-3952
                                        Chicago, Illinois 60605




May 3, 2022

Kevin B. Duff, Receiver
c/o Rachlis Duff & Peel, LLC
542 S. Dearborn Street, Suite 900
Chicago, IL 60605




 Re: SEC v. EquityBuild Inc., EquityBuild Finance, LLC, Jerome H.                         Fed. I.D. No. XX-XXXXXXX
     Cohen, and Shaun D. Cohen                                                            Invoice No. 6622143
     No. 18-cv-5587, US Dist. Ct., Northern Dist. of Illinois, Eastern Div.



 Legal Fees for February 2022                                             $84,938.00

 Expenses Disbursed                                                           $1,536.45


 Due this Invoice                                                         $86,474.45
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    Kevin B. Duff, Receiver                                                                                Page 2




         Date       Indiv Hours Description

Asset Analysis & Recovery

         2/4/2022   JRW       0.20 Research regarding vendor and related correspondence to K. Duff.

                                   Asset Analysis & Recovery

         2/10/2022 AW         0.90 Confer with K. Duff regarding records for potential recovery and research
                                   various records.

                                   Asset Analysis & Recovery

         2/15/2022 AW         1.90 Call with K. Duff regarding subpoena (.1); email exchange with K. Duff
                                   regarding proposed search terms for response to subpoena (.1); work to
                                   compile emails responsive to subpoena and related email exchanges with
                                   K. Duff (1.7).

                                   Asset Analysis & Recovery

         2/21/2022 AW         1.10 Prepare materials responsive to subpoena for K. Duff's review (.1);
                                   communicate with K. Duff regarding review process and responsive
                                   documents organized in keyword specific folders relating to subpoena (.4);
                                   draft certificate of authenticity and waiver of appearance and related
                                   exchange with K. Duff (.4); attention to received documents responsive to
                                   subpoena and related communication with J. Wine and K. Pritchard (.2).

                                   Asset Analysis & Recovery

         2/22/2022 AW         0.50 Complete certificate of authenticity and waiver of appearance and work with
                                   K. Duff and government on transmission of responsive documents relating to
                                   subpoena.

                                   Asset Analysis & Recovery


SUBTOTAL:                                                                                  [ 4.60              668.00]

Asset Disposition

         2/2/2022   AEP       0.20 Read e-mail correspondence relating to CHA inspection at receivership
                                   property and prepare e-mail to buyer's counsel asking whether purchaser will
                                   absorb the anticipated cost of the demanded improvements in order to
                                   ensure renewal of subsidized tenancy (7109 Calumet).

                                   Asset Disposition

                    JR        0.10 Communication with K. Duff following up on building unit issues (7109
                                   Calumet).

                                   Asset Disposition

         2/4/2022   AEP       1.50 Review closing documents and update closing checklist, prepare addendum
                                   to purchase and sale agreement, review and approve lien waivers and
                                   brokerage commission statement, request and reconcile updated title invoice
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 Kevin B. Duff, Receiver                                                                               Page 3



     Date        Indiv Hours Description

                                with closing figures, revise property tax prorations, and update master
                                portfolio spreadsheet in connection with closing of receivership property
                                (7109 Calumet).

                                Asset Disposition

     2/4/2022    JRW       0.40 Search court docket, review pleadings, and related update to team (4533
                                Calumet).

                                Asset Disposition

     2/7/2022    JR        0.40 Review email from property management requesting updated rent roll
                                for property, update certified rent roll (7109 Calumet).

                                Asset Disposition

                 MR        0.10 Follow up on issues related to sale of property (7109 Calumet).

                                Asset Disposition

     2/8/2022    JR        3.30 Review and prepare closing documents in anticipation for closing (7109
                                Calumet) (3.1); exchange correspondence with A. Porter requesting
                                information in preparation for closing (7109 Calumet) (.1); communication
                                with K. Duff and A. Porter requesting to schedule execution of documents in
                                anticipation for closing (7109 Calumet) (.1)

                                Asset Disposition

     2/9/2022    JR        1.60 Communication with A. Watychowicz regarding execution of documents in
                                preparation for closing property (7109 Calumet) (.1); follow up communication
                                with buyer and counsel requesting approval of notices to tenants in
                                preparation for closing (7109 Calumet) (.1); update closing documents and
                                forward to property management for execution (7109 Calumet) (.5); review
                                tenant leases and subsidy agreements and update certified rent roll (7109
                                Calumet) (.9).

                                Asset Disposition

     2/10/2022 JR          0.40 Review email from property management regarding execution of documents
                                for closing (7109 Calumet) (.1); further communication with property
                                management requesting updated leases and subsidy agreements for
                                residents (7109 Calumet) (.2); exchange communication with surveying
                                company and request update to certified parties for survey (7109 Calumet)
                                (.1).

                                Asset Disposition

     2/11/2022 JR          1.00 Review email from property management related to requested leases and
                                subsidy agreements, update rent roll and further communicate with property
                                management requesting additional missing leases and subsidy agreements
                                in preparation for closing (7109 Calumet).

                                Asset Disposition
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 Kevin B. Duff, Receiver                                                                                Page 4



     Date       Indiv Hours Description

     2/11/2022 MR          0.10 Attention to issues regarding letter of credit (7109 Calumet).

                                Asset Disposition

     2/15/2022 AW          0.10 Attention to letter of credit amendment requested by lender's bank and email
                                M. Rachlis fully executed document (7109 Calumet).

                                Asset Disposition

                 MR        0.40 Review issues on property sale and follow up (7109 Calumet).

                                Asset Disposition

     2/21/2022 AW          0.10 Assist with execution of power of attorney materials for sale of property and
                                related communication with J. Wine (7109 Calumet).

                                Asset Disposition

     2/22/2022 JR          0.40 Review email from property management regarding requested due
                                diligence documents (7109 Calumet).

                                Asset Disposition

     2/23/2022 JR          1.20 Review email from buyer's counsel requesting information for closing and
                                provide same (7109 Calumet) (.1); review and prepare closing documents for
                                closing (7109 Calumet) (.8); further communicate with property management
                                requesting property financial reports in anticipation for closing (7109
                                Calumet) (.3).

                                Asset Disposition

     2/26/2022 AEP         0.80 Review all final drafts of closing documents associated with prospective sale
                                of receivership property, reconcile settlement statement, review buyer signed
                                documents, and prepare deed and money escrow instructions (7109
                                Calumet).

                                Asset Disposition

     2/28/2022 AEP         1.80 Revise seller documents for notarization by escrow agent, assemble seller
                                document package, final review and reconciliation of settlement statement,
                                final review and analysis of certified rent roll, review of water invoices and
                                computation of water prorations, and communications with J. Rak regarding
                                same, and communications with escrow agent regarding mechanics of
                                closing (7109 Calumet).

                                Asset Disposition

                 JR        4.20 Exchange correspondence with property management requesting information
                                related to property in preparation for closing (7109 Calumet) (.3); review
                                ledgers and update certified rent roll for closing (7109 Calumet) (1.8);
                                exchange communication with A. Porter providing final information and
                                documentation for closing (7109 Calumet) (.9); review email from buyer's
                                counsel requesting updated utility bills and update electronic files (7109
                                Calumet) (.7); review emails related to property key arrangement and respond
                                accordingly (7109 Calumet) (.3); exchange correspondence with all parties
                                confirming the closing of sale of property (7109 Calumet) (.1); exchange
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        Date          Indiv Hours Description

                                   correspondence with tax firm providing details of final closing (7109 Calumet)
                                   (.1).

                                   Asset Disposition

        2/28/2022 KMP         0.20 Communicate with K. Duff and J. Rak regarding sale of property and review
                                   bank records to follow up on deposit of proceeds (7109 Calumet).

                                   Asset Disposition


SUBTOTAL:                                                                                   [ 18.30           3835.00]

Business Operations

        2/1/2022      JRW     0.20 Confer with K. Pritchard regarding state court matter and review
                                   documentation from E. Duff (1700 Juneway).


                                   Business Operations

                      KMP     0.30 Communicate with J. Wine and insurer regarding identification of property for
                                   insurance claim (1700 Juneway) (.2); review communications from J. Wine
                                   and E. Duff providing identity of property relating to insurance claim (1700
                                   Juneway) (.1).


                                   Business Operations

        2/2/2022      JRW     0.40 Telephone conference with insurance adjuster regarding claims and
                                   deductibles (1700 Juneway; 7748 Essex) (.1); review state court complaint
                                   and related correspondence with K. Duff (1700 Juneway) (.3).


                                   Business Operations

                      KMP     0.10 Further communications with J. Wine and insurer regarding
                                   identification of property for insurance claim (1700 Juneway).


                                   Business Operations

        2/4/2022      JR      1.40 Update property insurance endorsement spreadsheet related to premium
                                   refunds (all).

                                   Business Operations

                      MR      0.20 Attention to issues regarding stay of state court action (4533 Calumet).


                                   Business Operations

        2/7/2022      AW      0.60 Attention to motion to intervene, related email exchange with counsel, and
                                   docket update (defer) (.2); communicate with M. Rachlis and J. Wine
                                   regarding motion to retain counsel and potential revisions, finalize motion and
                                   file with court (all) (.4).

                                   Business Operations
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     Date        Indiv Hours Description


     2/11/2022 JRW         0.20 Confer with defense counsel regarding upcoming trial (7748 Essex).


                                Business Operations

     2/22/2022 ED          0.30 Call with J. Rak to discuss resolution of missing information regarding
                                insurance expenditures by property and review of documents prepared by J.
                                Rak (5001 Drexel; 6751 Merrill; 7110 Cornell; 431 E 42nd; 2800 E 81st; 1414
                                E 62nd; 1017 W 102nd; 1516 E 85th; 2136 W 83rd; 417 Oglesby; 7922
                                Luella; 7925 Kingston; 7933 Kingston; 8030 Marquette; 8104 Kingston; 8405
                                Marquette; 8529 Rhodes; 8800 Ada; 9212 Parnell; 10012 LaSalle; 11318
                                Church; 3213 Throop; 3723 W 68th; 406 E 87th; 61 E 92nd; 6554 Rhodes;
                                6825 Indiana; 7210 S Vernon; 7712 Euclid; 7953 Woodlawn; 8107 Kingston;
                                8346 Constance; 8432 Essex; 8517 Vernon; 2129 W 71st; 9610 Woodlawn;
                                5437 Laflin; 6759 Indiana; 1401 W 109th; 310 E 50th; 6807 Indiana;
                                1422 E 68th; 7237 Bennett; 6217 Dorchester; 1102 Bingham; 638 Avers).

                                Business Operations

                 JR        0.40 Communication with E. Duff regarding property insurance endorsements
                                (7201 Constance; 7110 Cornell; 5618 MLK, 6356 California; 2800 E 81st;
                                4611 Drexel; 1017 E 102nd; 1516 E 85th; 2136 W 83rd; 417 Oglesby; 7922
                                Luella; 7925 Kingston; 7933 Kingston; 8030 Marquette; 8104 Kingston; 8405
                                Marquette; 8529 Rhodes; 8800 Ada; 9212 Parnell; 10012 LaSalle; 11318
                                Church; 3213 Throop; 3723 W 68th; 406 E 87th; 61 E 92nd; 6554 Rhodes;
                                6825 Indiana; 7210 Vernon; 7712 Euclid; 7953 Woodlawn; 8107 Kingston;
                                8346 Constance; 8432 Essex; 8517 Vernon; 2129 W 71st; 9610 Woodlawn;
                                5437 Laflin; 6759 Indiana; 1401 W 109th; 310 E 50th; 6807 Indiana) (.2);
                                further communication with advisor requesting policy information (7201
                                Constance; 7110 Cornell; 5618 MLK; 6356 California; 2800 E 81st; 4611
                                Drexel; 1017 E 102nd; 1516 E 85th; 2136 W 83rd; 417 Oglesby; 7922 Luella;
                                7925 Kingston; 7933 Kingston; 8030 Marquette; 8104 Kingston; 8405
                                Marquette; 8529 Rhodes; 8800 Ada; 9212 Parnell; 10012 LaSalle; 11318
                                Church; 3213 Throop; 3723 W 68th; 406 E 87th; 61 E 92nd; 6554 Rhodes;
                                6825 Indiana; 7210 Vernon; 7712 Euclid; 7953 Woodlawn; 8107 Kingston;
                                8346 Constance; 8432 Essex; 8517 Vernon; 2129 W 71st; 9610 Woodlawn;
                                5437 Laflin; 6759 Indiana; 1401 W 109th; 310 E 50th; 6807 Indiana) (.2).


                                Business Operations

     2/28/2022 JR          0.70 Exchange communication with E. Duff related to review of final property
                                endorsements and refunds from insurance firm (7201 Constance; 7110
                                Cornell; 5618 MLK, 6356 California; 2800 E 81st; 4611 Drexel; 1017 E 102nd;
                                1516 E 85th; 2136 W 83rd; 417 Oglesby; 7922 Luella; 7925 Kingston; 7933
                                Kingston; 8030 Marquette; 8104 Kingston; 8405 Marquette; 8529 Rhodes;
                                8800 Ada; 9212 Parnell; 10012 LaSalle; 11318 Church; 3213 Throop; 3723 W
                                68th; 406 E 87th; 61 E 92nd; 6554 Rhodes; 6825 Indiana; 7210 Vernon; 7712
                                Euclid; 7953 Woodlawn; 8107 Kingston; 8346 Constance; 8432 Essex; 8517
                                Vernon; 2129 W 71st; 9610 Woodlawn; 5437 Laflin; 6759 Indiana; 1401 W
                                109th; 310 E 50th; 6807 Indiana) (.2); review emails from insurance firm
                                related to premium refunds (7201 Constance; 7110 Cornell; 5618 MLK; 6356
                                California; 2800 E 81st; 4611 Drexel; 1017 E 102nd; 1516 E 85th; 2136 W
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         Date         Indiv Hours Description

                                   83rd; 417 Oglesby; 7922 Luella; 7925 Kingston; 7933 Kingston; 8030 Marquette;
                                   8104 Kingston; 8405 Marquette; 8529 Rhodes; 8800 Ada; 9212 Parnell; 10012
                                   LaSalle; 11318 Church; 3213 Throop; 3723 W 68th; 406 E 87th; 61 E 92nd; 6554
                                   Rhodes; 6825 Indiana; 7210 Vernon; 7712 Euclid; 7953 Woodlawn; 8107
                                   Kingston; 8346 Constance; 8432 Essex; 8517 Vernon; 2129 W 71st; 9610
                                   Woodlawn; 5437 Laflin; 6759 Indiana; 1401 W 109th; 310 E 50th; 6807 Indiana)
                                   (.5).

                                   Business Operations

SUBTOTAL:                                                                                      [ 4.80        893.00]

Case Administration

         2/1/2022     AW      0.30 Attention to filed status report and serve as per service list.

                                   Case Administration

                      JRW     0.20 Telephone and email correspondence with documents vendor.


                                   Case Administration

         2/3/2022     SZ      0.10 Attention to notice of filing of position statement email and communication
                                   with A. Watychowicz about same.

                                   Case Administration

         2/4/2022     JR      0.40 Review paper copies of property tax statements received in the mail (single
                                   family).

                                   Case Administration

         2/7/2022     AW      1.80 Revisions and updates to web page (1.6); communicate with counsel
                                   regarding rescheduled hearing (sole lien) (.2).

                                   Case Administration

         2/8/2022     AW      0.10 Attention to entered order regarding granted motions and status and update
                                   docket (sole lien).

                                   Case Administration

         2/9/2022     AW      0.10 Attention to entered stipulation and related email to counsel.

                                   Case Administration

                      JR      3.60 Consolidate bank statements for January 2022.

                                   Case Administration

         2/15/2022 KMP        0.20 Communications with bank representative and K. Duff regarding status.

                                   Case Administration
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    Kevin B. Duff, Receiver                                                                                   Page 8



         Date       Indiv Hours Description


         2/25/2022 SZ         3.20 Review of documents filed in the receivership action and published on the
                                   Receiver's webpage in comparison to court's docket.

                                   Case Administration

         2/28/2022 AW         2.00 Work on update to receivership web page including missing pleadings from
                                   2021 and related email to K. Duff.

                                   Case Administration


SUBTOTAL:                                                                                      [ 12.00          1605.00]

Claims Administration & Objections

         2/1/2022   AW        2.10 Continue review and redactions to position statements (Group 1) (1.3);
                                   prepare share file for counsel and related email (sole lien) (.1); research
                                   native files prepared for prior filings and related email to J. Wine (all) (.2);
                                   review claim and related email to J. Wine (Group 1) (.4); attention to email
                                   regarding EB documents database and related exchange (all) (.1).

                                   Claims Administration & Objections

                    JR        8.50 Exchange communication with J. Wine requesting to verify review of
                                   information for claimants (7625 East End) (.1); extensive review and update
                                   of claims related to properties in anticipation for filing the position statements
                                   (7635 East End; 7750 Muskegon) (8.4).

                                   Claims Administration & Objections

                    JRW       5.60 Continued review and analysis of claimants' position statements (Group 1)
                                   (4.4); work with J. Rak on continued analysis of claims and EquityBuild
                                   records (Group 1) (.3); confer with EB documents database vendor
                                   regarding claimants' request (all) (.2); email and telephone conference with
                                   K. Duff regarding EquityBuild documents (all) (.3); correspondence to
                                   claimants' counsel regarding EquityBuild documents (all) (.1); attention to
                                   claimant inquiries (all) (.3).

                                   Claims Administration & Objections

         2/2/2022   AW        3.60 Prepare draft notice of filing of position statements, email exchanges
                                   regarding proposed revisions, and label statements pursuant to draft notice
                                   (Group 1) (3.2); follow up email exchange regarding review of claim (Group
                                   1) (.1); attention to email from claimant regarding position statement and
                                   representation, exchange with counsel, and related email to claimant (Group
                                   1) (.2); attention to voice message and email from claimant, draft response
                                   for counsel review, and related email to claimant (all) (.1).

                                   Claims Administration & Objections
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     Date        Indiv Hours Description

     2/2/2022    JR        7.60 Extensive review and update of claims against properties in anticipation for
                                filing position statement (7750 S Muskegon; 7201 Constance) (6.9);
                                communication with J. Wine regarding analysis of claims (7750 Muskegon;
                                7625 East End; 7635 East End; 3074 Cheltenham) (.7).

                                Claims Administration & Objections

                 JRW       5.40 Confer with A. Watychowicz regarding EB documents hard drive related to
                                database (all) (.1); confer with J. Rak and A. Watychowicz regarding claims
                                review (Group 1) (.2); attention to claimant inquiries (all) (.2); continued
                                review of position statements and related database searches (Group 1)
                                (4.2); review draft joint status report and related correspondence with K.
                                Duff, M. Rachlis and claimants' counsel (Group 1) (.1); telephone
                                conference with claimants' counsel regarding EB documents drive (all)
                                (.2); correspondence to vendor regarding EB documents database options
                                (all) (.1); review and revise draft notice of filing position statements and
                                related correspondence with A. Watychowicz (Group 1) (.3).

                                Claims Administration & Objections

                 MR        0.30 Follow up on claimant's request (all) (.1); attention to Group 1 status report
                                and related follow up (Group 1) (.2).

                                Claims Administration & Objections

     2/3/2022    AW        4.20 Update claimant's contact information and related email (all) (.2); attention to
                                emails from claimants requesting updates on claims process, properties'
                                sale, access to claims documentation and related email responses (all) (1.1);
                                continue work on finalization of notice of filing of position statements, related
                                email exchanges with counsel, file with court and serve as per service list
                                (Group 1) (2.9).

                                Claims Administration & Objections

                 JR        6.40 Review email from A. Watychowicz requesting a review of notice of filing and
                                exhibits related to the position statement exhibits and respond accordingly
                                (Group 1) (.1); review the notice of filing and the exhibits related to position
                                statements submitted by claimants, correspond with A. Watychowicz
                                regarding same (Group 1) (.8); extensive review and update of claims related
                                to properties in anticipation for filing the position statement received (3074
                                Cheltenham) (5.4); communication with J. Wine regarding analysis of claims
                                (3074 Cheltenham) (.1).

                                Claims Administration & Objections

                 JRW       1.90 Attention to claimant inquiries (all) (.3); exchange correspondence with
                                claimants' counsel regarding production documents (Group 1) (.1);
                                continued review and analysis of position statements (Group 1) (.9);
                                correspondence with J. Rak regarding claim analysis (Group 1) (.1);
                                correspond with K. Duff regarding EB documents database (all) (.2); review
                                notice of filing position statements and exhibits thereto and related
                                correspondence and telephone conference with A. Watychowicz regarding
                                format of exhibits (Group 1) (.3).

                                Claims Administration & Objections
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     Date        Indiv Hours Description


     2/3/2022    KMP       0.20 Review notice of filing for Group 1 position statements, and related
                                communication with A. Watychowicz (Group 1).

                                Claims Administration & Objections

                 MR        0.30 Attention to submissions of position statements and follow up regarding same
                                (Group 1).

                                Claims Administration & Objections

     2/4/2022    AW        0.50 Attention to emails regarding change of custodian and related email
                                responses (all) (.2); attention to email regarding filed position statements
                                and related email response (Group 1) (.1); communicate with K. Duff and J.
                                Wine regarding late position statement and procedure (Group 1) (.1); call
                                with J. Wine regarding contention discovery (Group 1) (.1).

                                Claims Administration & Objections

                 JRW       1.90 Confer with A. Watychowicz regarding submitted position statements
                                (Group 1) (.1); attention to review and analysis of position statements
                                (Group 1) (1.4); confer with J. Rak regarding claims review (Group 1) (.1);
                                confer with A. Watychowicz regarding discovery responses (Group 1) (.1);
                                correspondence to vendor and claimants' counsel regarding EB
                                documents (all) (.1); exchange correspondence with claimants' counsel
                                regarding motion for entry of stipulated order (defer) (.1).

                                Claims Administration & Objections

                 MR        2.00 Attention to contention discovery and issues on position statements (Group 1).

                                Claims Administration & Objections

     2/7/2022    AW        0.40 Review claim and draft response to follow up regarding position statement
                                option (Group 1) (.2); finalize emails to claimants in response to inquiries
                                (Group 1) (.2).

                                Claims Administration & Objections

                 JRW       4.10 Review correspondence from Judge Lee's clerk, forward to claimants'
                                counsel, and confer with M. Rachlis and A. Watychowicz regarding providing
                                notice of hearing to claimants (all) (.1); review motion for entry of proposed
                                stipulated order (defer) (.1); attention to claimant inquiries and related
                                telephone conference with A. Watychowicz (all) (.3); review notes for
                                upcoming hearing and related correspondence and telephone conference
                                with M. Rachlis and K. Duff (sole lien) (.4); telephone conference with
                                subpoenaed party regarding status of document production and related
                                correspondence (sole lien) (.1); exchange correspondence with claimants'
                                counsel regarding service of subpoena (sole lien) (.1); conference call with
                                M. Rachlis and K. Duff regarding position statement and analysis of claims
                                (Group 1) (.7); continue working on position statement and related legal
                                research and database searches (Group 1) (2.3).

                                Claims Administration & Objections
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     Date       Indiv Hours Description


     2/7/2022    MR        2.50 Review materials for position statement issues (Group 1) (.7.); confer with K.
                                Duff and J. Wine regarding Group 1 position statement and related analysis
                                and issues (Group 1) (.8); prepare for hearing and attention to various sole
                                lien issues (sole lien) (.9); confer with K. Duff and J. Wine regarding sole
                                lien discovery issues (sole lien) (.1).

                                Claims Administration & Objections

     2/8/2022 AEP          4.10 Read contention interrogatories, research files, read and analyze
                                documents containing responsive information, and begin preparing draft
                                answers (Group 1).

                                Claims Administration & Objections

                 AW        0.40 Attention to email regarding custodian issue, related search, and response to
                                claimant (all) (.2); attention to discovery responses and related email to J.
                                Wine (Group 1) (.2).

                                Claims Administration & Objections

                 JRW       8.00 Attention to claimant inquiry (all) (.1); exchange correspondence with
                                counsel for third party regarding production pursuant to subpoena (sole lien)
                                (.1); confer with M. Rachlis regarding status of discovery and preparation
                                for hearing (sole lien) (.3); appearance at court status hearing (3074
                                Cheltenham; 7625 East End; 7635 East End; 7750 Muskegon; 7201
                                Constance; 1017 W 102nd; 1516 E 85th; 2136 W 83rd; 417 Oglesby; 7922
                                Luella; 8030 Marquette; 8104 Kingston; 8403 Aberdeen; 8529 Rhodes;
                                11318 Church; 2129 W 71st; 6749 Merrill; 7110 Cornell; 7925 Kingston;
                                9212 Parnell; 7210 Vernon; 6825 Indiana; 406 E 87th; 6554 Rhodes; 7712
                                Euclid; 8432 Essex; 3213 Throop; 8107 Kingston; 8346 Constance; 10012
                                LaSalle; 9610 Woodlawn; 6759 Indiana; 8517 Vernon) (.4); continued
                                analysis of claims for position statement (Group 1) (6.5); exchange
                                correspondence with A. Porter and K. Duff regarding contention
                                interrogatories (Group 1) (.1); telephone conference and exchange
                                correspondence with vendor regarding database export and request for
                                documents from claimant counsel and related follow-up conference with A.
                                Watychowicz (all) (.5).

                                Claims Administration & Objections

                 KMP       0.40 Attention to correspondence from third-party in response to subpoena,
                                download document production, and related communications with EB team
                                (sole lien).

                                Claims Administration & Objections

                 MR        4.40 Prepare for hearing and follow up on various sole lien issues (sole lien) (1.0);
                                conferences with J. Wine regarding issues for hearing (sole lien) (.3); attend
                                status conference before Judge Lee (sole lien) (.2); attention to upcoming
                                hearing and review statements of claimants to prepare for upcoming hearing
                                and receiver submission (Group 1) (2.3); attend status conference (Group 1)
                                (.2); attention to interrogatory related issues (Group 1) (.4).

                                Claims Administration & Objections
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     Date        Indiv Hours Description


     2/9/2022    AEP       2.00 Finalize preparation of draft answers to contention interrogatories (Group
                                1) (1.8); read revisions prepared by M. Rachlis and prepare responses
                                thereto (Group 1) (.2).

                                Claims Administration & Objections

                 AW        0.40 Communicate with K. Duff and J. Wine regarding claimant's custodian issue
                                and related email to claimant (all) (.1); communicate with J. Wine regarding
                                claims documentation (4533 Calumet; 8100 Essex; 6217 Dorchester; 816
                                Marquette; 6355 Talman) (.1); locate and share claims forms with J. Wine
                                (all) (.2).

                                Claims Administration & Objections

                 JR        0.40 Communication with J. Wine regarding claims and additional supporting
                                documents requested to be consolidated to the filing of the position
                                statements (Group 1).

                                Claims Administration & Objections

                 JRW       9.90 Continued analysis of claims for position statement (Group 1) (7.6); confer
                                with A. Watychowicz regarding claimant inquiry (all) (.1); attention to
                                drafting and revising response to contention interrogatories (Group 1) (1.8);
                                telephone conference with J. Rak regarding claims analysis (Group 1) (.3);
                                exchange correspondence with vendor regarding EB database exports
                                (all) (.1).

                                Claims Administration & Objections

                 MR        6.00 Review submission of discovery responses (Group 1) (2.5); review and work
                                on position statement and research regarding same (Group 1) (3.5).

                                Claims Administration & Objections

     2/10/2022 AEP         0.30 Read, edit, and revise latest draft of answer to contention interrogatories
                                (Group 1).

                                Claims Administration & Objections

                 AW        1.40 Review claimant's claim form, discovery responses, and position statement to
                                determine claim amounts supported by documents and related
                                communications with J. Wine (Group 1).

                                Claims Administration & Objections

                 JRW       9.10 Confer with A. Watychowicz regarding claims analysis (Group 1) (.3);
                                exchange correspondence with M. Rachlis regarding position statement
                                (Group 1) (.2); review redlines, further revision and correspondence
                                regarding response to contention interrogatories (Group 1) (.8); continued
                                claims analysis and creation of spreadsheets for position statement (Group
                                1) (7.8).

                                Claims Administration & Objections
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     Date        Indiv Hours Description


     2/10/2022 MR          8.00 Further work on position statements (Group 1) (6.0); work on contention
                                interrogatory answers (Group 1) (2.0).

                                Claims Administration & Objections

     2/11/2022 AEP         1.70 Teleconference with K. Duff, M. Rachlis, and J. Wine regarding finalization of
                                answers to contention interrogatories (Group 1) (1.4); telephone conference
                                with K. Duff, M. Rachlis, and J. Wine regarding broad overview of
                                administration of claims process relating to all creditors (all) (.3).

                                Claims Administration & Objections

                 AW        1.20 Prepare draft notice and communicate with K. Duff regarding notice of filing of
                                late position statement (Group 1) (.3); attention to potential document
                                production, communicate with J. Wine regarding possible redactions, Bates
                                label production, and related email to counsel (Group 1) (.9).

                                Claims Administration & Objections

                 JRW       6.70 Conference with K. Duff, M. Rachlis and A. Porter regarding Group 1 claims
                                analysis and position statement (Group 1) (1.7); confer with K. Duff, M.
                                Rachlis and A. Porter regarding issues relating to distribution of funds (all)
                                (.3); revise claims spreadsheets, compile backup documentation, and related
                                analysis of rollovers (Group 1) (3.1); confer with A. Watychowicz regarding
                                document production (Group 1) (.1); revise, finalize and serve answers to
                                contention interrogatories and document production and related
                                correspondence (Group 1) (1.4); confer with A. Watychowicz regarding
                                notice of filing claimant position statement (Group 1) (.1).

                                Claims Administration & Objections

                 MR        4.30 Work on contention interrogatory drafts and review and revise comments
                                (Group 1) (1.3); further work and review of position statements (Group 1)
                                (1.0); conference with K. Duff, J. Wine, and A. Porter regarding analysis of
                                Group 1 claims and various related issues and development of related
                                spreadsheet for submission (Group 1) (1.7); confer with K. Duff, J. Wine, and
                                A. Porter regarding analysis of claims and distribution issues (all) (.3).

                                Claims Administration & Objections

     2/14/2022 MR          4.50 Work on review of claims and on Receiver's submission (Group 1).

                                Claims Administration & Objections

     2/15/2022 AW          0.70 Attention to emails from claimants regarding defendants and forward to K.
                                Duff and J. Wine (Group 1) (.1); attention to email from claimant regarding
                                deposition and related email exchange with K. Duff and M. Rachlis (Group
                                1) (.1); research regarding deposition of Receiver and related exchange with
                                M. Rachlis (Group 1) (.3); email K. Duff and M. Rachlis regarding notice of
                                filing of late position statement (Group 1) (.1); communicate with J. Wine
                                regarding email that was removed from Group 1 service email (Group 1)
                                (.1).

                                Claims Administration & Objections
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     Date        Indiv Hours Description


     2/15/2022 MR          4.50 Continue work on review of claims for Receiver submission (Group 1) (4.0);
                                attention to deposition request associated with discovery (Group 1) (.5).

                                Claims Administration & Objections

     2/16/2022 AW          0.20 Attention to emails in Group 1 emails and related communication with K. Duff
                                (Group 1) (.1); update emailing list (Group 1) (.1).

                                Claims Administration & Objections

                 KMP       0.20 Communications with lender's counsel and J. Wine regarding subpoena (sole
                                lien).

                                Claims Administration & Objections

                 MR        3.80 Follow up on discovery related request (Group 1) (.3); further review of claims
                                (Group 1) (3.5).

                                Claims Administration & Objections

     2/17/2022 JR          1.00 Review email from J. Wine and work to consolidate additional supporting
                                documents for Group 1 claimants (Group 1).

                                Claims Administration & Objections

                 MR        2.60 Further review and follow up regarding claims review (Group 1).

                                Claims Administration & Objections

     2/18/2022 KMP         1.70 Factual research relating to discovery issue and related communications with
                                M. Rachlis (Group 1).


                                Claims Administration & Objections

     2/20/2022 JRW         0.50 Revise Group 1 summary table and related correspondence to M. Rachlis
                                and K. Duff (Group 1).

                                Claims Administration & Objections

                 MR        4.50 Further work and research on receiver submission (Group 1) (2.9); attention
                                to issues on discovery and prepare for upcoming meeting (Group 1) (1.2);
                                exchanges with J. Wine regarding receiver submission (Group 1) (.2); follow
                                up email to counsel for claimant (Group 1) (.2).

                                Claims Administration & Objections

     2/21/2022 AW          0.30 Correspond with J. Wine regarding review of discovery (Group 1) (.1);
                                attention to motion to compel deposition and communicate with counsel
                                regarding presentation requirement (Group 1) (.2).

                                Claims Administration & Objections
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 Kevin B. Duff, Receiver                                                                                Page 15



     Date        Indiv Hours Description

     2/21/2022 JRW         7.90 Review notes from meetings with claimants' counsel regarding negotiation
                                regarding claims process in preparation for meet and confer regarding
                                deposition of Receiver and related correspondence with M. Rachlis (Group 1)
                                (.4); conference call with K. Duff and M. Rachlis regarding Receiver's position
                                statement and related claims analysis (Group 1) (1.0); continued analysis of
                                claims and potential set-offs (Group 1) (.9); conference with K. Duff and M.
                                Rachlis in preparation for meet and confer (Group 1) (.2); review deposition
                                transcripts in connection with position statement (Group 1) (.7); meet and
                                confer with claimants' counsel and M. Rachlis regarding request for
                                Receiver's deposition (Group 1) (.3); review motion to compel Receiver's
                                deposition and related conference with K. Duff and M. Rachlis regarding
                                response to same (Group 1) (.8); legal research regarding motion to compel
                                (Group 1) (1.8); continue working with K. Duff and M. Rachlis regarding
                                Receiver's analysis and recommendations regarding claims (Group 1) (1.8).

                                Claims Administration & Objections

                 MR        7.40 Prepared for and participated in meet and confer on discovery issues (Group
                                1) (.8); conferences with J. Wine and K. Duff regarding discovery issues
                                (Group 1) (.8); follow up conference with K. Duff regarding request for
                                deposition (Group 1) (.3); review motion to compel and begin response
                                regarding same (Group 1) (4.5); confer with K. Duff and J. Wine regarding
                                analysis of claims (Group 1) (1.0).

                                Claims Administration & Objections

     2/22/2022 AW          4.60 Research pleadings and transcripts for references regarding discovery issue
                                and related email exchange with M. Rachlis (Group 1) (.7); call with J. Wine
                                and J. Rak regarding review of claims to supplement missing information
                                (Group 1) (.5); work on claims analysis (Group 1) (3.4).

                                Claims Administration & Objections

                 JR        3.50 Conference call with J. Wine and A. Watychowicz regarding further review of
                                proof of claims relating to Group 1 properties (Group 1) (.6); further research
                                regarding claimants in Group 1 (Group 1) (2.9).

                                Claims Administration & Objections

                 JRW 11.50 Conference with J. Rak and A. Watychowicz regarding additional claims
                           analysis required and related follow-up email (Group 1) (.7); continued review
                           of proofs of claims, position statements, discovery responses and EquityBuild
                           documents, analysis of claims, and updating claims analysis spreadsheet
                           (Group 1) (5.0); attention to drafting and revising Receiver's submission
                           regarding Group 1 claims and related legal research (Group 1) (3.8);
                           extended conference with K. Duff and M. Rachlis regarding Receiver
                           recommendations on Group 1 claims (Group 1) (2.0).

                                Claims Administration & Objections

                 MR        8.00 Further work on review of claims (Group 1) (2.5); participate in meeting
                                regarding claims issues with K. Duff and J. Wine (Group 1) (2.0); work on
                                response to motion to compel regarding discovery (Group 1) (3.5).

                                Claims Administration & Objections
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 Kevin B. Duff, Receiver                                                                                  Page 16



     Date        Indiv Hours Description


     2/23/2022 AEP         0.30 Participate in portion of conference call with K. Duff, M. Rachlis, and J. Wine
                                regarding claims analysis and related issue (all).

                                Claims Administration & Objections

                 AW        3.70 Attention to Group 1 service email, correspond with K. Duff regarding
                                appropriate action, and related email to claimants (Group 1) (.2); finalize
                                notice of filing of claimant's position statement, file with the Court, and serve
                                on claimants (Group 1) (.2); response to claimant's voice message (all) (.1);
                                continue work on claims analysis and related communications with J. Wine
                                (Group 1) (2.3); work on preparation of exhibits to receiver's claims
                                submission (Group 1) (.9).

                                Claims Administration & Objections

                 JR        2.20 Extensive research regarding Group 1 claims relating to investor interest
                                and principal returns as well as claimant buyouts (3074 Cheltenham; 7625
                                East End) (1.9); exchange communication with J. Wine regarding
                                identification of requested claimant information (3074 Cheltenham) (.3).

                                Claims Administration & Objections

                 JRW 14.50 Analysis of claims and related conference with A. Watychowicz (Group 1)
                           (1.8); attention to claimant inquiries and confer with A. Watychowicz and K.
                           Duff regarding Group 1 distribution list (.2); review legal research relating to
                           claims issue and related conference with K. Duff, A. Porter and M. Rachlis
                           (all) (.6); exchange correspondence with documents vendor regarding
                           database exports (all) (.2); work with A. Watychowicz to prepare exhibits for
                           Group 1 position statement and related correspondence with K. Duff and M.
                           Rachlis (Group 1) (2.5); continued review of proofs of claims, position
                           statements, discovery responses and EquityBuild documents, analysis of
                           claims, and updating claims analysis spreadsheet (Group 1) (9.2).

                                Claims Administration & Objections

                 MR        6.90 Further work on claims and narrative and numerous related exchanges
                                (Group 1) (5.3); conference with J. Wine, A. Porter and K Duff regarding
                                claims issues (Group 1) (.6); additional work and research on response to
                                motion to compel (Group 1) (1.0).

                                Claims Administration & Objections

     2/24/2022 AEP         0.40 Teleconference with J. Wine regarding claims issue related to property liens
                                (7201 Constance; 7625 East End; 3074 Cheltenham).

                                Claims Administration & Objections
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 Kevin B. Duff, Receiver                                                                                Page 17



     Date        Indiv Hours Description

     2/24/2022 AW          8.10 Attention to email from claimant regarding claims process and related
                                response (all) (.1); work on updates to claimants' contact emails (all) (.3);
                                continue work on analysis of claims, review of outstanding discovery, and
                                preparation of exhibits to receiver's submission and communications with J.
                                Wine (Group 1) (7.2); communicate with K. Pritchard regarding research
                                relating to opposition to motion to compel (Group 1) (.3); finalize and file
                                motion for extension (Group 1) (.2).

                                Claims Administration & Objections

                 JRW 10.60 Conference call with A. Porter regarding claim priority issues (Group 1) (.5);
                           telephone conference with claimants' counsel regarding motion for deposition
                           and payments to claimant (Group 1) (.2); exchange correspondence and
                           confer with A. Watychowicz regarding claims documentation and exhibits to
                           Receiver's submission and related revision of exhibits (Group 1) (.9);
                           correspond with M. Rachlis regarding content of exhibits to Receiver's
                           submission (Group 1) (.3); continued review of proofs of claims, position
                           statements, discovery responses and EquityBuild documents, analysis of
                           claims, and updating claims analysis spreadsheet (Group 1) (2.1); review
                           claimants' discovery responses and related conferences with A. Watychowicz
                           (Group 1) (5.1); further revisions of Receiver's submission (Group 1) (1.4);
                           review and revise motion for extension and confer with A. Watychowicz
                           regarding filing of same (Group 1) (.1).

                                Claims Administration & Objections

                 KMP       4.20 Review various claimants' filings, compile and highlight relevant references,
                                and forward to K. Duff (Group 1) (3.1); study and revise draft submission on
                                Group 1 claims and related communications with A. Watychowicz (Group 1)
                                (1.1).

                                Claims Administration & Objections

                 MR        9.00 Work on various elements of submission and various related communications
                                (Group 1) (7.5); further research and work on response to motion to compel
                                regarding discovery (Group 1) (1.5).

                                Claims Administration & Objections

     2/25/2022 AW          3.60 Complete review of outstanding discovery responses, review receiver's
                                submission and communicate with counsel regarding proposed revisions,
                                continue review and finalize exhibits to receiver's submission (Group 1) (3.4);
                                attention to response to motion for extension and motion in opposition to
                                motion to compel and related email exchanges with counsel (Group 1) (.2).

                                Claims Administration & Objections

                 JRW       9.00 Continue working with A. Watychowicz on reviewing claimants' discovery
                                responses (Group 1) (1.9); confer with A. Watychowicz regarding mechanics
                                lien claims and related review of motions to confirm sales (Group 1) (.3); legal
                                research and revisions to Receiver's Group 1 submission on claims (Group
                                1) (3.2); continued refinement of exhibits to Receiver's submission (Group 1)
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 Kevin B. Duff, Receiver                                                                               Page 18



     Date        Indiv Hours Description

                                (2.8); correspondence with K. Duff and M. Rachlis regarding document
                                database export and discussions with claimants' counsel (all) (.4); review
                                and revise response to motion to depose receiver (Group 1) (.4).

                                Claims Administration & Objections

     2/25/2022 KMP         2.60 Revise, finalize, and file response to motion to compel and related
                                communications with K. Duff, M. Rachlis, and A. Watychowicz (Group 1).

                                Claims Administration & Objections

                 MR        4.50 Further work on edits to motion to compel and related follow up (Group 1)
                                (2.0); review various items and related communications regarding claims
                                submission (Group 1) (2.5).

                                Claims Administration & Objections

     2/27/2022 MR          2.20 Review and revise claims submission and related follow up (Group 1).

                                Claims Administration & Objections

     2/28/2022 AW          1.70 Review pleadings and communicate with K. Duff regarding independent
                                contractor claim and lien motion (Group 1) (.3); email exchanges with
                                K. Duff, M. Rachlis and J. Wine regarding further revisions to Receiver's
                                submission on Group 1 claims (Group 1) (.4); communicate with J. Wine
                                regarding exhibits and revisions (Group 1) (.3); finalize Receiver's
                                submission, file with Court, and serve as per service list (Group 1) (.6);
                                service of Receiver's opposition to motion to compel to claimants (Group 1)
                                (.1).

                                Claims Administration & Objections

                 JRW       4.80 Review redlines of Receiver's position statement, respond to comments and
                                related communications with M. Rachlis and K. Duff (Group 1) (1.6);
                                correspondence with counsel regarding document production (sole lien) (.2);
                                review legal research and related correspondence with K. Duff (Group 1) (.2);
                                additional review of claimant submission (Group 1) (.3); separate
                                conferences with claimants' counsel and K. Duff regarding document
                                database export and related issues (all) (.5); telephone conference with M.
                                Rachlis regarding transfers of security interest to certain Group 1 claimants
                                (Group 1) (.4); revise and finalize position statement (Group 1) (1.2); revise
                                exhibit to position statement (Group 1) (.4).

                                Claims Administration & Objections

                 KMP       0.40 Review court's ruling on motion to compel Receiver's deposition (Group 1)
                                (.1); attention to receipt of additional documents produced by claimant,
                                download production documents to network files, and related
                                communications with J. Wine (sole lien) (.3).

                                Claims Administration & Objections
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        Date        Indiv Hours Description

        2/28/2022 MR          3.40 Further work and review of claims submission (Group 1) (2.9); conferences
                                   with J. Wine regarding claims submission (Group 1) (.4); attention to court
                                   ruling on motion to compel (Group 1) (.1).

                                   Claims Administration & Objections


SUBTOTAL:                                                                                 2[85.80        77867.00]

Tax Issues

        2/9/2022    KMP       0.30 Briefly review tax forms for EB accounts from bank and prepare transmittal
                                   of forms to accountant and tax administrator.


                                   Tax Issues

        2/16/2022 KMP         0.20 Review online bank records and communicate with tax administrator
                                   regarding property account balance and accrued interest for 2021 (7237
                                   Bennett).

                                   Tax Issues


SUBTOTAL:                                                                                 [ 0.50             70.00]




                                                                                          326.00       $84,938.00
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Other Charges

                                      Description

Asset Analysis & Recovery

                                      Photocopies for February 2022                            2.90


SUBTOTAL:                                                                            [         2.90]

Business Operations

                                      Software license fees for February 2022               277.41
                                      (Summit Hosting, $181.41; Google Suite, $96)


SUBTOTAL:                                                                            [      277.41]

Claims Administration & Objections

                                      Online research for February 2022                    1,256.14


SUBTOTAL:                                                                            [     1,256.14]


Total Other Charges                                                                      $1,536.45




                                     Summary of Activity
                                                                       Hours     Rate
Jodi Wine                                                             113.10   260.00    $29,406.00
Ania Watychowicz                                                       46.60   140.00     $6,524.00
Justyna Rak                                                            48.70   140.00     $6,818.00
Kathleen M. Pritchard                                                  11.00   140.00     $1,540.00
Stoja Zjalic                                                            3.30   110.00      $363.00
Andrew E. Porter                                                       13.10   390.00     $5,109.00
Ellen Duff                                                              0.30   390.00      $117.00
Michael Rachlis                                                        89.90   390.00    $35,061.00
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                                   SUMMARY


               Legal Services                                  $84,938.00
               Other Charges                                    $1,536.45

                  TOTAL DUE                                    $86,474.45
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                                 Rachlis Duff & Peel, LLC
                                       542 South Dearborn Street
                                                                                             tel (312) 733-3950
                                               Suite 900                                     fax (312) 733-3952
                                        Chicago, Illinois 60605




May 6, 2022

Kevin B. Duff, Receiver
c/o Rachlis Duff & Peel, LLC
542 S. Dearborn Street, Suite 900
Chicago, IL 60605




 Re: SEC v. EquityBuild Inc., EquityBuild Finance, LLC, Jerome H.                         Fed. I.D. No. XX-XXXXXXX
     Cohen, and Shaun D. Cohen                                                            Invoice No. 6622144
     No. 18-cv-5587, US Dist. Ct., Northern Dist. of Illinois, Eastern Div.


 Legal Fees for March 2022                                                $29,057.00

 Expenses Disbursed                                                           $1,124.80


 Due this Invoice                                                         $30,181.80
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    Kevin B. Duff, Receiver                                                                                 Page 2




         Date         Indiv Hours Description

Accounting/Auditing

         3/7/2022     KMP     0.60 Review online bank records to update account ledgers and prepare
                                   schedules of receipts and disbursements for February 2022.

                                   Accounting/Auditing

         3/24/2022 KMP        0.20 Confer with K. Duff regarding account balance and deposits to Receiver's
                                   account and property account (1414 E 62nd).

                                   Accounting/Auditing


SUBTOTAL:                                                                                    [ 0.80            112.00]

Asset Disposition

         3/1/2022     KMP     0.20 Communicate with K. Duff and J. Rak confirming receipt of proceeds from
                                   sale of property and advise insurance broker regarding sale of property (7109
                                   Calumet).

                                   Asset Disposition

         3/7/2022     KMP     0.20 Communication with K. Duff regarding receipt of post-sale refund of property
                                   taxes and deposit to related property account (7109 Calumet).

                                   Asset Disposition

         3/17/2022 JR         0.10 Review email from K. Duff related to building violation notice related to sold
                                   property, forward same to buyer and buyer's counsel (4533 Calumet).

                                   Asset Disposition


SUBTOTAL:                                                                                    [ 0.50             70.00]

Business Operations

         3/1/2022     ED      0.40 Review of further documentation sent by insurance agent relating to policy
                                   endorsements terminating coverage for properties sold during 2021
                                   (4750 Indiana; 7024 Paxton; 7840 Yates; 2800 E 81st; 4611 Drexel;
                                   1414 E 62nd; 1017 W 102nd; 1516 E 85th; 2136 W 83rd; 417 Oglesby;
                                   7922 Luella; 7925 Kingston; 7933 Kingston; 8030 Marquette; 8104
                                   Kingston; 8403 Aberdeen; 8405 Marquette; 8529 Rhodes; 8800 Ada;
                                   9212 Parnell; 10012 LaSalle; 11318 Church; 3213 Throop; 3723 68th; 406 E
                                   87th; 61 E 92nd; 6554 Rhodes; 6825 Indiana; 7210 Vernon; 7712 Euclid;
                                   7953 Woodlawn; 8107 Kingston; 8346 Constance; 8432 Essex; 8517 Vernon;
                                   2129 W 71st; 9610 Woodlawn; 5437 Laflin; 6759 Indiana; 1401 W 109th; 310
                                   E 50th; 6807 Indiana; 1422 E 68th; 7255 Euclid; 7237 Bennett; 6217
                                   Dorchester; 1102 Bingham; 638 Avers).

                                   Business Operations
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 Kevin B. Duff, Receiver                                                                               Page 3



     Date        Indiv Hours Description

     3/2/2022    JR        1.80 Review emails from account analyst and update spreadsheet related to
                                missing endorsements (7201 Constance; 7110 Cornell; 5618 MLK; 6356
                                California; 2800 E 81st; 4611 Drexel; 1017 E 102nd; 1516 E 85th; 2136
                                W 83rd; 417 Oglesby; 7922 Luella; 7925 Kingston; 7933 Kingston; 8030
                                Marquette; 8104 Kingston; 8405 Marquette; 8529 Rhodes; 8800 Ada; 9212
                                Parnell; 10012 LaSalle; 11318 Church; 3213 Throop; 3723 W 68th; 406 E
                                87th; 61 E 92nd; 6554 Rhodes; 6825 Indiana; 7210 Vernon; 7712 Euclid;
                                7953 Woodlawn; 8107 Kingston; 8346 Constance; 8432 Essex; 8517 Vernon;
                                2129 W 71st; 9610 Woodlawn; 5437 Laflin; 6759 Indiana; 1401 W 109th; 310
                                E 50th; 6807 Indiana) (1.7); follow up communication with account analyst
                                regarding missing endorsements (7201 Constance; 7110 Cornell; 5618 MLK,
                                6356 California; 2800 E 81st; 4611 Drexel; 1017 E 102nd; 1516 E 85th; 2136
                                W 83rd; 417 Oglesby; 7922 Luella; 7925 Kingston; 7933 Kingston; 8030
                                Marquette; 8104 Kingston; 8405 Marquette; 8529 Rhodes; 8800 Ada; 9212
                                Parnell; 10012 LaSalle; 11318 Church; 3213 Throop; 3723 W 68th; 406 E
                                87th; 61 E 92nd; 6554 Rhodes; 6825 Indiana; 7210 Vernon; 7712 Euclid; 7953
                                Woodlawn; 8107 Kingston; 8346 Constance; 8432 Essex; 8517 Vernon; 2129
                                W 71st; 9610 Woodlawn; 5437 Laflin; 6759 Indiana; 1401 W 109th; 310 E
                                50th; 6807 Indiana) (.1).

                                Business Operations

     3/3/2022    ED        1.00 Review and analysis of insurance policy documents for period beginning May
                                2021 to identify costs attributable to properties owned during coverage period
                                (4611 Drexel; 1414 E 62nd; 1017 W 102nd; 1516 E 85th; 2136 W 83rd; 417
                                Oglesby; 7922 Luella; 7925 Kingston; 7933 Kingston; 8030 Marquette; 8104
                                Kingston; 8403 Aberdeen; 8405 Marquette; 8529 Rhodes; 8800 Ada; 9212
                                Parnell; 10012 LaSalle; 11318 Church; 3213 Throop; 3723 W 68th; 406 E
                                87th; 61 E 92nd; 6554 Rhodes; 6825 Indiana; 7210 Vernon; 7712 Euclid;
                                7953 Woodlawn; 8107 Kingston; 8346 Constance; 8432 Essex; 8517 Vernon;
                                2129 W 71st; 9610 Woodlawn; 5437 Laflin; 6759 Indiana; 1401 W 109th; 310
                                E 50th; 6807 Indiana; 1422 E 68th; 7255 Euclid; 7237 Bennett; 6217
                                Dorchester; 1102 Bingham; 638 Avers).

                                Business Operations

                 ED        0.30 Email to insurance agents requesting further detail relating to insurance policy
                                documents for period beginning May 2021 (4611 Drexel; 1414 E 62nd; 1017 W
                                102nd; 1516 E 85th; 2136 W 83rd; 417 Oglesby; 7922 Luella; 7925 Kingston;
                                7933 Kingston; 8030 Marquette; 8104 Kingston; 8403 Aberdeen; 8405
                                Marquette; 8529 Rhodes; 8800 Ada; 9212 Parnell; 10012 LaSalle; 11318
                                Church; 3213 Throop; 3723 W 68th; 406 E 87th; 61 E 92nd; 6554 Rhodes;
                                6825 Indiana; 7210 Vernon; 7712 Euclid; 7953 Woodlawn; 8107 Kingston;
                                8346 Constance; 8432 Essex; 8517 Vernon; 2129 W 71st; 9610 Woodlawn;
                                5437 Laflin; 6759 Indiana; 1401 W 109th; 310 E 50th; 6807 Indiana; 1422 E
                                68th; 7255 Euclid; 7237 Bennett; 6217 Dorchester; 1102 Bingham; 638 Avers).


                                Business Operations

     3/7/2022    ED        0.30 Review documentation regarding termination of property insurance policies
                                (7109 Calumet) (.2); email correspondence to K. Duff regarding execution of
                                documents for termination of property insurance policies (7109 Calumet) (.1).

                                Business Operations
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     Date        Indiv Hours Description

     3/7/2022    JRW       0.10 Telephone conference with defense counsel regarding state court trial (7748
                                Essex).

                                Business Operations

                 KMP       0.20 Attention to and briefly review canceled insurance policy documentation (all).

                                Business Operations

     3/8/2022    AW        0.30 Attention to email regarding online vendor, review IT consultant
                                recommendation, and related email exchanges with K. Duff (defer).

                                Business Operations

                 JRW       0.10 Conference with K. Duff and M. Rachlis regarding trial in state court matter
                                (7748 Essex).

                                Business Operations

                 MR        0.10 Meeting with K. Duff and J. Wine regarding potential participation at trial of
                                personal injury action (7748 Essex).

                                Business Operations

     3/16/2022 AW          0.20 Attention to scanned notices and related email to K. Duff and J. Wine (4533
                                Calumet; 1516 E 85th; 5001 Drexel).

                                Business Operations

                 JR        0.50 Review email from insurance broker account manager producing a list of
                                property insurance refunds, brief review of same, correspond with K.
                                Pritchard requesting information related to missing property addresses
                                related to refunds, update missing property information related to insurance
                                premium refunds (7201 Constance; 7110 Cornell; 5618 MLK; 6356 California;
                                2800 E 81st; 4611 Drexel; 1017 E 102nd; 1516 E 85th; 2136 W 83rd; 417
                                Oglesby; 7922 Luella; 7925 Kingston; 7933 Kingston; 8030 Marquette; 8104
                                Kingston; 8405 Marquette; 8529 Rhodes; 8800 Ada; 9212 Parnell; 10012
                                LaSalle; 11318 Church; 3213 Throop; 3723 W 68th; 406 E 87th; 61 E 92nd;
                                6554 Rhodes; 6825 Indiana; 7210 Vernon; 7712 Euclid; 7953 Woodlawn;
                                8107 Kingston; 8346 Constance; 8432 Essex; 8517 Vernon; 2129 W 71st;
                                9610 Woodlawn; 5437 Laflin; 6759 Indiana; 1401 W 109th; 310 E 50th; 6807
                                Indiana).

                                Business Operations

                 JRW       0.60 Attention to notice of ordinance violation and related correspondence to city's
                                ownership dispute division (4533 Calumet) (.2); attention to collection notice
                                and draft letter to counsel (5001 Drexel) (.4).

                                Business Operations

                 KMP       0.30 Review spreadsheet from insurance broker identifying insurance refunds
                                relating to various properties, and related communications with E. Duff and
                                J. Rak (1422 E 68th; 7255 Euclid; 6949 Merrill; 7110 Cornell; 7656 Kingston;
                                7201 Constance; 5620 MLK; 7701 Essex; 6217 Dorchester; 2736 W 64th;
                                2453 E 75th; 4533 Calumet; 816 Marquette; 4317 Michigan; 7442 Calumet;
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     Date        Indiv Hours Description

                                7237 Bennett; 7255 Euclid; 7024 Paxton; 4750 Indiana; 638 Avers; 1102
                                Bingham; 4611 Drexel).

                                Business Operations

     3/17/2022 AW          0.80 Draft letter to counsel regarding administrative matter and related email to J.
                                Wine (5001 Drexel) (.1); revision to letter regarding administrative matter and
                                communicate regarding same with J. Wine and K. Pritchard (5001 Drexel)
                                (.2); review letter to plaintiff's counsel, review motion, and email J. Wine
                                regarding proposed revisions (7748 Essex) (.5).

                                Business Operations

                 JR        1.80 Review property addresses for various property insurance endorsements
                                related to refunds, update check items spreadsheet with property addresses,
                                communicate with account analyst requesting confirmation on property
                                addresses (7201 Constance; 7110 Cornell; 5618 MLK; 6356 California; 2800
                                E 81st; 4611 Drexel; 1017 E 102nd; 1516 E 85th; 2136 W 83rd; 417 Oglesby;
                                7922 Luella; 7925 Kingston; 7933 Kingston; 8030 Marquette; 8104 Kingston;
                                8405 Marquette; 8529 Rhodes; 8800 Ada; 9212 Parnell; 10012 LaSalle;
                                11318 Church; 3213 Throop; 3723 W 68th; 406 E 87th; 61 E 92nd; 6554
                                Rhodes; 6825 Indiana; 7210 Vernon; 7712 Euclid; 7953 Woodlawn; 8107
                                Kingston; 8346 Constance; 8432 Essex; 8517 Vernon; 2129 W 71st; 9610
                                Woodlawn; 5437 Laflin; 6759 Indiana; 1401 W 109th; 310 E 50th; 6807
                                Indiana) (1.7); review email from E. Duff related to a review of monthly
                                property reporting for October, November and December of 2020 (6554
                                Vernon; 1700 Juneway; 7201 Dorchester; 7508 Essex; 431 E 42nd; 7701
                                Essex; 7442Calumet; 816 Marquette; 6949 Merrill; 4533 Calumet; 4315
                                Michigan; 7600 Kingston; 7656 Kingston; 1131 E 79th; 6250 Mozart;
                                4750 Indiana; 7024 Paxton; 7840 Yates; 2800 E 81st; 4611 Drexel; single
                                family; 1422 East 68th; 7255 Euclid; 7237 Bennett; 6217 Dorchester Avenue;
                                638 Avers; 7109 Calumet) (.1).

                                Business Operations

                 JRW       3.20 Review and finalize letter to counsel for city regarding administrative matter
                                (5001 Drexel) (.1); review motion for rule to show cause in state court matter
                                and related telephone conference with defense counsel (7748 Essex) (.6);
                                confer with K. Duff regarding state court motion and related research
                                regarding discovery responses and purported basis for belief (7748 Essex)
                                (.5); draft letter to plaintiff's counsel in state court litigation, related
                                conferences with defense counsel and K. Duff, and exchange of
                                correspondence with M. Rachlis (7748 Essex) (1.6); review and revise letter
                                to plaintiff's counsel demanding withdrawal of baseless motion (7748 Essex)
                                (.4).

                                Business Operations

                 KMP       0.70 Attention to communications with insurance broker regarding questions about
                                spreadsheet identifying insurance refunds relating to various properties, and
                                related communications with E. Duff and J. Rak (1422 E 68th; 7255 Euclid;
                                6949 Merrill; 7110 Cornell; 7656 Kingston; 7201 Constance; 5620 MLK;
                                7701 Essex; 6217 Dorchester; 2736 W 64th; 2453 E 75th; 4533 Calumet; 816
                                Marquette; 4317 Michigan; 7442 Calumet; 7237 Bennett; 7255 Euclid; 7024
                                Paxton; 4750 Indiana; 638 Avers; 1102 Bingham; 4611 Drexel) (.1);
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     Date        Indiv Hours Description

                                attention to service of process for state court lawsuit by investors and related
                                communications with EB team (defer) (.3); prepare transmittal of response to
                                collection notice and related communications with J. Wine and A.
                                Watychowicz (5001 Drexel) (.3).

                                Business Operations

     3/17/2022 MR          1.20 Review and follow up regarding various issues on emergency motion
                                regarding state court litigation and several related exchanges (7748
                                Essex) (1.0); attention to new suit and service of same (defer) (.2).

                                Business Operations

     3/18/2022 AW          0.40 Call with J. Wine regarding potential appearance, draft additional appearance,
                                and related email exchanges regarding same (7748 Essex).

                                Business Operations

                 ED        0.20 Email correspondence with J. Rak regarding review of additional draft
                                property reports received from accountant (7201 Constance; 7110 Cornell;
                                5618 MLK, 6356 California; 2800 E 81st; 4611 Drexel; 1017 E 102nd; 1516
                                E 85th; 2136 W 83rd; 417 Oglesby; 7922 Luella; 7925 Kingston; 7933
                                Kingston; 8030 Marquette; 8104 Kingston; 8405 Marquette; 8529 Rhodes;
                                8800 Ada; 9212 Parnell; 10012 LaSalle; 11318 Church; 3213 Throop; 3723
                                W 68th; 406 E 87th; 61 E 92nd; 6554 Rhodes; 6825 Indiana; 7210 Vernon;
                                7712 Euclid; 7953 Woodlawn; 8107 Kingston; 8346 Constance; 8432 Essex;
                                8517 Vernon; 2129 W 71st; 9610 Woodlawn; 5437 Laflin; 6759 Indiana;
                                1401 W 109th; 310 E 50th; 6807 Indiana).

                                Business Operations

                 JR        2.60 Review monthly property reporting for October, November and December of
                                2020 produced by tax accountant and for various months in 2021 and
                                compare and analyze against property management reporting (7201
                                Constance; 3074 Cheltenham; 4533 Calumet; 7300 St. Lawrence; 7760
                                Coles; 9610 Woodlawn; 310 E 50th; 1401 W 109th; 6807 Indiana; 8000
                                Justine; 8107 Ellis; 8209 Ellis; 8214 Ingleside; 6160 MLK; 1131 E 79th; 6250
                                Mozart; 6751 Merrill; 7109 Calumet; 638 Avers; 7255 Euclid; 4520 Drexel;
                                4611 Drexel; 6217 Dorchester; 7924 Paxton; 7110 Cornell; 2736 W 64th;
                                4317 Michigan; 6356 California; 6357 Talman; 7201 Dorchester; 7546
                                Saginaw; 7600 Kingston; 7656 Kingston; 7953 Marquette; 8326 Ellis; 7442
                                Calumet; 7701 Essex; 816 Marquette; 7508 Essex; 7051 Bennett; 8201
                                Kingston; 701 S 5th; 7026 Cornell; 7237 Bennett; 2909 E 78th; 5955
                                Sacramento; 6001 Sacramento; 7927 Essex; 11119 Longwood; 5450 Indiana;
                                7749 Yates; 1422 E 68th; 2800 E 81st; 4750 Indiana; 7840 Yates; 7450
                                Luella; 1700 Juneway; 6949 Merrill; 417 Oglesby; 1017 W 102nd; 1516 E
                                85th; 2136 W 83rd; 7922 Luella; 7925 Kingston; 7933 Kingston; 8030
                                Marquette; 8104 Kingston; 8403 Marquette; 8529 Rhodes; 8800 Ada; 9212
                                Parnell; 61 E 92nd; 406 E 87th; 3213 Throop; 3723 E 68th; 6554 Rhodes;
                                6825 Indiana; 7210 Vernon; 7712 Euclid; 7953 Woodlawn; 8107 Kingston;
                                8346 Constance; 8432 Essex; 8517 Vernon; 10012 LaSalle; 11318 Church;
                                5618 MLK; 6558 Vernon).

                                Business Operations
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     Date        Indiv Hours Description


     3/18/2022 JR          0.30 Exchange detailed communication with E. Duff regarding issues with the
                                reports that were provided by tax accountant, review email from E. Duff
                                related to reporting issues, and further related communications with E. Duff
                                (7201 Constance; 3074 Cheltenham; 4533 Calumet; 7300 St. Lawrence; 7760
                                Coles; 9610 Woodlawn; 310 E 50th; 1401 W 109th; 6807 Indiana; 8000
                                Justine; 8107 Ellis; 8209 Ellis; 8214 Ingleside; 6160 MLK; 1131 E 79th; 6250
                                Mozart; 6751 Merrill; 7109 Calumet; 638 Avers; 7255 Euclid; 4520 Drexel;
                                4611 Drexel; 6217 Dorchester; 7924 Paxton; 7110 Cornell; 2736 W 64th; 4317
                                Michigan; 6356 California; 6357 Talman; 7201 Dorchester; 7546 Saginaw;
                                7600 Kingston; 7656 Kingston; 7953 Marquette; 8326 Ellis; 7442 Calumet;
                                7701 Essex; 816 Marquette; 7508 Essex; 7051 Bennett; 8201 Kingston; 701 S
                                5th; 7026 Cornell; 7237 Bennett; 2909 E 78th; 5955 Sacramento; 6001
                                Sacramento; 7927 Essex; 11119 Longwood; 5450 Indiana; 7749 Yates; 1422
                                E 68th; 2800 E 81st; 4750 Indiana; 7840 Yates; 7450 Luella; 1700 Juneway;
                                6949 Merrill; 417 Oglesby; 1017 W 102nd; 1516 E 85th; 2136 W 83rd; 7922
                                Luella; 7925 Kingston; 7933 Kingston; 8030 Marquette; 8104 Kingston; 8403
                                Marquette; 8529 Rhodes; 8800 Ada; 9212 Parnell; 61 E 92nd; 406 E 87th;
                                3213 Throop; 3723 E 68th; 6554 Rhodes; 6825 Indiana; 7210 Vernon; 7712
                                Euclid; 7953 Woodlawn; 8107 Kingston; 8346 Constance; 8432 Essex; 8517
                                Vernon; 10012 LaSalle; 11318 Church; 5618 MLK; 6558 Vernon).


                                Business Operations

                 JRW       1.60 Confer with K. Duff and related telephone conference with state court counsel
                                regarding potential appearance in state court case and review potential
                                appearance form (7748 Essex) (.4); legal research regarding issue related to
                                motion, attend motion hearing in state court litigation and related telephone
                                conference with state court counsel and related email exchange with K. Duff
                                (7748 Essex) (1.2).


                                Business Operations

                 MR        0.10 Attention to status on state court hearing and emergency motion (7748 Essex).


                                Business Operations

     3/21/2022 AW          0.20 Obtain a copy of docket in class action matter and related email to K. Duff
                                (defer) (.1); attention to complaint filed in state court, calculate time to
                                answer, and update docket (defer) (.1).


                                Business Operations

                 ED        0.10 Call with J. Rak to discuss allocation of insurance premium refunds received
                                (7201 Constance; 7110 Cornell; 5618 MLK; 6356 California; 2800 E 81st;
                                4611 Drexel; 1017 E 102nd; 1516 E 85th; 2136 W 83rd; 417 Oglesby; 7922
                                Luella; 7925 Kingston; 7933 Kingston; 8030 Marquette; 8104 Kingston; 8405
                                Marquette; 8529 Rhodes; 8800 Ada; 9212 Parnell; 10012 LaSalle; 11318
                                Church; 3213 Throop; 3723 W 68th; 406 E 87th; 61 E 92nd; 6554 Rhodes;
                                6825 Indiana; 7210 Vernon; 7712 Euclid; 7953 Woodlawn; 8107 Kingston;
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     Date        Indiv Hours Description

                                8346 Constance; 8432 Essex; 8517 Vernon; 2129 W 71st; 9610 Woodlawn;
                                5437 Laflin; 6759 Indiana; 1401 W 109th; 310 E 50th; 6807 Indiana).

                                Business Operations

     3/21/2022 ED          0.20 Call with J. Rak to discuss review of draft accounting reports through
                                December 31, 2021 (7201 Constance; 7110 Cornell; 5618 MLK; 6356
                                California; 2800 E 81st; 4611 Drexel; 1017 E 102nd; 1516 E 85th; 2136 W
                                83rd; 417 Oglesby; 7922 Luella; 7925 Kingston; 7933 Kingston; 8030
                                Marquette; 8104 Kingston; 8405 Marquette; 8529 Rhodes; 8800 Ada; 9212
                                Parnell; 10012 LaSalle; 11318 Church; 3213 Throop; 3723 W 68th; 406 E
                                87th; 61 E 92nd; 6554 Rhodes; 6825 Indiana; 7210 Vernon; 7712 Euclid;
                                7953 Woodlawn; 8107 Kingston; 8346 Constance; 8432 Essex; 8517 Vernon;
                                2129 W 71st; 9610 Woodlawn; 5437 Laflin; 6759 Indiana; 1401 W 109th; 310
                                E 50th; 6807 Indiana).

                                Business Operations

                 ED        0.80 Begin review of draft reports from accountant for year ended 12/31/2021
                                (7201 Constance; 7110 Cornell; 5618 MLK; 6356 California; 2800 E 81st;
                                4611 Drexel; 1017 E 102nd; 1516 E 85th; 2136 W 83rd; 417 Oglesby; 7922
                                Luella; 7925 Kingston; 7933 Kingston; 8030 Marquette; 8104 Kingston; 8405
                                Marquette; 8529 Rhodes; 8800 Ada; 9212 Parnell; 10012 LaSalle; 11318
                                Church; 3213 Throop; 3723 W 68th; 406 E 87th; 61 E 92nd; 6554 Rhodes;
                                6825 Indiana; 7210 Vernon; 7712 Euclid; 7953 Woodlawn; 8107 Kingston;
                                8346 Constance; 8432 Essex; 8517 Vernon; 2129 W 71st; 9610 Woodlawn;
                                5437 Laflin; 6759 Indiana; 1401 W 109th; 310 E 50th; 6807 Indiana).

                                Business Operations

                 JR        1.60 Review email to insurance broker account analyst related to property refunds
                                issued and request confirmation of property addresses related to refund
                                allocations, follow up email to account analyst and E. Duff regarding same
                                (7201 Constance; 7110 Cornell; 5618 MLK; 6356 California; 2800 E 81st;
                                4611 Drexel; 1017 E 102nd; 1516 E 85th; 2136 W 83rd; 417 Oglesby; 7922
                                Luella; 7925 Kingston; 7933 Kingston; 8030 Marquette; 8104 Kingston; 8405
                                Marquette; 8529 Rhodes; 8800 Ada; 9212 Parnell; 10012 LaSalle; 11318
                                Church; 3213 Throop; 3723 W 68th; 406 E 87th; 61 E 92nd; 6554 Rhodes;
                                6825 Indiana; 7210 Vernon; 7712 Euclid; 7953 Woodlawn; 8107 Kingston;
                                8346 Constance; 8432 Essex; 8517 Vernon; 2129 W 71st; 9610 Woodlawn;
                                5437 Laflin; 6759 Indiana; 1401 W 109th; 310 E 50th; 6807 Indiana) (.4);
                                review email from account analyst and update spreadsheet related to
                                property insurance refunds (7201 Constance; 7110 Cornell; 5618 MLK; 6356
                                California) (.6); further communication with E. Duff related to property report
                                review for October, November, December 2020 and all months in 2021
                                regarding reporting issues (all) (.6).

                                Business Operations

                 KMP       0.50 Attention to communications with insurance broker regarding identification of
                                refunds for terminated coverage on sold properties (5618 MLK; 6356
                                California; 7110 Cornell; 7201 Constance; 2800 E 81st; 4611 Drexel; 1017 E
                                102nd; 1516 E 85th; 2136 W 83rd; 417 Oglesby; 7922 Luella; 7925 Kingston;
                                7933 Kingston; 8030 Marquette; 8104 Kingston; 8405 Marquette; 8529
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     Date        Indiv Hours Description

                                Rhodes; 8800 Ada; 9212 Parnell; 10012 LaSalle; 11318 Church; 3213
                                Throop; 3723 W 68th; 406 E 87th; 61 E 92nd; 6554 Rhodes; 6825 Indiana;
                                7210 Vernon; 7712 Euclid; 7953 Woodlawn; 8107 Kingston; 8346 Constance;
                                8432 Essex; 8517 Vernon; 2129 W 71st; 9610 Woodlawn; 5437 Laflin; 6759
                                Indiana; 1401 W 109th; 310 E 50th; 6807 Indiana) (.2); communications with
                                K. Duff and J. Wine regarding identification and tracking of various expenses
                                in connection with motion for expense restoration (1102 Bingham; 1401 W
                                109th; 1414 E 62nd; 1700 Juneway; 2736 W 64th; 4533 Calumet; 4611 Drexel;
                                5618 MLK; 6160 MLK; 6217 Dorchester; 6554 Rhodes; 6825 Indiana; 7051
                                Bennett; 7109 Calumet; 7201 Constance; 7210 Vernon; 7635 East End; 7656
                                Kingston; 7748 Essex; 7749 Yates; 7834 Ellis; 8201 Kingston; 8326 Ellis) (.3).

                                Business Operations

     3/22/2022 KMP         1.20 Work on spreadsheet identifying and tracking various expenses in connection
                                with motion for expense restoration (1017 W 102nd; 1102 Bingham; 1401 W
                                109th; 1414 E 62nd; 1422 E 68th; 1516 E 85th; 11117 Longwood; 1700
                                Juneway; 2129 W 71st; 2909 E 78th; 2136 W 83rd; 3030 E 79th; 310 E 50th;
                                3213 Throop; 3723 W 68th; 406 E 87th; 417 Oglesby; 4520 Drexel; 4611
                                Drexel; 5001 Drexel; 5437 Laflin; 5450 Indiana; 5955 Sacramento; 6001
                                Sacramento; 61 E 92nd; 6160 MLK; 6217 Dorchester; 638 Avers; 6437
                                Kenwood; 6554 Rhodes; 6749 Merrill; 6759 Indiana; 6807 Indiana; 6825
                                Indiana; 6949 Merrill; 701 S 5th; 7026 Cornell; 7109 Calumet; 7110 Cornell;
                                7210 Vernon; 7237 Bennett; 7300 St. Lawrence; 7301 Stewart; 7420 Colfax;
                                7450 Luella; 7500 Eggleston; 7546 Saginaw; 7547 Essex; 7600 Kingston;
                                7625 East End; 7635 East End; 7656 Kingston; 7712 Euclid; 7748 Essex;
                                7749 Yates; 7750 Muskegon; 7760 Coles; 7834 Ellis; 7922 Luella; 7925
                                Kingston; 7927 Essex; 7933 Kingston; 7953 Woodlawn; 8000 Justine; 8030
                                Marquette; 8047 Manistee; 8100 Essex; 8104 Kingston; 8107 Kingston; 8201
                                Kingston; 8209 Ellis; 8214 Ingleside; 8326 Ellis; 8334 Ellis; 8342 Ellis; 8346
                                Constance; 8352 Ellis; 8403 Aberdeen; 8405 Marquette; 8432 Essex; 8517
                                Vernon; 8529 Rhodes; 8800 Ada; 9212 Parnell; 9610 Woodlawn; 10012
                                LaSalle; 11318 Church).

                                Business Operations

     3/23/2022 JR          2.30 Review property management reports prepared by tax firm related to
                                property reporting and prepare a list of reports requiring further review
                                (7201 Constance; 3074 Cheltenham; 4533 Calumet; 7300 Lawrence;
                                7760 Coles; 9610 Woodlawn; 310 E 50th; 1401 W 109th; 6807 Indiana;
                                8000 Justine; 8107 Ellis; 8209 Ellis; 8214 Ingleside) (.7); exchange
                                correspondence with tax analyst requesting additional reporting for
                                various months in 2021 (all) (.2); extensive review of monthly property
                                reports for all of 2021 (all) (1.4).

                                Business Operations
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     Date        Indiv Hours Description


     3/23/2022 KMP         2.50 Review bank statements and schedules of receipts and disbursements to
                                prepare spreadsheet identifying and tracking various property-related
                                deposits to Receiver's accounts in connection with motion for expense
                                restoration and related conference with K. Duff (1017 W 102nd; 1102
                                Bingham; 1401 W 109th; 1414 E 62nd; 1422 E 68th; 1516 E 85th; 11117
                                Longwood; 1700 Juneway; 2129 W 71st; 2909 E 78th; 2136 W 83rd; 3030 E
                                79th; 310 E 50th; 3213 Throop; 3723 W 68th; 406 E 87th; 417 Oglesby; 4520
                                Drexel; 4611 Drexel; 5001 Drexel; 5437 Laflin; 5450 Indiana; 5955
                                Sacramento; 6001 Sacramento; 61 E 92nd; 6160 MLK; 6217 Dorchester;
                                638 Avers; 6437 Kenwood; 6554 Rhodes; 6749 Merrill; 6759 Indiana; 6807
                                Indiana; 6825 Indiana; 6949 Merrill; 701 S 5th; 7026 Cornell; 7109 Calumet;
                                7110 Cornell; 7210 Vernon; 7237 Bennett; 7300 St. Lawrence; 7301 Stewart;
                                7420 Colfax; 7450 Luella; 7500 Eggleston; 7546 Saginaw; 7547 Essex; 7600
                                Kingston; 7625 East End; 7635 East End; 7656 Kingston; 7712 Euclid; 7748
                                Essex; 7749 Yates; 7750 Muskegon; 7760 Coles; 7834 Ellis; 7922 Luella;
                                7925 Kingston; 7927 Essex; 7933 Kingston; 7953 Woodlawn; 8000 Justine;
                                8030 Marquette; 8047 Manistee; 8100 Essex; 8104 Kingston; 8107 Kingston;
                                8201 Kingston; 8209 Ellis; 8214 Ingleside; 8326 Ellis; 8334 Ellis; 8342 Ellis;
                                8346 Constance; 8352 Ellis; 8403 Aberdeen; 8405 Marquette; 8432 Essex;
                                8517 Vernon; 8529 Rhodes; 8800 Ada; 9212 Parnell; 9610 Woodlawn;
                                10012 LaSalle; 11318 Church).


                                Business Operations

     3/24/2022 ED          0.20 Email correspondence with accountants and J. Rak regarding content and
                                presentation of reporting for all properties pending allocation of insurance
                                refunds and allocation of fees and expenses for all properties (all).


                                Business Operations

                 JR        1.50 Review emails and exchange correspondence with insurance broker account
                                analyst requesting updates to property insurance refunds (all) (.3); extensive
                                review of monthly property reports for all of 2021 (2800 E 81st; 4611 Drexel;
                                1017 E 102nd; 1516 E 85th; 2136 W 83rd; 417 Oglesby; 7922 Luella; 7925
                                Kingston; 7933 Kingston; 8030 Marquette; 8104 Kingston; 8405 Marquette;
                                8529 Rhodes; 8800 Ada; 9212 Parnell; 10012 LaSalle; 11318 Church; 3213
                                Throop; 3723 W 68th; 406 E 87th; 61 E 92nd; 6554 Rhodes; 6825 Indiana;
                                7210 Vernon; 7712 Euclid; 7953 Woodlawn; 8107 Kingston; 8346 Constance;
                                8432 Essex; 8517 Vernon; 2129 W 71st; 9610 Woodlawn; 5437 Laflin; 6759
                                Indiana; 1401 W 109th; 310 E 50th; 6807 Indiana) (.9); exchange
                                correspondence with account manager and request further information for all
                                property reporting (all) (.3).


                                Business Operations

                 JRW       1.30 Review and revise spreadsheets tracking expenses and draft restoration
                                motion and related correspondence to K. Pritchard (1102 Bingham; 1401 W
                                109th; 1414 E 62nd; 1700 Juneway; 2736 W 64th; 4533 Calumet; 4611
                                Drexel; 5618 MLK; 6160 MLK; 6217 Dorchester; 6554 Rhodes; 6825 Indiana;
                                7051 Bennett; 7109 Calumet; 7201 Constance; 7210 Vernon; 7635 East End;
                                7656 Kingston; 7748 Essex; 7749 Yates; 7834 Ellis; 8201 Kingston; 8326
                                Ellis).

                                Business Operations
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     Date        Indiv Hours Description

     3/24/2022 KMP         0.80 Communicate with J. Wine regarding various issues relating to motion for
                                expense restoration and review related checklist and spreadsheet prepared
                                by J. Wine (1102 Bingham; 1401 W 109th; 1414 E 62nd; 1700 Juneway;
                                2736 W 64th; 4533 Calumet; 4611 Drexel; 5618 MLK; 6160 MLK; 6217
                                Dorchester; 6554 Rhodes; 6825 Indiana; 7051 Bennett; 7109 Calumet; 7201
                                Constance; 7210 Vernon; 7635 East End; 7656 Kingston; 7748 Essex; 7749
                                Yates; 7834 Ellis; 8201 Kingston; 8326 Ellis).

                                Business Operations

                 KMP       0.20 Attention to communications with insurance broker regarding spreadsheet
                                tracking refunds for terminated property and GL insurance coverage (5618
                                MLK; 6356 California; 7110 Cornell; 7201 Constance; 2800 E 81st; 4611
                                Drexel; 1017 E 102nd; 1516 E 85th; 2136 W 83rd; 417 Oglesby; 7922 Luella;
                                7925 Kingston; 7933 Kingston; 8030 Marquette; 8104 Kingston; 8405
                                Marquette; 8529 Rhodes; 8800 Ada; 9212 Parnell; 10012 LaSalle; 11318
                                Church; 3213 Throop; 3723 W 68th; 406 E 87th; 61 E 92nd; 6554 Rhodes;
                                6825 Indiana; 7210 Vernon; 7712 Euclid; 7953 Woodlawn; 8107 Kingston;
                                8346 Constance; 8432 Essex; 8517 Vernon; 2129 W 71st; 9610 Woodlawn;
                                5437 Laflin; 6759 Indiana; 1401 W 109th; 310 E 50th; 6807 Indiana).

                                Business Operations

     3/25/2022 KMP         2.70 Continue work on spreadsheets relating to receipts and expenses for
                                motion for expense restoration (1017 W 102nd; 1102 Bingham; 1401 W
                                109th; 1414 E 62nd; 1422 E 68th; 1516 E 85th; 11117 Longwood; 1700
                                Juneway; 2129 W 71st; 2909 E 78th; 2136 W 83rd; 3030 E 79th; 310 E
                                50th; 3213 Throop; 3723 W 68th; 406 E 87th; 417 Oglesby; 4520 Drexel;
                                4611 Drexel; 5001 Drexel; 5437 Laflin; 5450 Indiana; 5955 Sacramento;
                                6001 Sacramento; 61 E 92nd; 6160 MLK; 6217 Dorchester; 638 Avers;
                                6437 Kenwood; 6554 Rhodes; 6749 Merrill; 6759 Indiana; 6807 Indiana;
                                6825 Indiana; 6949 Merrill; 701 S 5th; 7026 Cornell; 7109 Calumet; 7110
                                Cornell; 7210 Vernon; 7237 Bennett; 7300 St. Lawrence; 7301 Stewart;
                                7420 Colfax; 7450 Luella; 7500 Eggleston; 7546 Saginaw; 7547 Essex;
                                7600 Kingston; 7625 East End; 7635 East End; 7656 Kingston; 7712
                                Euclid; 7748 Essex; 7749 Yates; 7750 Muskegon; 7760 Coles; 7834 Ellis;
                                7922 Luella; 7925 Kingston; 7927 Essex; 7933 Kingston; 7953 Woodlawn;
                                8000 Justine; 8030 Marquette; 8047 Manistee; 8100 Essex; 8104
                                Kingston; 8107 Kingston; 8201 Kingston; 8209 Ellis; 8214 Ingleside; 8326
                                Ellis; 8334 Ellis; 8342 Ellis; 8346 Constance; 8352 Ellis; 8403 Aberdeen;
                                8405 Marquette; 8432 Essex; 8517 Vernon; 8529 Rhodes; 8800 Ada; 9212
                                Parnell; 9610 Woodlawn; 10012 LaSalle; 11318 Church).

                                Business Operations

     3/28/2022 JR          1.70 Extensive review of monthly property reports for all of 2021 (all) (1.3);
                                exchange communication with accounting associate requesting
                                missing property reports (all) (.4).

                                Business Operations

                 JRW       0.20 Exchange correspondence with vendor regarding outstanding invoices
                                (defer).

                                Business Operations
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       3/28/2022 KMP         0.80 Continue work on spreadsheets relating to receipts and expenses for
                                  motion for expense restoration (1017 W 102nd; 1102 Bingham; 1401 W
                                  109th; 1414 E 62nd; 1422 E 68th; 1516 E 85th; 11117 Longwood; 1700
                                  Juneway; 2129 W 71st; 2909 E 78th; 2136 W 83rd; 3030 E 79th; 310 E
                                  50th; 3213 Throop; 3723 W 68th; 406 E 87th; 417 Oglesby; 4520 Drexel;
                                  4611 Drexel; 5001 Drexel; 5437 Laflin; 5450 Indiana; 5955 Sacramento;
                                  6001 Sacramento; 61 E 92nd; 6160 MLK; 6217 Dorchester; 638 Avers;
                                  6437 Kenwood; 6554 Rhodes; 6749 Merrill; 6759 Indiana; 6807 Indiana;
                                  6825 Indiana; 6949 Merrill; 701 S 5th; 7026 Cornell; 7109 Calumet; 7110
                                  Cornell; 7210 Vernon; 7237 Bennett; 7300 St. Lawrence; 7301 Stewart;
                                  7420 Colfax; 7450 Luella; 7500 Eggleston; 7546 Saginaw; 7547 Essex;
                                  7600 Kingston; 7625 East End; 7635 East End; 7656 Kingston; 7712
                                  Euclid; 7748 Essex; 7749 Yates; 7750 Muskegon; 7760 Coles; 7834 Ellis;
                                  7922 Luella; 7925 Kingston; 7927 Essex; 7933 Kingston; 7953 Woodlawn;
                                  8000 Justine; 8030 Marquette; 8047 Manistee; 8100 Essex; 8104
                                  Kingston; 8107 Kingston; 8201 Kingston; 8209 Ellis; 8214 Ingleside; 8326
                                  Ellis; 8334 Ellis; 8342 Ellis; 8346 Constance; 8352 Ellis; 8403 Aberdeen;
                                  8405 Marquette; 8432 Essex; 8517 Vernon; 8529 Rhodes; 8800 Ada; 9212
                                  Parnell; 9610 Woodlawn; 10012 LaSalle; 11318 Church).

                                  Business Operations

       3/31/2022 MR          0.10 Attention to e-mail from counsel on new complaint and waiver of service
                                  (defer).

                                  Business Operations


SUBTOTAL:                                                                                [ 38.00        7422.00]
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Case Administration

         3/3/2022     AW      0.90 Call with K. Duff regarding update to receivership web page (.2); call with IT
                                   consultant regarding update to website (.1); create link containing pleadings
                                   for upload to web page and follow up email regarding supplement to IT
                                   consultant (.6).

                                   Case Administration

         3/8/2022     AW      0.40 Review motions to approve process and motion to approve sale and related
                                   email exchanges with M. Rachlis.

                                   Case Administration

                      JR      0.10 Communication with K. Duff regarding preparation for trial related to a
                                   complaint filed against EB related to tenant matter.

                                   Case Administration

         3/9/2022     AW      0.30 Work with IT consultant on update to webpage (.2); communicate with
                                   J. Wine regarding voluminous filings upload (.1).

                                   Case Administration

                      JRW     0.10 Confer with K. Duff regarding vendor invoice.

                                   Case Administration

                      KMP     0.10 Communications with K. Duff and J. Wine regarding vendor invoice for
                                   maintenance of claims database and status of issues relating to claims
                                   documentation.

                                   Case Administration

         3/15/2022 JRW        0.20 Confer with A. Watychowicz regarding file management for claims process
                                   materials.

                                   Case Administration

         3/17/2022 AW         0.20 Review updates to Receivership web page and communicate with IT vendor
                                   regarding further revisions.

                                   Case Administration

         3/21/2022 AW         0.70 Prepare update to receivership web page and related email to IT vendor.


                                   Case Administration

         3/24/2022 AW         0.10 Attention to motion for extension and entered orders and related
                                   communication with counsel (Group 1).

                                   Case Administration
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    Kevin B. Duff, Receiver                                                                               Page 14



         Date       Indiv Hours Description

         3/24/2022 JRW        0.10 Exchange correspondence with K. Duff regarding vendor invoice.

                                   Case Administration

         3/25/2022 AW         0.10 Attention to entered order regarding extension on status report, related email
                                   to counsel, and docket update (Group 1).

                                   Case Administration

         3/31/2022 JRW        0.20 Exchange correspondence with K. Duff, M. Rachlis and A. Porter regarding
                                   state court foreclosure proceeding.

                                   Case Administration


SUBTOTAL:                                                                                   [ 3.50            562.00]

Claims Administration & Objections

         3/1/2022   AW        1.40 Attention to claimant's email regarding Receiver's recommendations, work
                                   with K. Duff and J. Wine on standard response, and reply to claimant (Group
                                   1) (.3); communicate with J. Wine and K. Pritchard regarding productions
                                   served on counsel (sole lien) (.3); call with K. Pritchard regarding document
                                   productions (sole lien) (.3); locate produced files and share with counsel
                                   (6749 Merrill; 7110 Cornell) (.2); email exchange with J. Wine regarding
                                   service list to update counsel on status of productions (sole lien) (.3).

                                   Claims Administration & Objections

                    JRW       0.80 Attention to claimant inquiry (all) (.2); draft communication to Group 1
                                   claimants regarding responsive statements and related correspondence with
                                   K. Duff and A. Watychowicz (Group 1) (.3); correspondence to database
                                   vendor regarding claimants' requests for exports (all) (.2); confer with A.
                                   Watychowicz and K. Pritchard regarding service of document productions
                                   (sole lien) (.1).

                                   Claims Administration & Objections

                    KMP       0.60 Work with A. Watychowicz regarding compilation and service of produced
                                   documents, prepare chart tracking receipt and service of produced
                                   documents, and related communications with J. Wine (sole lien).

                                   Claims Administration & Objections

                    MR        0.30 Attention to claimant communications regarding submissions and related
                                   follow up (Group 1).

                                   Claims Administration & Objections

         3/3/2022   AW        0.80 Draft response email to claimant, email exchange with K. Duff regarding
                                   same and related email to claimant (all) (.2); follow up with claimant's
                                   counsel regarding entered order for extension to respond to Receiver's
                                   recommendation (Group 1) (.1); attention to entered order regarding
                                   extension to respond to Receiver's recommendation, communication
                                   regarding draft email, and related email to claimants (Group 1) (.3);
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 Kevin B. Duff, Receiver                                                                                 Page 15



     Date        Indiv Hours Description

                                email documents produced pursuant to subpoenas to counsel and confirm
                                with J. Wine current service list (sole lien) (.2).


                                Claims Administration & Objections

     3/3/2022    JRW       1.80 Correspondence to third-party regarding status of production in response to
                                subpoena (1017 W 102nd; 10012 LaSalle; 11318 Church; 1516 E 85th;
                                2129 W 71st; 2136 W 83rd; 3213 Throop; 406 E 87th; 417 Oglesby;
                                6554 Rhodes; 6759 Indiana; 6825 Indiana; 7210 Vernon; 7712 Euclid; 7922
                                Luella; 7925 Kingston; 8030 Marquette; 8104 Kingston; 8107 Kingston; 8346
                                Constance; 8403 Aberdeen; 8432 Essex; 8517 Vernon; 8529 Rhodes; 9212
                                Parnell; 9610 Woodlawn) (.1); multiple telephone conferences with claimants'
                                counsel regarding database export (all) (.6); study claimant submission,
                                conduct additional database searches, and related correspondence
                                regarding late filing of additional claim (all) (.8); review EquityBuild records
                                regarding buyout histories for claims analysis (all) (.3).

                                Claims Administration & Objections

                 KMP       0.20 Update chart relating to service of document productions on lenders' counsel
                                (sole lien).

                                Claims Administration & Objections

                 MR        0.50 Review claims and follow up related to Group 1 (7625 East End).

                                Claims Administration & Objections

     3/4/2022    JRW       0.30 Confer with J. Rak and A. Watychowicz regarding records supporting position
                                statement (Group 1) (.2); email and telephone conference with claimants'
                                counsel and M. Rachlis regarding extension of deadline to file responsive
                                position statement (Group 1) (.1).

                                Claims Administration & Objections

                 MR        0.10 Attention to emails, conferences and motion regarding extension of deadline
                                to file position statement (Group 1).

                                Claims Administration & Objections

     3/7/2022    AW        0.90 Communicate with J. Wine regarding update on claims email to claimants
                                (all) (.2); email claimant regarding update on claims process (all) (.1); prepare
                                file for transfer and email claimants requested claims files (4533 Calumet;
                                8100 Essex; 6217 Dorchester; 6355 Talman) (.4); work on email to claimants
                                regarding extension of time to file responsive statement and related email to
                                claimants (Group 1) (.2).

                                Claims Administration & Objections

                 JRW       1.80 Confer with K. Duff and A. Watychowicz regarding correspondence to Group
                                1 claimants regarding responsive position statements (Group 1) (.2);
                                correspondence to court's clerk regarding outstanding motion for extension
                                (Group 1) (.1); exchange correspondence with database vendor regarding
                                processed data volume (all) (.1); confer with K. Duff and M. Rachlis
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 Kevin B. Duff, Receiver                                                                                  Page 16



     Date        Indiv Hours Description

                                regarding status update (sole lien) (.1); attention to claimant inquiry and
                                related conference regarding distributions to retirement accounts (all) (.3);
                                review documents from third party subpoena (6749 Merrill; 7110 Cornell)
                                (1.0).

                                Claims Administration & Objections

     3/7/2022    MR        0.10 Attention to status and related communications with J. Wine (sole lien).

                                Claims Administration & Objections

     3/8/2022    AW        0.40 Attention to email regarding claims, review claim and supporting documents,
                                work with claimant and counsel on resolution, and related emails to claimant
                                (6250 Mozart; 6356 California).

                                Claims Administration & Objections

     3/9/2022    AW        0.60 Continued work on claim issue, contact vendor regarding submissions,
                                email exchanges with K. Duff and J. Wine, and related instructions to
                                claimant (6250 Mozart; 6356 California).

                                Claims Administration & Objections

                 JRW       0.30 Confer with A. Watychowicz regarding claimant inquiry and late
                                submission of claims (all) (.1); exchange correspondence with database
                                vendor regarding records (all) (.2).

                                Claims Administration & Objections

     3/10/2022 AW          0.30 Attention to proof of claim form and supporting documents, record claim, and
                                related email to counsel and claimant (6250 Mozart; 6356 California).

                                Claims Administration & Objections

                 JRW       1.20 Confer with A. Watychowicz regarding download of EB records (all) (.3);
                                confer with database vendor regarding database volume (all) (.2);
                                conference call with database vendor and claimants counsel regarding
                                database export options (all) (.6); attention to claimant inquiry (all) (.1).

                                Claims Administration & Objections

     3/11/2022 JRW         0.50 Exchange correspondence with A. Porter regarding analysis of releases (all)
                                (.1); telephone conference with claimants' counsel regarding EB documents
                                (all) (.1); confer with K. Duff and M. Rachlis regarding EB records database
                                and claimants' request for records (all) (.3).

                                Claims Administration & Objections

                 MR        0.30 Conference with K. Duff and J. Wine regarding EB records database and
                                claimants' request for database records (all).

                                Claims Administration & Objections
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 Kevin B. Duff, Receiver                                                                               Page 17



     Date        Indiv Hours Description

     3/14/2022 AW          1.40 Review, legal and record cite check of insert on sole lien process, and related
                                email to M. Rachlis (sole lien) (1.1); attention to responsive statement and
                                related email to counsel (Group 1) (.2); correspondence with claimant
                                regarding access to claims files (all) (.1).

                                Claims Administration & Objections

                 JRW       0.50 Review claimants' responsive position statements (Group 1).


                                Claims Administration & Objections

                 MR        0.70 Attention to claims submissions and related follow up (Group 1).

                                Claims Administration & Objections

     3/15/2022 AW          1.40 Research for claim analysis and related emails to M. Rachlis and J. Wine
                                (Group 1).


                                Claims Administration & Objections

                 JRW       2.80 Study claimant's responsive statement (Group 1) (1.1); confer with M. Rachlis
                                regarding transfers of claimant's loan proceeds and related research and
                                analysis regarding bank activity (Group 1) (1.7).

                                Claims Administration & Objections

                 MR        5.00 Further review of submission by claimant (Group 1) (1.3); follow up with J.
                                Wine regarding issues for response (Group 1) (1.7); research on issues
                                raised in position statement (Group 1) (2.0).

                                Claims Administration & Objections

     3/16/2022 JRW         0.50 Continue studying claimant's responsive position statement on fraudulent
                                conveyance issue (Group 1).

                                Claims Administration & Objections

                 MR        3.50 Additional work and research on avoidance issues to prepare reply brief
                                (Group 1).

                                Claims Administration & Objections

     3/17/2022 AW          0.40 Review claims and related detailed email and further communications with J.
                                Rak (Group 1).

                                Claims Administration & Objections

                 JR        0.70 Review email from M. Rachlis, further communication with A. Porter regarding
                                purchase of property or properties in 2017 by EquityBuild and the use of
                                institutional lender funds, conduct analysis and provide M. Rachlis with the
                                requested property information (Group 1).

                                Claims Administration & Objections
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 Kevin B. Duff, Receiver                                                                                  Page 18



     Date        Indiv Hours Description


     3/17/2022 MR          2.00 Further work on draft reply brief (Group 1).

                                Claims Administration & Objections

     3/18/2022 MR          3.00 Further work and draft reply brief on avoidance issues (Group 1).

                                Claims Administration & Objections

     3/20/2022 MR          2.70 Additional work on reply brief relating to avoidance claims (Group 1).

                                Claims Administration & Objections

     3/21/2022 AW          3.60 Review draft reply brief on avoidance issues and correspond with M. Rachlis
                                regarding proposed revisions (Group 1) (2.4); update claimants' information
                                sheet with latest appearances, withdrawal, and requests for change of
                                address and related email to J. Wine (all) (.9); research and email exchanges
                                with J. Wine regarding claimants' service list (all) (.3).

                                Claims Administration & Objections

                 JRW       0.40 Confer with A. Watychowicz and K. Duff and related correspondence to
                                counsel for claimants regarding settlement status and claimant contact
                                information (defer).

                                Claims Administration & Objections

                 MR        1.00 Further review and work on draft reply regarding avoidance issues and
                                related follow up (Group 1).

                                Claims Administration & Objections

     3/22/2022 AW          0.40 Review motion for extension, communicate with M. Rachlis regarding
                                revisions, finalize and file with court (Group 1).

                                Claims Administration & Objections

                 JRW       3.90 Review and revise draft reply in support of avoidance claim and related
                                factual research (Group 1) (2.2); review alternate spreadsheets containing
                                claimant information and confer with A. Watychowicz regarding format (all)
                                (.1); confer with A. Watychowicz regarding docket, prepare draft of joint status
                                report and related correspondence and conference with claimants' counsel
                                regarding extension (Group 1) (1.3); separate conferences with claimants'
                                counsel regarding EquityBuild document export and related correspondence
                                (all) (.3).

                                Claims Administration & Objections

                 MR        0.60 Attention to extension issues and further attention to brief (Group 1) (.3);
                                attention to claims status report (Group 1) (.3).

                                Claims Administration & Objections
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     Date        Indiv Hours Description


     3/23/2022 AW          0.40 Attention to voice message from claimant, research claim and information
                                regarding counsel, and related email to K. Duff (6437 Kenwood; 7026 Cornell;
                                1131 E 79th; 6217 Dorchester; 7546 Saginaw).

                                Claims Administration & Objections

                 JRW       0.40 Exchange various correspondence and drafts with K. Duff, M. Rachlis,
                                SEC, and claimants' counsel regarding joint status report (Group 1).


                                Claims Administration & Objections

                 MR        0.70 Attention to various issues regarding claims status report (Group 1) (.5);
                                conferences with claimant's counsel and K. Duff on extension (Group 1) (.2).


                                Claims Administration & Objections

     3/24/2022 AW          0.30 Communicate with J. Wine regarding custodian issues (all) (.1); communicate
                                with J. Wine regarding motion for extension and follow up with the court
                                (Group 1) (.1); respond to claimant's voice message by email (all) (.1).


                                Claims Administration & Objections

                 JRW       0.30 Correspondence to court clerk regarding motion for extension of deadline to
                                file reply to claimant's responsive statement (Group 1) (.1); review motion for
                                extension of deadline to file status report (Group 1) (.1); correspondence
                                regarding status report and parties' positions regarding evidentiary hearing
                                (Group 1) (.1).

                                Claims Administration & Objections

                 MR        2.00 Additional review and edits on reply brief and related follow up, and attention
                                to extension order (Group 1) (1.7); attention to claims status report issues
                                (Group 1) (.2); attention to database issues (all) (.1).

                                Claims Administration & Objections

     3/25/2022 AW          0.60 Review claims and prior email communications and respond to claimants'
                                emails regarding update on claims process (all).


                                Claims Administration & Objections

                 JRW       2.60 Additional correspondence regarding Group 1 proceedings and related
                                conference with K. Duff and M. Rachlis (Group 1) (.4); review and revise draft
                                reply to avoidance claim (Group 1) (2.1); correspondence with claimants'
                                counsel regarding EB document export (all) (.1).

                                Claims Administration & Objections
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 Kevin B. Duff, Receiver                                                                                     Page 20



     Date        Indiv Hours Description

     3/25/2022 MR          2.20 Further work and attention to draft reply brief (Group 1) (1.0); conferences
                                regarding issues on status report with K. Duff and J. Wine (Group 1) (.3);
                                work on language for status report and review and revise various versions
                                (Group 1) (.9).

                                Claims Administration & Objections

     3/26/2022 MR          1.50 Further review and edits to draft reply and related follow up (Group 1).

                                Claims Administration & Objections

     3/27/2022 MR          0.50 Attention to draft reply and related follow up with A. Watychowicz (Group 1).

                                Claims Administration & Objections

     3/28/2022 AW          4.20 Respond to claimant's email regarding claims process (all) (.1); review
                                revised avoidance reply brief, communicate with counsel regarding
                                requirements, prepare and modify exhibits to same (Group 1) (2.3); further
                                review reply brief and email exchanges regarding proposed revisions (Group
                                1) (.8); review public records and related email to counsel (Group 1) (.4);
                                finalize reply, file with court, and serve as per service list (Group 1) (.6).

                                Claims Administration & Objections

                 JRW       4.80 Additional revision, related correspondence, and finalization of Receiver's
                                reply to claimant's submission on avoidance issues and exhibits thereto
                                (Group 1) (4.7); review draft of joint status report (Group 1) (.1).

                                Claims Administration & Objections

                 MR        2.70 Work on completing avoidance reply and exhibits (Group 1) (2.2); various
                                exchanges with K. Duff, J. Wine and A. Watychowicz regarding various
                                issues regarding brief and filing (Group 1) (.5).

                                Claims Administration & Objections

     3/29/2022 JRW         0.50 Exchange correspondence with claimants' counsel regarding EB records
                                database (all) (.1); exchange drafts and correspondence with M. Rachlis and
                                claimants' counsel regarding joint status report (Group 1) (.4).

                                Claims Administration & Objections

                 KMP       1.90 Review and comment on draft joint status report and related communications
                                with K. Duff, M. Rachlis, and J. Wine (Group 1) (.7); revise, finalize, and file
                                joint status report (Group 1) (.4); revise, finalize, and file corrected joint status
                                report and related communications with M. Rachlis (Group 1) (.8).

                                Claims Administration & Objections

                 MR        1.10 Attention to draft status report and related follow up (Group 1) (.5); various
                                exchanges and follow up with K. Duff, J. Wine and other counsel (Group 1)
                                (.4); file corrected version and follow up regarding same (Group 1) (.2).

                                Claims Administration & Objections
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    Kevin B. Duff, Receiver                                                                               Page 21



        Date        Indiv Hours Description


        3/30/2022 AW          0.10 Communicate with J. Wine regarding claimants' custodian issue (all).

                                   Claims Administration & Objections


SUBTOTAL:                                                                                  [ 74.50        20863.00]

Tax Issues

        3/16/2022 KMP         0.20 Review agency notice relating to EB entity and forward to tax accountant for
                                   review.

                                   Tax Issues


SUBTOTAL:                                                                                  [ 0.20            28.00]




                                                                                          117.50       $29,057.00
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    Kevin B. Duff, Receiver                                                               Page 22




Other Charges

                                      Description

Asset Analysis & Recovery

                                      Fee for document production in response to             50.00
                                      subpoena

                                      Photocopies for March 2022                             13.30


SUBTOTAL:                                                                            [       63.30]

Business Operations

                                      Software license fees for March 2022 (Summit          277.41
                                      Hosting, $181.41; Google Suite, $96)


SUBTOTAL:                                                                            [      277.41]

Claims Administration & Objections

                                      Online research for March 2022                        784.09


SUBTOTAL:                                                                            [      784.09]


Total Other Charges                                                                      $1,124.80




                                     Summary of Activity
                                                                       Hours     Rate
Jodi Wine                                                              31.10   260.00     $8,086.00
Ania Watychowicz                                                       21.80   140.00     $3,052.00
Justyna Rak                                                            15.00   140.00     $2,100.00
Kathleen M. Pritchard                                                  14.10   140.00     $1,974.00
Ellen Duff                                                              3.50   390.00     $1,365.00
Michael Rachlis                                                        32.00   390.00    $12,480.00
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 Kevin B. Duff, Receiver                                                      Page 23




                                   SUMMARY


               Legal Services                                  $29,057.00
               Other Charges                                    $1,124.80

                  TOTAL DUE                                    $30,181.80
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                Exhibit H
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                                                                                                    Remit to Address:
                                                                                                          KMA, S.C.
                                                                                        125 S Wacker Drive Ste 1000
                                                                                                 Chicago, IL 60606
                                                                                                     312-629-0900
                                                                                                 www.cpakma.com




EQUITYBUILD INC RECEIVERSHIP                                          Invoice Number:                    CH600462
C/O KEVIN DUFF                                                                    Date                   1/31/2022
542 S DEARBORN, SUITE 900                                                    Date Due:                 Upon Receipt
CHICAGO, IL 60605




Services rendered in January, 2022 as follows:


Date          Staff                                                                      Hours       Rate     Amount

01/13/2022 B. Fish                                                                     0.50 $110.00             $55.00
Phone call with Giorgio and Ellen to discuss next steps in preparing monthly statements for 2021

01/13/2022 G. Castaldi                                                                 1.50 $110.00           $165.00
Phone call to discuss next steps regarding property statements and information transfer and set up.

01/14/2022 G. Castaldi                                                                      2.00 $110.00      $220.00
2021 Property Statements review

01/14/2022 D. Arce                                                                          5.00   $68.00     $340.00
Monthly reports

01/17/2022 D. Arce                                                                          2.20   $68.00     $149.60
Entering monthly data for year 2021.

01/18/2022 D. Arce                                                                          7.50   $68.00     $510.00
Preparation of 2021 property statements.

01/19/2022 D. Arce                                                                          5.20   $68.00     $353.60
Preparation of 2021 property statements.

01/19/2022 G. Castaldi                                                                      0.20 $110.00        $22.00
preparing 2021 property statements.

01/21/2022 G. Castaldi                                                                      7.50 $110.00      $825.00
Preparing 2021 property statements

01/24/2022 D. Arce                                                                          7.80   $68.00     $530.40
                                       Thank you for your prompt payment.

                     (Payments can be mailed or accepted online at: cpakma.com)
             Echecks and Credit/Debit Cards Accepted: MasterCard, VISA, AMEX & Discover

 Billings that are past due over sixty (60) days will receive a late fee of 1% per month, which will be applied to all
                           balances sixty (60) days from the date of the original invoice.
  Case: 1:18-cv-05587 Document #: 1251 Filed: 05/16/22 Page 152 of 162 PageID #:65747
                                                                                  Client:          EQUITYBUILD INC
                                                                                                     RECEIVERSHIP
                                                                       Invoice Number:                   CH600462
                                                                                 Page:                           2

Preparation of 2021 property statements.

01/25/2022 D. Arce                                                                          7.80   $68.00     $530.40
Preparation of 2021 property statements.

01/25/2022 G. Castaldi                                                                      8.00 $110.00      $880.00
Preparation of 2021 property statements

01/26/2022 G. Castaldi                                                                      8.00 $110.00      $880.00
Preparation of 2021 Property statements.

01/27/2022 D. Arce                                                                          1.00   $68.00      $68.00
Preparation of 2021 property statements.

01/27/2022 G. Castaldi                                                                      8.00 $110.00      $880.00
Preparation of 2021 Property statements

01/28/2022 D. Arce                                                                          0.80   $68.00      $54.40
Preparation of 2021 property statements.

01/31/2022 D. Arce                                                                          0.80   $68.00      $54.40
Entering monthly info for year 2021.

01/31/2022 G. Castaldi                                                                      2.50 $110.00      $275.00
Preparation of 2021 property statements.


                                                                                            Invoice Total:   $6,792.80




                                       Thank you for your prompt payment.
                        (Payments can be mailed or accepted online at: cpakma.com)
              Echecks and Credit/Debit Cards Accepted: MasterCard, VISA, AMEX & Discover
Billings that are past due over sixty (60) days will receive a late fee of 1% per month, which will be applied to all
                          balances sixty (60) days from the date of the original invoice.
  Case: 1:18-cv-05587 Document #: 1251 Filed: 05/16/22 Page 153 of 162 PageID #:65748

                                                                                                    Remit to Address:
                                                                                                          KMA, S.C.
                                                                                        125 S Wacker Drive Ste 1000
                                                                                                 Chicago, IL 60606
                                                                                                     312-629-0900
                                                                                                 www.cpakma.com




EQUITYBUILD INC RECEIVERSHIP                                          Invoice Number:                    CH600463
C/O KEVIN DUFF                                                                    Date                   2/28/2022
542 S DEARBORN, SUITE 900                                                    Date Due:                 Upon Receipt
CHICAGO, IL 60605




Services rendered in February, 2022 as follows:


Date          Staff                                                                      Hours       Rate     Amount

02/01/2022 G. Castaldi                                                                      1.30 $110.00      $143.00
Preparation of 2021 property statements

02/04/2022 G. Castaldi                                                                      2.00 $110.00      $220.00
Preparing 2021 property statements.

02/07/2022 G. Castaldi                                                                      1.00 $110.00      $110.00
preparation of 2021 property statements.

02/08/2022 G. Castaldi                                                                      1.00 $110.00      $110.00
Preparation of 2021 property statements.

02/09/2022 D. Arce                                                                          0.20   $68.00       $13.60
Updating property numbers.

02/21/2022 G. Castaldi                                                                      0.10 $110.00        $11.00
IRS notice response letter

02/21/2022 D. Weinberg                                                                      0.50 $275.00      $137.50
Re: letters to IRS re: 2017 penalties

02/23/2022 G. Castaldi                                                                      1.00 $110.00      $110.00
preparation of response notices for various entities.

02/24/2022 D. Weinberg                                                                      0.60 $275.00      $165.00
re: 2017 partnership penalty abatement letters to IRS



                                        Thank you for your prompt payment.

                      (Payments can be mailed or accepted online at: cpakma.com)
              Echecks and Credit/Debit Cards Accepted: MasterCard, VISA, AMEX & Discover

 Billings that are past due over sixty (60) days will receive a late fee of 1% per month, which will be applied to all
                           balances sixty (60) days from the date of the original invoice.
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                                                                                  Client:          EQUITYBUILD INC
                                                                                                     RECEIVERSHIP
                                                                       Invoice Number:                   CH600463
                                                                                 Page:                           2

                                                                                            Invoice Total:   $1,020.10




                                      Thank you for your prompt payment.
                        (Payments can be mailed or accepted online at: cpakma.com)
              Echecks and Credit/Debit Cards Accepted: MasterCard, VISA, AMEX & Discover
Billings that are past due over sixty (60) days will receive a late fee of 1% per month, which will be applied to all
                          balances sixty (60) days from the date of the original invoice.
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                                                                                                    Remit to Address:
                                                                                                          KMA, S.C.
                                                                                        125 S Wacker Drive Ste 1000
                                                                                                 Chicago, IL 60606
                                                                                                     312-629-0900
                                                                                                 www.cpakma.com




EQUITYBUILD INC RECEIVERSHIP                                          Invoice Number:                    CH600461
C/O KEVIN DUFF                                                                    Date                   3/31/2022
542 S DEARBORN, SUITE 900                                                    Date Due:                 Upon Receipt
CHICAGO, IL 60605




Services rendered in the month of March, 2022 as follows:


Date          Staff                                                                      Hours       Rate     Amount

03/16/2022 G. Castaldi                                                                      2.00 $110.00      $220.00
Preparation of December 2021 Property Statements.

03/24/2022 G. Castaldi                                                                      0.50 $110.00        $55.00
Preparation of December 2021 property statements.

03/24/2022 D. Arce                                                                          0.40   $68.00       $27.20
Working on property reports.

03/25/2022 D. Arce                                                                          1.00   $68.00       $68.00
Updating property spreadsheets.

03/28/2022 D. Arce                                                                          0.20   $68.00       $13.60
Phone call regarding property statements.

03/29/2022 D. Arce                                                                          3.70   $68.00     $251.60
Updating property statements.

03/30/2022 D. Arce                                                                          0.50   $68.00       $34.00
Updating property statements

03/30/2022 D. Arce                                                                          0.50   $68.00       $34.00
Phone call and emails with Justyna regarding property statements.

03/31/2022 D. Arce                                                                          5.20   $68.00     $353.60
Updating property statements.



                                       Thank you for your prompt payment.

                     (Payments can be mailed or accepted online at: cpakma.com)
             Echecks and Credit/Debit Cards Accepted: MasterCard, VISA, AMEX & Discover

 Billings that are past due over sixty (60) days will receive a late fee of 1% per month, which will be applied to all
                           balances sixty (60) days from the date of the original invoice.
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                                                                                  Client:          EQUITYBUILD INC
                                                                                                     RECEIVERSHIP
                                                                       Invoice Number:                   CH600461
                                                                                 Page:                           2

                                                                                            Invoice Total:   $1,057.00




                                      Thank you for your prompt payment.
                        (Payments can be mailed or accepted online at: cpakma.com)
              Echecks and Credit/Debit Cards Accepted: MasterCard, VISA, AMEX & Discover
Billings that are past due over sixty (60) days will receive a late fee of 1% per month, which will be applied to all
                          balances sixty (60) days from the date of the original invoice.
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                Exhibit I
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Kevin B. Duff
Receiver for EquityBuild Inc
Rachlis Duff Adler Peel & Kaplan LLC
542 S. Dearborn Street, Suite 900
Chicago, IL 60605

Invoice:      552868                                                                                    SEC E.A. reference:
ID:           3077400                                                                     SEC/DC Case Number: 1:18-cv-05587
Date:         04/21/2022                                                                         Responsible Party for Payment:
Due Date:     04/21/2022                                                      Tax Administrator Appointment Date:


For professional services rendered as follows:                                                 SEC
                                                                                            DISCOUNT
            DATE            SERVICE                                               STAFF       RATE        HOURS      AMOUNT




General Consulting Services - General Consulting
         10/28/2021         Prepare/Draft/Edit/Finalize                             JMD       440.000       4.20     1,848.00
                              Telephone calls with Receiver relating to Tax
                              Priority Claims.
         10/28/2021         Review                                                  JMD       440.000       0.70       308.00
                                Review email from Receiver relating to Tax
                                Priority Claims.
Information Return Reporting Services - Information Return Reporting
         01/27/2022         Forms Review                                           MRR        176.000       0.50        88.00
                               reviewed Form 1099
         01/28/2022         Forms Review                                           MRR        176.000       0.40        70.40
                              reviewed additional 1099s
         01/28/2022         Release for Printing                                    ER        160.000       0.10        16.00
                                Forms 1099-MISC and 1099-NEC.
Qualified Settlement Fund Services - Form 8842
         04/07/2021         Preparation                                             JAC       180.000       0.50        90.00
                                Preparation of 2021 Form 8842.
Qualified Settlement Fund Services - Estimated Taxes
         09/08/2021         Preparation                                             JGM       216.000       0.30        64.80
                               Quarterly estimated tax payments 2021 Q3.
         09/10/2021         Preparation                                             JGM       216.000       0.40        86.40
                                Quarterly estimated tax payments 2021 Q3.
Qualified Settlement Fund Services - Tax Return
         04/06/2021         Preparation                                             JAC       180.000       0.20        36.00
                               Preparation of 2020 tax returns.
         09/20/2021         Preparation                                             JAC       180.000       0.20        36.00
                               Preparation of 2020 tax returns.
         10/08/2021         Preparation                                             JAC       180.000       0.40        72.00
                                Preparation of 2020 tax returns.
                                   O. 818.769.2010 / F. 818.769.3100 / FED EIN XX-XXXXXXX
                                                          MILLERKAPLAN.COM
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Miller Kaplan Arase LLP                                                                                    Page 2 of 3

                             Preparation of 2020 tax returns.
        10/11/2021        Preparation                                        JAC       180.000    1.00    180.00
                             Preparation of 2020 tax returns.
        10/11/2021        Preparation                                        CV        96.000     4.50    432.00
                             Tax Return Prep
        10/13/2021        Preparation                                        MRC       140.000    1.00    140.00
                             Updated data for 2020 tax return filing.
        10/13/2021        Final Review                                       JD        440.000    1.00    440.00
Qualified Settlement Fund Services - Tax Return
        04/07/2021        Preparation                                        JAC       180.000    0.25      45.00
                             Preparation of the 2020 Qualified Settlement
                             Fund Income Tax Return.
        10/08/2021        Preparation                                        MRC       140.000    2.00    280.00
                             Updated accounting for 2020 tax return.
        10/09/2021        Preparation                                        MRC       140.000    5.50    770.00
                             Updated data for 2020 tax filing.
        10/10/2021        Preparation                                        JAC       180.000    0.25      45.00
                             Preparation of 2020 tax returns.
        10/10/2021        Preparation                                        MRC       140.000    2.00    280.00
                             Updated data for 2020 tax return preparation.
                             Matched 1099 to listed accounts. Added
                             accounts on 1099 not provided in summary.
        10/11/2021        Preparation                                        MRC       140.000    4.50    630.00
                             Updated data for 2020 tax return preparation.
        10/12/2021        Preparation                                        MRC       140.000    5.00    700.00
                            Updated data and reconciled information to
                            various workbooks provided by client.
                            Reviewed items noted as distributions.
                            Reviewed settlement documents.
        10/13/2021        Delivery                                           NAN       68.000     0.25      17.00
                             Proof and dispatching 2020 1120SF
        01/24/2022        Preparation                                        MRC       144.000    8.00   1,152.00
                             Updated accounting for 2021 tax return.
        01/25/2022        Preparation                                        MRC       144.000    5.00    720.00
                             Updated data for 2021 tax return preparation.
        01/26/2022        Preparation                                        MRC       144.000    2.00    288.00
                             Updated data for 2021 tax return preparation.
        01/27/2022        Preparation                                        MRC       144.000    0.50      72.00
                             Updated data for 2021 tax return preparation.
                             Requested missing data.
        01/28/2022        Preparation                                        MRC       144.000    1.00    144.00
                             Updated data for 2021 tax return.
        02/03/2022        Preparation                                        MRC       144.000    2.00    288.00
                             Updated data for tax preparation. Prepared
                             2021 Federal and IL tax returns.
        02/15/2022        Preparation                                        MRC       144.000    1.00    144.00
                             Updated data for 2021 tax return. Requested
                             missing data.
        02/21/2022        Preparation                                        MRC       144.000    0.50      72.00
                             Prepared 2021 Federal and IL tax returns.
                                                                             Total for Services          9,554.60
Charges

                                 O. 818.769.2010 / F. 818.769.3100 / FED EIN XX-XXXXXXX
                                                     MILLERKAPLAN.COM
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Miller Kaplan Arase LLP                                                                                   Page 3 of 3

Information Return Reporting Services - Information Return Reporting
        01/28/2022        Information Reporting                                            0.000          50.00
                             4 Form NEC and 1 MISC
                                                                                Total for Charges         50.00
                                                                                Invoice Total          $9,604.60


                             PLEASE REMIT PAYMENT VIA WIRE TRANSFER OR CHECK
                                  ACCORDING TO THE INSTRUCTIONS BELOW:
                                              WIRE FUNDS TO:

                                             CITY NATIONAL BANK
                                      400 N. ROXBURY DRIVE, 5TH FLOOR
                                           BEVERLY HILLS, CA 90210
                                ABA NUMBER 122016066 SWIFT CODE CINAUS6L
                                  BENEFICIARY ACCOUNT NUMBER 113-238313
                            BENEFICIARY ACCOUNT NAME: MILLER KAPLAN ARASE LLP

                                              MAKE CHECK PAYABLE TO:

                                         MILLER KAPLAN ARASE LLP
                           4123 LANKERSHIM BLVD, NORTH HOLLYWOOD, CA 91602-2828




        04/21/2022         03/31/2022             02/28/2022      01/31/2022           12/31/2021+         Total
          9,604.60                0.00                   0.00            0.00              5,988.00   $15,592.60
                                 O. 818.769.2010 / F. 818.769.3100 / FED EIN XX-XXXXXXX
                                                    MILLERKAPLAN.COM
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                Exhibit J
         Case: 1:18-cv-05587 Document #: 1251 Filed: 05/16/22 Page 162 of 162 PageID #:65757




                                                                                                                                      Invoice
     BILL TO
                                                                                                                            DATE              INVOICE #
   EquityBuild
   Kevin Duff                                                                                                           4/14/2022               14604




                                                                TERMS                                            PROJECT




QUANTITY SERVICED                                                  DESCRIPTION                                                      RATE       AMOUNT

        1   1/10/2022   Updated website with entries                                                                                110.00         110.00
     0.25   1/13/2022   Sent Ania screenshot of where Shaun Cohens emails are.                                                      110.00          27.50
      0.5   1/27/2022   Updated website for an emergency for Ania.                                                                  110.00          55.00
        2   2/7/2022    Updated website with lots of entries.                                                                       110.00         220.00
      1.5   3/4/2022    Added multiple uploads to website for Ania.                                                                 110.00         165.00
      1.5   3/9/2022    Updated website with lots of entries for Ania.                                                              110.00         165.00
      0.5   3/10/2022   Fixed entry on website. I had to upload the file differently due to the restrictions on uploading           110.00          55.00
                        through website.
     0.25 3/17/2022     Made some changes on website for Ania.                                                                       110.00         27.50
                        Illinois Sales Tax                                                                                         10.25%            0.00




                                                                                                                               Total              $825.00
